Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3948 Page 1 of 171




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   8
                              UNITED STATES DISTRICT COURT
   9
                           SOUTHERN DISTRICT OF CALIFORNIA
  10

  11   MATTHEW JONES; THOMAS FURRH;                        Case No.: 19-cv-01226-L-AHG
       KYLE YAMAMOTO; PWGG, L.P.                           Hon. Judge M. James Lorenz and
  12   (d.b.a. POWAY WEAPONS AND GEAR
                                                           Magistrate Judge Allison H. Goddard
  13   and PWG RANGE); NORTH COUNTY
       SHOOTING CENTER, INC.; BEEBE
  14   FAMILY ARMS AND MUNITIONS                           DECLARATION OF THOMAS B.
       LLC (d.b.a. BFAM and BEEBE FAMILY                   MARVELL IN SUPPORT OF
  15
       ARMS AND MUNITIONS); FIREARMS                       PLAINTIFFS’ MOTION FOR
  16
       POLICY COALITION, INC.;                             PRELIMINARY INJUNCTION
  17   FIREARMS POLICY FOUNDATION;                         (Part 2 of 2)
       CALIFORNIA GUN RIGHTS
  18
       FOUNDATION (formerly, THE                           Complaint Filed: July 1, 2019
  19   CALGUNS FOUNDATION); and                            Second Amended Complaint Filed:
       SECOND AMENDMENT                                    November 8, 2019
  20
       FOUNDATION                 Plaintiffs,
  21
       v.                                                  Date: Monday, December 16, 2019
  22
       XAVIER BECERRA, et al.,                             Time: 10:30 a.m.
  23                                                       Courtroom: Dept. 5B (5th Floor)
                                           Defendants
  24                                                       No oral argument should be heard
  25                                                       unless ordered by the Court
  26

  27

  28

                  DECLARATION OF THOMAS B. MARVELL IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3949 Page 2 of 171




                                                           PARTB

                         Evidence on the Effects of 13 Policies




                                  Exhibit 10
                                    0220
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3950 Page 3 of 171




                                  Exhibit 10
                                    0221
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3951 Page 4 of 171




CHAPTER lWELVE

 Minimum Age Requirements




 Under federal law, licensed dealers cannot sell or deliver handguns to individuals under
 age 21 or long guns to those under age 18. Unlicensed individuals cannot sell, transfer,
 or deliver handguns to individuals under age 18. With some exceptions, federal law
 prohibits individuals under age 18 from possessing handguns, but it does not place age
 restrictions on the possession oflong guns (18 U.S.C. 922).
        Laws requiring a minimum age for purchase aim to make it more difficult for
 underage individuals to acquire a handgun through formal channels, while laws
 requiring a minimum age of possession are intended to make it more difficult or risky
 for an underage individual to carry firearms in public. Thus, although the mechanisms
 by which these laws influence youth access differ, both are designed to limit the avail-
 ability of firearms to young people-and therefore reduce the gun violence and unin-
 tentional shootings they commit.
        Firearm homicides and violent crimes disproportionately involve individuals
 under age 21, both as perpetrators and as victims. Indeed, in 2012, arrest rates for vio-
 lent crimes peaked at age 18 (Office of Juvenile Justice and Delinquency Prevention,
 2016). Of the 7,152 firearm homicides committed in 2014 for which the age of the
 offender was known, 47.2 percertt were perpetrated by individuals aged 12-24 (Puz-
 zanchera, Chamberlin, and Kang, 2017), although this group represents only 17.7 per-
 cent of the general U.S. population (U.S. Census Bureau, 2017). By influencing the
 possession of guns among youth, minimum age laws could thus reduce rates of firearm
  crime perpetrated by juveniles. However, youth are similarly at high risk of victim-
 ization. Of all deaths among those aged 16-21, 16.5 percent are homicides, which is
 greater than the homicide rates for the next-highest risk ages (13.3 percent for those
  aged 22-27; 8.8 percent for those aged 28-33) (Centers for Disease Control and Pre-
  vention [CDC], 2017b). In theory, therefore, stricter age limits on purchasing or pos-
  sessing a firearm could reduce the incidence of defensive gun use by youth and poten-
  tially increase perpetration of violence against younger populations if offenders believe
  that the likelihood of encountering armed resistance is lower (Marvell, 2001).
        Conceptually, by restricting youth access, minimum age restrictions could also
  reduce rates of firearm suicide or unintentional shootings by the affected age group.
  Research suggests that the association between firearm availability and suicide is stron-


                                            145 Exhibit    10
                                                    0222
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3952 Page 5 of 171




146   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



gest among adolescents and young adults (Birckmayer and Hemenway, 2001; Miller
and Hemenway, 1999). In 2015, there were 3,111 suicide deaths among individuals
aged 16-21, 43.6 percent of which involved a firearm (calculated using data from
CDC, 2015). Evidence indicates that 50 percent to 60 percent of all firearm suicides
by youth under age 21 involve a handgun, suggesting that minimum age laws that
cover all firearms may hav~ larger effects on suicide rates compared with laws focused
on handguns alone (Johnson et al., 2010; Wright, Wintemute, and Claire, 2008; Shah
et al., 2000; Grossman, Reay, and Baker, 1999).
       The effects oflaws requiring a minimum purchase age will depend largely on how
youth acquire firearms. Much of the existing evidence on sources of guns to youth
comes from surveys of juvenile offenders or high-risk adolescents and suggests that
purchases from retailers are relatively rare among adolescents involved with criminal
activity. Among juveniles who have been incarcerated or arrested, surveys have found
that youth offenders acquire their firearms through similar sources as adult offend-
ers, with more than 80 percent citing a friend, a family member, or the black market
as the means by which they acquired their weapon (Webster et al., 2002; LaFree and
Birbeck, 1998). This finding indicates that minimum age laws may be effective at lim-
iting youth access through legitimate retail sources. An early study of firearms used
by students in school-associated firearm deaths (both suicide and homicide) between
1992 and 1999 sim:ilarly found that only 9.6 percent of the firearms used in homicide
events and none of the firearms used in suicide events were purchased legally (CDC,
2001). Still, in a 1996 national survey of male high school students, 50 percent of
respondents reported that they would have little or no trouble obtaining a gun (Sheley
and Wright, 1998). In a 1996 national study of students in grades 8 through 12,
21 percent of respondents reported having easy access to guns at home, and the types
of firearms available were evenly distributed among handguns, rifles, and shotguns
(Ruback, Shaffer, and Clark, 2011).
       The effects of laws requiring a minimum age of possession will depend on the
expected costs youth perceive to be associated with violating such laws, which will
likely be influenced by state legal penalties and the level of enforcement efforts devoted
to enforcing the prohibition (Marvell, 2001). Semi-structured interviews with incarcer-
ated adolescent males in 1998 found fear of arrest and incarceration as the most com-
monly reported reasons for choosing not to acquire or carry a gun (Freed et al., 2001).
Still, in 2015, 5.3 percent of high school students reported carrying a gun (Kann et al.,
2016). Given the relative importance of the home and family members as a source of
guns to juveniles, the most-significant effects of minimum age of possession policies
may occur if they create a disincentive for older individuals to keep guns at home or to
allow guns in the home to be easily accessed (Marvell, 2001).
       Much of the conversation about minimum age restrictions revolves around hand-
guns rather than long guns. This is because handguns are more frequently used than
long guns in firearm suicides and violent crime, so, in theory, raising the minimum age



                                                          Exhibit 10
                                                            0223
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3953 Page 6 of 171




                                                                          Minimum Age Requirements         147



for such weapons could decrease violence without impacting lawful activities, such as
hunting (Tritch, 2014). More-restrictive minimum age laws could plausibly impact the
gun industry by reducing the size of the consumer population and decreasing the own-
ership and use of guns by youth for hunting or recreational purposes. Overall, hunt-
ing participation in the United States has declined dramatically over the past decades,
and although data on youth recreational firearm use are limited (Vittes and Sorenson,
2005), estimates from 2006 showed 1.7 million youth hunters aged 6-15 (Families
Afield, 2010). Further, the vast majority of adult hunters initiate hunting activities
before age 20, and those who have not learned to hunt by age 20 have a very low
likelihood of participating in hunting activities as an adult (Duda and Young, 1993).
Should minimum age laws reduce initiation of firearm use for hunting or recreational
purposes, there could be longer-term effects on these outcomes.
       Data on suicides and self-inflicted nonfatal injury stratified by age are readily
available; thus, analyses can directly test whether effects of minimum age laws on
these outcomes are driven by the relevant age group affected by the policy. For out-
comes of violent crime and non-self-inflicted injury, causal analyses could be improved
with data that reported the age of the shooter. However, as most data sources report
 only the age of the victim, 1 none of the studies we identified that met our inclusion
 criteria for this policy used this type of data. Methodological approaches could also
leverage state variation in the types of guns restricted under the minimum age laws for
 outcome data that have information on the type of firearm involved. For any analysis,
 estimates of causal effects would be strengthened with data showing how minimum
 age laws affected gun purchase or carrying behavior by youth of the affected age
 group. While some national surveys (e.g., the Youth Behavioral Risk Surveillance
 System, National Survey of Drug Use and Health, National Longitudinal Study of
 Adolescent to Adult Health) ask youth about gun ownership or carrying behaviors,
 their samples are often limited to high school students, focused on handguns, or avail-
 able for a limited set of years.



State Implementation of Minimum Age Requirements

States have adopted a range of minimum age requirements that are, in some cases,
higher or lower than the federal minimums. For instance, nine states and the District
of Columbia restrict all handgun sales to individuals aged 21 or older and long gun
sales to individuals aged 18 or older. In effect, this raises the minimum age restrictions
above those set by federal law in two ways: The age to purchase handguns through pri-

1 Exceptions include the Federal Bureau of Investigation's Supplementary Homicide Reports, which contain

age of victim and age of offender for murders when such information is known, and the National Violent Death
Reporting System, which contains information on the age of the shooter for non-self-inflicted fatal injuries when
such information is known for a subset of states.




                                                            Exhibit 10
                                                              0224
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3954 Page 7 of 171




 148   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



vate sales is raised from 18 to 21, and a minimum age for private sales oflong guns is
set to 18.2 Two states, Hawaii and Illinois, restrict sales for all firearms to those aged 21
or older.3 This imposes more-restrictive age limits than federal law on all sales other
than handgun sales by dealers. Other states set minimums below the federal limits.
For instance, Vermont imposes a minimum age of 16 for all sales, and Maine imposes
a minimum age of 18 for handgun sales and 16 for long gun sales.4 In practice, these
affect only long gun sales from nondealers, because minimum age requirements for all
other sales would be governed by the more-restrictive federal laws.
      As mentioned, federal law places no minimum on the age of possession of long
guns (18 U.S.C. 922), but several states have imposed such minimums. For instance,
14 states restrict possession oflong guns to those aged 18 or older, 5 and Illinois and
the District of Columbia restrict long gun possession to those aged 21 or older. 6 The
minimum age for possession of a long gun in Alaska, Minnesota, and New York is 16,7
and it is 14 in Montana. 8


 Effects on Suicide
 Research Synthesis Findings
 In 2004, the National Research Council (NRC) identified four quasi-experimental
 studies of gun policy effects on suicide outcomes, none of which examined minimum
 age restrictions. Hahn et al. (2005) identified one cross-sectional study of the associa-


 2   California, Connecticut, Delaware, Iowa, Maryland, Massachusetts, New Jersey, Ohio, Rhode Island, and
 the District of Columbia. See Calif. Penal Code § 27505; Conn. Gen. Stat. Ann. §§ 29-34, 29-37a; Del. Code
 tit. 24 § 901,903, tit. 11 § 1445; Iowa Code Ann.§ 724.22; Md. Code Ann., Pub. Safety§§ 5-101, 5-134; Mass.
 Gen. Laws Ch. 140 §§ 121, 130; N.J. Stat. Ann.§ 2C:39-10; Ohio Rev. Code Ann. § 2923.21; R.I. Gen. Laws
 §§ 11-47-30, 11-47-35; D.C. Code Ann. §§ 7-2507.07, 22-4507.
 3 Hawaii Rev. Stat. Ann. § 134-2; Ill. Comp. Stat. 65/3, 65/4. Although Hawaii's law is silent about sales, the
 state issues permits to acquire to those aged 21 or older, and permits are required for purchases. Illinois requires
 a firearm owner's identification card for transfer, and the card is issued only to those aged 21 or older. However,
 720 Ill. Comp. Stat. 5/24-3.1 prohibits sales of handguns to those under age 18.
 4 Vt. Stat. Ann. tit. 13, § 4007; Me. Rev. Stat. Ann. tit. 17-A §§ 554-A, 554-B.

 5 Florida, Idaho, Indiana, Iowa, Michigan, Nevada, New Jersey, Oklahoma, Oregon, Pennsylvania, Rhode
 Island, Utah, Washington, and Wisconsin. See Fla. Stat. Ann. § 790.22; Idaho Code Ann. § 18-3302E; Ind.
 Ann. Code§ 35-47-10-5; Iowa Code Ann. § 724.22; Mich. Comp. Laws Ann. § 750.234f; Nev. Rev. Stat. Ann.
 § 202.300; N.J. Stat Ann. § 2C:58-6.1; Okla. Stat. Ann. §§ 1272, 1273; Ore. Rev. Stat. Ann. § 166.250; Pa.
 Cons. Stat. § 6110.1; R.I. Gen. Laws Ann. § 11-47-33; Utah Code Ann.§ 76-10-509; Wash. Rev. Code Ann.
 § 9.41.040; Wise. Stat.§ 948.60.
 6 Ill. Comp. Stat. Ann. 65/4 (regulates the firearm owners identification card); D.C. Code Ann. § 7-2502.03.
 7 Alaska Stat. § 11.61.220; Minn. Stat.§ 97B.021 (but individuals aged 14 or 15 and with firearm safery certifi-
 cates may possess long guns); N.Y. Penal Code§ 265.05.
 8   Mont. Code Ann.§ 45-8-344.




                                                              Exhibit 10
                                                                0225
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3955 Page 8 of 171




                                                            Minimum Age Requirements   149



tion between minor age and suicide (Kleck and Patterson, 1993), a study that does not
meet our inclusion criteria. Since then, three longitudinal studies provided evidence on
the impact of minimum age requirements on suicide.
       Using data from 1976 to 2001, Webster et al. (2004) examined the effect of state-
level changes in minimum purchase and possession age laws on suicide rates among
those aged 14-17 and 18-20. The authors used negative binomial regression models
that employed generalized estimating equations and that included state fixed effects
and other covariates. They found uncertain effects of the laws on suicide rates among
those aged 14-17. However, states that increased the minimum purchase age to 21 saw
a statistically significant decrease in firearm suicides among those aged 18-20, but the
authors found uncertain effects of the laws on total or nonfirearm suicides. They found
that the three states that increased the age of handgun possession to 21 experienced a
statistically significant increase in total suicides among those aged 18-20, accounted
for, in part, by a suggestive increase in firearm suicides in this group. The authors sug-
gested that this result was weakly estimated, having been based on just three states,
 two of which implemented their laws in the final years of the study period, meaning
 there was little time over which to observe changes in state suicide rates attributable
 to the law. These limitations raise valid questions about whether the observed effects
 are attributable to raising the age of possession of handguns to 21 or to other factors
 affecting these states' suicide rates. Finally, the authors examined the effect of federal
 minimum age of possession and purchase of handguns among states that previously
 had lower minimum age laws compared with those for which the federal law did not
 raise the minimum ages. These analyses identified a suggestive increase in total suicides
 among those aged 14-17 from raising the federal minimum possession age but only
 uncertain effects for other outcomes associated with raising the minimum age to pur-
 chase handguns among this age group.
        Gius (2015b) examined how both state-specific laws for minimum age for firearm
 possession and federal laws for minimum age for handgun possession implemented in
  1994 affected suicides by those aged 19 or younger. This analysis controlled for several
  state-level sociodemographic characteristics and enactment of child-access prevention
  laws between 1981 and 2010. Its results suggest that state-level minimum age restric-
  tions had uncertain effects on suicide. The weighted least-squares statistical model is
  not likely to produce reliable estimates for the nonlinear outcome of suicide rates,
  meaning the model's estimates and their standard errors may be unreliable (Freedman,
  2006). The study's estimate for the federal minimum age law for handgun possession
  passed in 1994 did not meet our inclusion criteria, because, as specified in this model,
  there was no comparison group that did not get the identical intervention in 1994.
        Rosengart et al. (2005) used a similar approach to model the effects of state laws
  between 1979 and 1998, when "seven states adopted and two states repealed a law
  restricting the minimum age for the private purchase of a handgun to 21 years, [and]
  five states adopted laws restricting the minimum age for the private possession of a hand-



                                                 Exhibit 10
                                                   0226
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3956 Page 9 of 171




150 The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



gun to 21 years" (emphasis added). In these models controlling for state fixed effects,
time trends, state-level variation in poverty and demographic factors, and two other
firearm laws9 (but not the federal 1994 law imposing a minimum age requirement for
handgun possession), they found mostly uncertain effects of these laws on the firearm
suicide rate. However, they did find suggestive effects consistent with minimum pos-
session age laws increasing the total suicide rate among those under age 20, as well as
minimum purchase age laws increasing total suicides among those aged 20 or older.
These models had limited information to use in identifying causal effects of these
laws because relatively few states changed one or both laws over the study period; in
addition, every state but one that raised its minimum age for possession did so the
same year it implemented a minimum purchase law, making the effects of these laws
confounded. Moreover, the statistical model had an unfavorable ratio of covariates to
observations (less than one to eight), meaning the model may have been overfit, result-
ing in estimates and confidence intervals (Cis) that are unreliable indicators of the true
causal effects of the laws.
      Figure 12.1 displays the incidence rate ratios (IRRs) and Cis associated with the
minimum age requirements examined in these studies. We do not present estimates of
the federal minimum possession age from Gius (20 15b) because they do not meet our
criteria for inclusion. Estimates of the federal minimum purchase age and minimum
possession age laws from Webster et aL (2004) are included because, although details
of the model are not specified, it appears to satisfy our inclusion criteria based on the
authors' following statement: "The federal law establishing a minimum legal age for
handgun purchase and possession was assumed to affect only states that, prior to the
federal law, either had no minimum-age law of this type or had a law that established
a minimum legal age younger than 18 years."

Conclusions
We identified tWo qualifying studies that examined how suicide rates were affected
by laws requiring a minimum purchase age and three that examined how they were
affected by laws requiring a minimum possession age.
      Minimum age requirements for purchasing a firearm. Webster et al. (2004) found
uncertain effects for minimum purchase age laws (with restrictions from ages 16 to
21) on suicides among those aged 14-17 and those 18-20. They also found uncertain
effects for firearm suicides among the younger age group but a significant effect con-
sistent with these laws reducing firearm suicides among the older group. When re-
estimating these effects only for states that set age 21 as the minimum for purchasing
a firearm, the authors again found uncertain effects on total suicide rates for the older

9  The other laws modeled simultaneously were "one-gun-a-month" laws; "shall-issue" laws, otherwise known as
right-to-carry laws, which guarantee the right to a concealed-carry permit for all citizens who are not prohibited
from possessing a firearm (see Chapter Thirteen); and "junk-gun" laws, which ban the sale of certain cheaply
constructed handguns.



                                                            Exhibit 10
                                                              0227
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3957 Page 10 of 171




                                                                            Minimum Age Requirements                   151



Figure 12.1
Incidence Rate Ratios Associated with the Effect of Minimum Age Requirements on Suicide


 Study, by Policy              Outcome Measure            Effect Size (IRR) [95% CIJ
 State minimum purchase
  age                          Suicide
   Webster et al. (2004)       Total, aged 14-17                   1.04     [0.90, 1.21]
                                                                                                -r-
                                                                                                  '
   Webster et al. (2004)       Total, aged 18-20                   0.97     [0.91' 1.05]        -:
    Webster eta!. (2004)       Firearm, aged 14-17                 1.04     [0.87, 1.16]       -----t-
    Webster et a!. (2004)
    Webster et al. (2004)
                               Firearm, aged 18-20
                               Nonlirearm, aged 14-17 ·
                                                                   0.91
                                                                   1.05
                                                                            [0.83, 1.00]
                                                                            [0.85, 1.31]
                                                                                              -+-1
                               Nonfirearm, aged 18-20              1.05     [0.94, 1.17]
                                                                                                      ''

                                                                                                   T
    Webster et al. (2004)
 State minimum purchase
  age of 21
    Rosengart et al. (2005)    Total                                1.02    [0.98, 1.07]            4--
    Rosengart et al. (2005)    Total, aged 0-19                     1.1 0   [0.94, 1.29]              1 •
    Rosengart et al. (2005)    Total, aged 20+                      1.04    [0.99, 1.10]              .:.....
    Rosengart et al. (2005)    Firearm                              1.00    [0.94, 1.06]
                                                                                                   +
                                                                                                   r
    Rosengart et a!. (2005)    Firearm, aged 0-19                   0.94    [0.80, 1.06]      ~
    Rosengart et a!. (2005)    Firearm, aged 20+                    1.02    [0.96, 1.08]
 State minimum possession
  age
    Webster et al. (2004)
    Webster et al. (2004)
                               Total, aged 14-17
                               Total, aged 18-20
                                                                    0.97
                                                                    1.13
                                                                            [0.90, 1.05]
                                                                            [1.01, 1.27]
                                                                                                   -+      !~

    Webster et al. (2004)
    Webster et al. (2004)
                               Firearm, aged 14-17
                               Firearm, aged 18-20
                                                                    1.02
                                                                    1.14
                                                                            [0.92, 1.12]
                                                                            [0.98, 1.34]           +.
    Webster et al. (2004)
    Webster et at. (2004)
                               Nonlirearm, aged 14-17
                               Nonfirearm, aged 18-20
                                                                    0.93
                                                                    1.07
                                                                            [0.82, 1.05]
                                                                            [0.90, 1.27]
                                                                                               ----r
    Glus (2015b)               Firearm death, aged 0-19             0.98    [0.93' 1.02]           ....:..'
 State minimum possession
   age of 21                                                                                         l
    Rosengart et al. (2005)
    Rosengart et al. {2005)
                               Total
                               Total, aged 0-19
                                                                    1.03
                                                                    1.15
                                                                             [0.96,
                                                                             [0.93,
                                                                                    1.11]
                                                                                    1.42]            +-.
                                                                                                     '
    Rosengart et a!. (2005)    Total, aged 20+                      1.04     (0.95, 1.13]           -:--
    Rosengart et al. (2005)
    Rosengart et al. (2005)
                               Firearm
                               Rrearm, aged 0-19
                                                                    0.99
                                                                    o.93
                                                                             [0.88, 1.13]
                                                                             [o.n, 1.121           -t-
    Rosengart et a!. (2005)
  Federal minimum purchase
   age
    Webster eta!. (2004)
                               Firearm, aged 20+



                               Total, aged 14-17
                                                                    0.99     [0.88, 1.13]



                                                                    1.02 [0.91' 1.14]
                                                                                                   !
                                                                                                   -l-
    Webster eta!. (2004)
    Webster et at. (2004)
                               Firearm, aged 14-17
                               Nonlirearm, aged 14-17
                                                                    1.00 [0.87,1.16]
                                                                    1.08 [0.91' 1.28]
                                                                                                   -+--    '
  Federal minimum possession
   age
    Webster eta!. (2004)        Total, aged 14-17                    0.98 [0.90, 1.08]                  '
                                                                                                   .....:--
                                                                                                           l
    Webster et al. (2004)       Firearm, aged 14-17                  0.99 [0.89, 1.09]               '
                                                                                                   _,j-
    Webster et al. (2004)       Nonfirearm, aged 14-17               1.12 [0.99, 1.26]                     +--
                                                                                            0.75                1.25     1.5


 NOTE: IRR values marked with blue squares indicate that methodological concerns are discussed in the
 text. Green circles indicate that we identified no significant methodological concerns. See Appendix B
 for details.




                                                          Exhibit 10
                                                            0228
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3958 Page 11 of 171




 152   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



                                                             age group and a significant effect indi-
  Minimum age requirements                                   cating such laws reduce firearm sui-
  for purchasing a f irearm
  have                                                       cides among those aged 18-20. Using
                                                             overlapping, but shorter, time-series
  uncertain                                                  data, Rosengart et al. (2005) found
  effects on total                  Evidence for this
                                                             the effects of laws requiring a mini-
  suicides.                           relationship is        mum age of 21 to purchase to have
                                                             uncertain effects on suicides and fire-
                        inconclusive.                        arm suicides for all age groups, except
                                                             for a suggestive effect consistent with
                                                             these laws increasing total suicides
  Minimum age requirements                                   among adults aged 20 or older.


                                        JJ
  for purchasing a firearm may
                                                                   Based on these findings and an
  decrease                                                   assessment of the relative strengths of
                                                             these studies, we find inconclusive evi-
  ft rearm suicides
  among children.                   Evidence for this        dence for how minimttm age require-
                                      relationship is        ments for purchasing a firearm affect
                                   limited.                  total suicides. Studies of the effect of
                                                             laws setting 21 as the minimum age of
                                                             firearm purchase provide limited evi-
 dence that such laws may reduce firearm suicides among some people aged 20 or younger.
      Minimum age requirements for possessing a firearm . Webster et al. (2004) found
 uncertain effects of minimum possession age laws (with restrictions from ages 14 to 21)
 on suicides and firearm suicides among those aged 14- 17. However, they found that
 these laws significantly increase suicide rates among those aged 18-20 and a sugges-
 tive effect consistent with increases in firearm suicide rates among this group. For laws
 requiring a minimum handgun possession age of 21, Rosengart et al. (2005) found
 uncertain effects on suicides overall and among those aged 20 or older, as well as a sug-
 gestive effect consistent with these laws increasing suicides among those under age 20.
 All eftects of these laws on firearm suicides, however, were uncertain. Gius (2015b)
                                                   found only uncertain effects of state
   Minimum age rC!quircmcnts
                                                   minimum age of possession laws on
   for possessing a firear m                       firearm suicides among those aged 19
   have
                                                   or younger.
   uncertain                                             Based on these findings and an
                                                   assessment of study strengths, we find
  effecu on total                   Evidence for this       inconclusive evidmce for how minimum
  su1c•des and                        relationship is
  fi rearm swddes                                           age requirements for possessing a firearm
                        inconclusive.                       affect suicides andfirearm suicirks.




                                                           Exhibit 10
                                                             0229
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3959 Page 12 of 171




                                                            Minimum Age Requirements   153



 Effects on Violent Crime

 Research Synthesis Findings
 NRC (2004) did not review evidence on the effects of minimum age requirements, and
 Hahn et al. (2005) identified no research on this topic meeting our inclusion criteria.
 We identified two studies since 2003 that met our criteria. Rosengart et al. (2005)
 analyzed state-level data from 1979 to 1998 and examined the effects on violent crime
 of four types of state laws:

   1. restricting handgun purchase to those aged 21 or older
   2. restricting private handgun possession to those aged 21 or older
   3. limiting the frequency of gun purchases to one gun per 30 days
   4. prohibiting the sale of"junk" (cheaply constructed) guns.

       The authors controlled for whether a state had a shall-issue (otherwise known as
 right-to-carry) provision; these results are described in more detail in Chapter Thir-
 teen. The authors found uncertain effects of both types of minimum age laws on total
 homicide and £rearm homicide rates. These models had limited information to use in
 identifying causal effects of these laws because relatively few states changed one or both
 laws over the study period; in addition, every state but one that raised its minimum
 age for possession did so the same year it implemented a minimum purchase age law,
 making the effects of these laws confounded. Moreover, the statistical model had an
 unfavorable ratio of covariates to observations (less than one to eight), meaning the
 model may have been overfit, resulting in estimates and Cis that are unreliable indica-
 tors of the true causal effects of the laws.
        Rudolph et al. (2015) found a significant effect for a decrease in firearm homicides
  (and an uncertain effect for non£rearm homicides) associated with the implementation
  of a law in Connecticut that established a requirement to have a permit to purchase a
 £rearm and increased the minimum age of handgun purchase from age 18 to age 21.
 The £rearm homicide rate after passage of both provisions was found to be 63 percent
  of what would have been expected without them. However, because the law included
  both policies simultaneously, the effect attributable specifically to the minimum age
  law cannot be identified. In addition, because only one state in the analysis experienced
  the law change, the effects of the law are not well identified. The observed reduction in
  £rearm homicides could be due to the law or to other events occurring in Connecticut
  around the same time the law passed.
        Figure 12.2 displays the IRRs and Cis associated with the minimum age require-
  ments examined in these studies.




                                                 Exhibit 10
                                                   0230
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3960 Page 13 of 171




 154 The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



 Figure 12.2
 Incidence Rate Ratios Associated with the Effect of Minimum Age Requirements on Violent
 Crime


 Study, by Policy                Outcome Measure        Effect Size   (IRR) [95% Cl]
 State minimum purchase
  age or 21
   Rosengart et at. (2005)
   Rosengart et al. (2005)
                                 Homicide
                                 Total
                                 Total, aged 0-19
                                                                 1.00 [0.94, 1.05]
                                                                 0.92 [0.81 , 1.05]            -+
                                                                                                 ...
   Rosengart et al. {2005)       Total, aged 20+                 1,01 [0.95, 1.06]               ...
   Rosengart et al. (2005)       Firearm                         0.98 [0.91 , 1.06]              ~
   Rosengart et al. {2005)       Firearm, aged 0--19             0.92 [0.80. 1.06]             -.
                                                                                                .._
   Rosengart et al. (2005)       Fireann, aged 20+               0.99 [0.93, 1.06]
 State minimum possession
  age of 21                                                                                       .
   Rosengart et at, (2005)
   Rosengart et al. (2005)
                                 Total
                                 Total. aged 0-19
                                                                 1.02 [0.89, 1. 18]
                                                                 0.98 [0.79, 1.20]              -----
                                                                                               __._.
   Rosengart et al. (2005)
   Rosen.gart et al. (2005)
                                 Total, aged 20+
                                 Firearm
                                                                 1.03 [0.88. 1.20]
                                                                 1.06 [0.88, 1.27]              -----
                                                                                                ~


   Rosengart et al. (2005)       Fi rearm. aged 0-19             0.91 [0.72. 1.15]           -.T-
   Rosengart et al. (2005)       Firearm, aged 20+                1.08 {0.89, 1.31)             ~
 Permit to purchase
  +state minimum purchase
   age of 21
   Rudolph et al. (2015)         Firearm                         0.60 [0.37, 0.97]

                                                                                       0.3                  1.4



 NOTE: IRR values marked with blue squares indicate that methodological concerns are discussed in the
 text. See Appendix B for details.

 Conclusions
 We identified two qualifying studies that examined the effect of minimum age require-
 ments for purchasing or possessing a firearm on coral or firearm homicide rates.
                                                       Minimum age requirements for
                                                 purchasing a firearm. Rosengart et al.
  Minimum age requirements
  for purchasing a firearm
                                                 (2005) found uncertain effects of laws
  have                                           making 21 the minimum age to pur-
                                                 chase handguns on h omicide rates and
  uncertain                                      firearm homicide races among all age
  effects on total          Evidence for ttlis   groups. Rudolph et al. (2015) reponed
  hom•cldes and                relation ship i s a  significant effect consistent with
  firearm homicides.
                           inconclusive.         minimum age requirements reducing
                                                 firearm homicide rates, but rhey could



                                                          Exhibit 10
                                                            0231
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3961 Page 14 of 171




                                                              Minimum Age Requirements   155



 nor amibuce this effect solely to a minimum purchase age policy because a permit-to-
 purchase provision was passed concurrently in the one state evaluated. On the basis
 of rhese results, and in consideration of the relative strengths of these studies, we find
 inconclusive evidence for how minimum age requiremmts for purchasing a firearm affict
 total and firearm homicides.
       Minimum age requirements for
 possessing a firearm. Estimates by             Mintmum age requirements
 Rosengart et aL (2005) for the effect          for possessing a firearm
                                                have
 of laws making 21 the minimum age
  for possession of handguns on total           uncertain
 and firearm homicides were uncertain
                                                effects on total            Evidence fo1 this
  for all age groups examined. There-           homicides and                 relationship Is
 fore, we find inconclusive evidence for        firearm homlctdes

  how minimum age requirements for pos-                               inconclusive.
 sessing a firearm affect total and firearm
  homicides.



 Effects on Unintentional Injuries and Deaths

 Research Synthesis Findings
 Neither NRC (2004) nor Hahn et al. (2005) identified any research examining the
 effects of minimum age requirements on unintentional injuries and deaths. One lon-
 gitudinal study since then examined this relationship. Using data from 1981 to 2010,
 Gius (2015b) examined the effect of the 1994 federal law establishing a minimum
 age for handgun possession, as well as other state-specific minimum age requirements
 for handguns. This model controlled for time and state fixed effects, state-level soda-
 demographic characteristics, and state-level child-access prevention laws. The authors
 found rhat stare-level minimum age requirements had uncertain effects on uninten-
 tional deaths. The weighted least-squares statistical model used in this study may not
 have been appropriate for the rate outcome, with many values close to zero in stare-year
 observations. The model's lower bound at zero may result in violations of its assump-
 tions and can yield biased and incorrect parameter estimates and Cis.
       Figure 12.3 displays the lRR and CI associated with the minimum age require-
 ments examined in Gius (2015b). The analysis of the federa l minimum age of posses-
 sion law in this study did not meet our inclusion criteria, because, as specified in this
  model, it appeared that there was no comparison group that did not gee the identical
  intervention in 1994. Therefore, this effect is not included in Figure 12.3.




                                                  Exhibit 10
                                                    0232
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3962 Page 15 of 171




 156    The Science of Gun Policy: A Critical Synthesis of Research Evidence on t he Effects of U.S. Policies



 Figure 12.3
 Incidence Rate Ratios Associated with the Effect of Minimum Age Requirements on
 Unintentional Injuries and Deaths


   Study, by Polley                  Outcome Measure              Effect Size (IRR) (95% Cl]
   State minimum possession age      Unintentional injuries
       Glus (20 15b)                 Firearm death.   ~ed 0-19             0.93 {0.84, 1.02]

                                                                                               0.8       1 1.05


 NOTE: IRR values marked with blue squares indicate that methodological concerns are discussed in the
 text. See Appendix B for details.


 Conclusions
 We identified one qualifying study examining the effect of laws requiring either
 minimum age ro purchase or minimum age to possess a firearm. Gius (2015b)
                                             found a suggestive effecr consis-
                                             tent with minimum possession age
  Minimum age requirements
  for possessing a firearm                    laws decreasing unintentional fire-
  have                                       arm dearhs am ong rhose aged 19 or
                                             younger. Therefore, we conclude that
  uncertain                                   there is inconclusive evidence that min-
  effects on               Evidence for this  imum age nquirements for possessing
  unintentional              relationship i$
  firearm deaths.                            a firearm may reduce unintentional
                                             firearm deaths among those aged 19 or
                                             younger.



 Effects on Mass Shootings
 Research Synthesis Findings
 NRC (2004) did not identify any research examining rhe dfecrs of minimum age require-
 ments on mass shootings. Hahn et al. (2005) identified one srudy, but ir did not satisfy
 our inclusion criteria. Our own search yielded one study. Using a two-way fixed-effects
 linear probability model, Luca, Deepak:, and Poliquin (2016) estimated the effects of
 minimum age requirements on a binary indicator for whether a mass shooting occurred
 in a given state-year. The authors included two measures of minimum age requirements:
 (1) an indicator variable for whether laws prevent vendors from selling handguns to those
 under age 18 or prevent those under age 18 from purchasing handguns and (2) an analo-
 gous indicator variable for laws rhar set the minimum age at 21. The authors' analysis cov-
 ered 1989-2014 and included conuols for time~invariant state characteristics, national
 trends, and a host of other state-level gun policies, as well as time-varying state-level
 demographic, socioeconomic, and political characteristics. They found uncertain effects
 of laws setting 18 as the minimum age of purchase on the probability ofa mass shooting



                                                                 Exhibit 10
                                                                   0233
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3963 Page 16 of 171




                                                                                                Minimum Age Requirements   157



 event occurring, but they found a suggestive effect consistent with laws setting 21 as the
 minimum age of purchase reducing the likelihood of a mass shooting occurrence. H ow-
 ever, it should be noted that assessing the effects of gun policies on mass shootings was
 not the p rimary focus of Luca, Deepak, and Poliquin (2016), and the authors intended
 the estimates to serve solely as a robustness check for their main specification (the effects
 of mass shootings on gun policy). Although the paper provided limited informacion to
 use in evaluating the reported statistical models {e.g., on how these policies were coded),
 it is dear that the analysis used a linear model to pred ict a d ichotomous outcome. There-
 fore, model assumptions were violated, making model estimates and Cis unreliable.
        Figure 12 .4 displays the IRRs and Cis associated with the minimum age require-
 ments examined in Luca, Deepak, and Pol iquin (2016).

 Figure 12.4
 Incidence Rate Ratios Associated with the Effect of Minimum Age Requirements on Mass
 Shootings

 Study, by Polley                     Outcome Measure                                   Effect Size (IRA) (95% Cl]
 S14te minimu m purchase
  age ol18                            Mass shooUng
   luca, oaapak. & PoliQUin (201 6)   Slate-year Indicator (no potlllcal controls)               1 ,06 (0,65, 1.471
   Luca, Oeepak, & Pollqutn (201 6)   Stale-year Indicator (pobtlr.al controls)                  1.08 (O.S6, 1.51)
 State minimu m purChase
  age o f21
   Luca, Oeepalt, & PoUquln (;!016)   Stale-year Indicator (no political controls)               0.51 (0.00, 1.34)
   L uca, Oeepak, & PoUquln (2016)    Stat...ye!!T Indicator (political controls)                0.38 !000, 1 .21]

                                                                                                                      0     1.6


 NOTE: lRR values ma rked with b lue squares indicate that methodo logical concerns a re d iscussed in the
 t ext. See Append ix B for d eta ils.


 Conclusions
 We identified one qualifying study exammtng how m tntmum age requirements
 for purchasing a firearm affect rhe incidence of mass shootings. Luca, Deepak, and
 Poliquin (2016) found that laws setting
 age 18 as rhe minimum age to pur-
 chase a firearm had uncertain effects       Minim um age requ irements
                                             for p urchasing a firearm
 on mass shooting incidence, but they        have
 fo und a suggestive effect consistent
 with such laws reducing the incidence       uncertain
 of mass shootings when the minimum          effects o n                Evidence for this
 purchase age is 21. On the basis of this    mass shootings               relationship is
 study, we find inconclusive evidence for
 how minimum age requirements for pur-
 chasing a firearm affict mass shootings.



                                                                                    Exhibit 10
                                                                                      0234
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3964 Page 17 of 171




 158   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



 Outcomes Without Studies Examining the Effects of Minimum Age
 Requirements

 Neither NRC (2004) nor Hahn et al. (2005) identified any research examining the
 effects of minimum age requirements on the following outcomes, and we identified no
 such studies that met our inclusion criteria:

   •   officer-involved shootings
   •   defensive gun use
   •   hunting and recreation
   •   gun industry.




                                                           Exhibit 10
                                                             0235
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3965 Page 18 of 171




                                                                    Minimum Age Requirements       159



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                                                        Exhibit 10
                                                          0236
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3966 Page 19 of 171




 160   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



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                                                           Exhibit 10
                                                             0237
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3967 Page 20 of 171




CHAPTER TWENTY-TWO

 Mass Shootings




 In this chapter, we provide an overview of mass shootings, one of the eight outcomes
 examined in our research syntheses (Chapters Three through Fifteen). We first describe
 different approaches for defining a mass shooting and then discuss how using different
 definitions can influence estimates of mass shooting levels and trends. The information
 was collected from a targeted search of the literature separate from that described in
 Chapter Two of this report.


 What Is a Mass Shooting?
 In the 1980s, the Federal Bureau of Investigation (FBI) defined mass murderer as
 someone who "kills four or more people in a single incident (not including himself),
 typically in a single location" (Krouse and Richardson, 2015). However, the govern-
 ment has never defined mass shooting as a separate category, and there is not yet a
 universally accepted definition of the term. Thus, media outlets, academic research-
 ers, and law enforcement agencies frequently use different definitions when discussing
 mass shootings, which can complicate our understanding of mass shooting trends and
 their relationship to gun policy. Table 22.1 provides examples of the variation in the
 criteria set by five of the most commonly referenced data sources on mass shootings
 in the United States.
       Although there is no official standard for the casualty threshold that distinguishes
 a mass shooting from other violent crimes involving a firearm, a common approach in
 the literature is to adopt the FBI's criteria for a mass murderer and set a casualty thresh-
 old of four fatalities by firearm, excluding the offender or offenders (Duwe, Kovandzic,
 and Moody, 2002; Krouse and Richardson, 2015; Gius, 2015c; Fox and Fridel, 2016).
 However, this categorization is not without controversy. It does not capture incidents
 in which fewer than four victims were killed but additional victims were injured, and it
 does not include multiple-victim homicides in which fewer than four fatalities resulted
 from gunshots but additional fatalities occurred by other means. Additionally, the
  FBI classification of mass murderer was established primarily with the aim of clarify-
  ing criminal profiling procedures, not for the purpose of data collection or statistical



                                             265   Exhibit 10
                                                     0238
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3968 Page 21 of 171




 266 The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



 Table 22.1
 Variation in How Mass Shootings Are Defined and Counted

                            Casualty Threshold                                            Number of U.S.
                           (for injuries or deaths   Location of       Motivation of      Mass Shootings
 Source                          by firearm}          Incident           Shooter             in 2015

 Mother Jones (see         Three fatal injuries         Public     Indiscriminate                 7
 Follman, Aronsen, and     (excluding shooter}a                    (excludes crimes
 Pan, 2017}                                                        of armed robbery,
                                                                   gang violence, or
                                                                   domestic violence)

 Gun Violence Archive      Four fatal or nonfatal        Any       Any                          332
 (undated}                 injuries (excluding
                           shooter}

 Mass Shooting Tracker     Four fatal or nonfatal        Any       Any                          371
 (undated}                 injuries (including
                           shooter}

 Mass Shootings in         Three fatal or                Any       Not identifiably              65
 America database          nonfatal injuries                       related to gangs,
 (Stanford Geospatial      (excluding shooter)                     drugs, or organized
 Center, undated}                                                  crime

 Supplementary             The FBI's Supplementary Homicide Reports do not define mass shooting but
 Homicide Reports (FBI)    do provide information on the number of victims, and the reports have been
 (see Puzzanchera,         used by researchers in conjunction with news reports or other data sources.
 Chamberlin, and Kang,
 2017)

 a Before January 2013, the casualty threshold for Mother Jones was four fatal injuries (excluding the
 shooter).


analysis (Ressler, Burgess, and Douglas, 1988). Thus, many have chosen alternative
definitions of casualty thresholds for mass shootings. For instance, Lott and Landes
(2000) adopted the definition of two or more injured victims, the Gun Violence
Archive (undated) defined mass shooting as an incident in which four or more victims
(excluding the shooter) are injured or killed, and Mass Shooting Tracker (undated) set
a criterion of four or more people injured or killed (including the shooter).
     · Another definitional disagreement is whether to include multiple-victim shoot-
ing incidents that occur in connection with some other crime or domestic dispute.
Because mass shootings that stem from domestic and gang violence are contextually
distinct from high-fatality indiscriminate killings in public venues, some have argued
that they should be treated separately. In their analyses of "mass public shootings,"
Lott and Landes (2000) excluded any felony-related shooting, and Duwe, Kovandzic,
and Moody (2002) excluded incidents where "both the victims and offender(s) were
involved in unlawful activities, such as organized crime, gang activity, and drug deals"
(p. 276). Similarly, Gius (2015c) restricted analysis to events that occurred in a rela-
tively public area and in which victims appeared to have been selected randomly. How-
ev:er, others have claimed that this narrow definition ignores a substantial proportion




                                                           Exhibit 10
                                                             0239
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3969 Page 22 of 171




                                                                       Mass Shootings   267



of gun-related violence from family- or felony-related murder (Fox and Levin, 2015).
Data collection efforts by Mass Shooting Tracker and the Gun Violence Archive thus
counted all incidents that met their designated casualty threshold as mass shootings,
regardless of the circumstances that led to the event.
      These definitions matter. Depending on which data source is referenced, there
were seven, 65, 332, or 371 mass shootings in the United States in 2015 (see Table 22.1),
and those are just some examples. More-restrictive definitions (e.g., Mother Jones) focus
on the prevalence of higher-profile events motivated by mass murder, but they omit
more-common incidents occurring in connection with domestic violence or criminal
activity; which make up about 80 percent of mass shooting incidents with four or more
fatally injured victims (Krouse and Richardson, 2015). Broader definitions (e.g., Mass
Shooting Tracker) provide a more comprehensive depiction of the prevalence of gun
violence, but they obscure the variety of circumstances in which these incidents take
place and their associated policy implications. Furthermore, if the effects of a £rearm
policy are expected to affect only public mass shooting incidents, then analysis that
includes domestic violence mass shootings in the outcome measure could obscure iden-
tification of significant effects that would be found in a more targeted analysis of public
mass shootings alone. There is thus value in having multiple measurements of mass
shootings-but only if their definitions are clearly and precisely explained and they are
 used by researchers in a manner appropriate to the analysis.


 Are Mass Shootings on the Rise?

 In 2014, the FBI released a study showing that "active shooting incidents" had increased
 at an average annual rate of 16 percent between 2000 and 2013 (Blair and Schweit,
 2014). In contrast to the varied definitions for mass shootings, there is an agreed-
 upon definition among government agencies for active shooter: "an individual actively
 engaged in killing or attempting to kill people in a confined and populated area; in
 most cases, active shooters use £rearm(s) and there is no pattern or method to their
 selection of victims" (U.S. Department of Homeland Security, 2008, p. 2). Using a
 modified version of this definition to include incidents that had multiple offenders or
 occurred in confined spaces, Blair and Schweit (2014) found that active shootings had
 increased from only one incident in 2000 to 17 in 2013.
       The FBI study (Blair and Schweit, 2014) highlighted several key issues in deter-
 mining trends in mass shootings. First, the absence of a systematic definition of mass
 shootings can lead to misinterpretation of reported evidence. While the study explicitly
 stated, "This is not a study of mass killings or mass shootings" (p. 5), extensive media
 coverage cited the study as evidence of a sharp rise in mass shootings and mass shooting
 fatalities (Lott, 2015). However, the definition of an active-shooter incident is broader
 than any of the commonly used criteria for mass shootings (see Table 22.1) because it




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3970 Page 23 of 171




 268   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



 does not set any casualty threshold. Of the 160 active-shooter incidents included in the
 FBI's analysis, 7 percent resulted in zero casualties, 20 percent resulted in zero fatali-
 ties, and 22 percent resulted in a single fatality (Lott, 2015). Setting a threshold of zero
 victims increases the potential for measurement error, because shooting incidents with
 no casualties are more difficult to identify from police records and are less likely to
 receive media coverage (Duwe, Kovandzic, and Moody, 2002). Additionally, because
 it should be relatively easier to identify more-recent shootings with few fatalities, a low
 casualty threshold will tend to systematically bias estimates of the number of shootings
 upward over time. For example, the Stanford Mass Shootings in America database,
 which relies solely on online media sources to identify mass shooting events, cautions
 its users, "Data in the [database] spans a time period that includes the transition from
 traditional media to digital media in reporting. Numbers of incidents per year should
 at least in part be assumed to reRect this collection methodology and not just changes
 in incident frequency." Thus, the more than threefold surge in mass shooting incidents
 from 2014 to 2015 shown in the Stanford data likely reflects increased online reporting
 and not necessarily a true increase in the rate of mass shootings.
        Even when a more restrictive casualty threshold of four or more fatally injured
 victims (excluding the shooter) is imposed, empirical evidence on trends in these
 incidents varies depending on whether the motivation of the shooter is included as
 a criterion for considering an event a mass shooting. In their analysis of mass shoot-
 ing trends from 1999 to 2013, Krouse and Richardson (2015) distinguished between
 mass shootings occurring in public locations that are indiscriminate in nature ("mass
 public shootings"), mass shootings in which the majority of victims are members of the
 offender's family and that are not attributable to other criminal activity ("familicide
 mass shootings"), and mass shootings that occur in connection to some other criminal
 activity ("other felony mass shootings"). Figures 22.1 and 22.2 show trends in these
 types of mass shooting incidents and fatalities, respectively, using the data provided
 in Krouse and Richardson (2015). Extending the data back to the 1970s, two studies
 found evidence of a slight increase in the frequency of mass public shootings over the
 past three decades (Cohen, Azrael, and Miller, 2014; Krouse and Richardson, 2015).
 However, using an expanded definition that includes domestic- or felony-related kill-
 ings, there is little evidence to suggest that mass shooting incidents or fatalities have
 increased (Cohen, Azrael, and Miller, 2014; Krouse and Richardson, 2015; Fox and
 Fridel, 2016). Thus, different choices about how to define a mass shooting result in dif-
 ferent findings for both the prevalence of these events at a given time and whether their
 frequency has changed over time.
        Definitional issues aside, the relative rarity of mass shooting events makes analysis
 of trends particularly difficult. Chance variability in the annual number of mass shoot-
 ing incidents makes it challenging to discern a clear trend, and trend estimates will
 be sensitive to outliers and to the time frame chosen for analysis. For example, while
 Krouse and Richardson (2015) found evidence of an upward trend in mass public



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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3971 Page 24 of 171




                                                                                          Mass Shootings 269



 Figure 22.1
 Trends in Mass Shooting Incidents, by Type of Incident

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                        2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013
 SOURCE: Adapted from data in Krouse and Richardson, 2015.
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  Figure 22.2
  Trends In Mass Shooting Fatalities, by Type of Incident


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   SOURCE: Adapted from data in Krouse and Richardson, 2015.
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    shootings from 1999 to 2013, they noted that the increase was driven largely by 2012,
    which had an unusually high number of mass public shooting incidents. Add ition-
    ally, Lon (2015) showed that the FBI study's estimate of a dramatic increase in active-
    shooter incidents was largely driven by the choice of2000 as the starting date, because
    that year had an unusually low number of shooting incidents; extending the analysis
    to cover 1977 onward and adjusting the data to exclude events with fewer than two



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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3972 Page 25 of 171




 270   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



 fatalities, Lott (2015) found a much smaller and statistically insignificant increase (less
 than 1 percent annually) in mass shooting fatalities over time.



 Conclusions

 While different choices about how to define a mass shooting and the period over
 which to calculate mass shooting trends have resulted in disagreement about whether
 the frequency of mass shootings has risen, there is clear evidence that the media's
 use of the term mass shooting has increased significantly over recent decades (Roeder,
 2016). Unfortunately, the ambiguity in how mass shootings are defined and counted
 may result in increased media coverage influencing public perception without better
 informing our understanding of the prevalence of mass shootings or their determi-
 nants, trends, social costs, or policy implications.




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3973 Page 26 of 171




                                                                                     Mass Shootings   271



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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3975 Page 28 of 171




                                                           PARTD
                 Summary of Findings and Recommendations




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3976 Page 29 of 171




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3977 Page 30 of 171




CHAPTER TWENTY-FIVE

Summary and Conclusions




Although large majorities of Americans agree on the merits of some gun policies, gun
policy is divisive in the United States. In this report, we have attempted to provide a rig-
orous and balanced assessment of what current scientific knowledge can tell the public
and policymakers about the true effects of many gun policies that are frequently dis-
cussed in state legislatures. The most recent of such comprehensive attempts, conducted
more than a dozen years ago, found the research base too thin to draw any conclu-
sions about the effects of gun laws. Specifically, a committee of the National Research
Council (NRC) found that the evidence was so weak and contradictory that no causal
associations between the laws it examined and crime or violence could be determined
(NRC, 2004). Separately, the Community Preventive Services Task Force "found the
evidence available from identified studies was insufficient to determine the effectiveness
of any of the firearms laws reviewed singly or in combination" (Hahn et al., 2005).
      We have thoroughly updated and expanded on the findings in NRC (2004) and
Hahn et al. (2005) with studies published between 2003 and spring 2016. We sys-
tematically reviewed all empirical research that examined the effects of 13 types of
state gun policies on eight outcomes, including outcomes related to public health and
safety and outcomes of interest to sport shooters, hunters, and those who work in the
gun industry. We restricted our analysis to only those studies using methods designed
to identify plausibly causal effects of the policies. After reviewing many thousands of
candidate studies, we identified just 63 meeting our inclusion criteria (described in
Chapter Two), of which 54 were published since 2003.
       There is a need for a factual basis on which to make policy. This does not mean
basing decisions just on facts about which policies will reduce homicides or suicides
 the most; it means basing decisions on an accurate understanding of the trade-offs that
 policies entail. To make fair and effective gun policies, we need to know more about
 their implementation challenges, whom they affect most or least, what their unin-
 tended consequences might be, how they can be revised for better effect, what they cost
 society in general and gun owners in particular, and other issues central to the accept-
 ability of any policy. These scientific questions about what is true and knowable do not
 supersede questions of individual rights or Second Amendment rights. Both should be
 central considerations in policymaking.


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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3978 Page 31 of 171




 302   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



       Facts have never dictated policy, but they can inform it. The relevance of research
 to inform gun policy has been tarnished by deeply held assumptions about "true"
 policy effects, measurement error associated with key variables (such as gun owner-
 ship), skepticism about ·research methods, and mistrust of researchers' motives when
 they draw unwelcome conclusions or focus on just one aspect of what is a complex
 phenomenon affecting multiple stakeholders with diverse interests. We have attempted
 to address these concerns through the rigor and transparency of our methods and
 through our organizational commitment to nonpartisan, objective policy analysis. We
 hope, therefore, that all stakeholders in gun policy debates give our analysis of the
 available science a fair hearing and our recommendations careful consideration.
       In this chapter, we summarize our judgments about the strength of evidence
 available for the effects of gun policies on outcomes of interest. We then outline our
 conclusions and recommendations, which are organized into two sections: What can
 we conclude about the effects of gun policies, and why don't we know more?


 Summarizing the Strength of Evidence

 We categorized all policy and outcome pairings as having supportive, moderate, lim-
 ited, inconclusive, or no evidence. We never conclude that evidence suggests that a
 policy has no effect. Even when multiple studies fail to find a significant effect, it is
 not correct that this implies the policy has no effect. Instead, the effects may simply
 be too small to reliably detect, or the data available to assess the policy's effects may
 not be sufficiently specific to the intended effects of the law. More generally, it seems
 reasonable to suspect that every policy has some effect on each outcome, however
 small or unintended. Therefore, the failure to detect a law's effects reveals more about
 the weakness of the analytic methods than about the possibility that a policy truly
 has no effect.
       We categorized evidence as inconclusive when studies with comparable method-
 ological rigor identified inconsistent evidence for the policy's effect on an outcome or
 when a single study found only uncertain or suggestive effects. We categorized evidence
 as limited when at least one study meeting our inclusion criteria and not otherwise
 compromised by serious methodological problems reported a significant effect of the
 policy on the outcome. Effects for which there is moderate evidence are those for which
 two or more studies found significant effects in the same direction and contradictory
 evidence was not found in other studies with equivalent or strong methods. Our find-
 ing of supportive evidence of an effect is limited to cases for which at least three studies
 found suggestive or significant effects in the same direction, and the effect was found
 in at least two data sets that were reasonably independent of each other (e.g., firearm
 suicides and hospital admissions for self-inflicted firearm injuries).




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3979 Page 32 of 171




                                                              Summary and Conclusions   303



      Our ratings, therefore, reflect the relative strength of evidence, not, for instance,
whether the evidence is strong enough that we can be highly confident that observed
effects would be generalizable to future implementations of a particular law. Rather,
evidence for these effects is strong relative to evidence for other gun policy effects and
not necessarily strong relative to the quality and quantity of evidence available in other
fields of study. For instance, the evidence that cigarette smoking causes cancer is vastly
stronger than the evidence concerning any gun policy's effect on any outcome.
      Table 25.1 summarizes our judgments for all 13 classes of policies across the
eight outcomes. Several outcomes show multiple judgments, and these correspond to
different characterizations of the specific policy-outcome association. For instance, we
identified limited evidence that background checks reduce total suicides and moderate
evidence that they teduce firearm suicides. Looking down the columns, it is appar-
ent that research into four outcomes is essentially unavailable. It is noteworthy that
three of these four outcomes-defensive gun use, hunting and recreation, and the
gun industry-are issues of particular concern to gun owners or gun industry stake-
holders, including firearm manufacturers, firearm dealers, hunting outfitters, firing
 ranges, and others. That there is no empirical research examining these outcomes
 limits the ability for policymakers to use evidence to consider how laws are likely to
 affect different interests.




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3980 Page 33 of 171




 304 The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies




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 306 The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



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         Firearm Reporting
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3983 Page 36 of 171




                                                              Summary and Conclusions 307



 What Can We Conclude About the Effects of Gun Policies?

 Our first set of conclusions and recommendations describes the policy-outcome com-
 binations with the strongest available evidence as identified through our review of the
 existing literature, as well as recommendations for policy based on this evidence.
        Conclusion 1. Available evidence supports the conclusion that child-access pre-
 vention (CAP) laws, or safe storage laws, reduce self-inflicted fatal or nonfatal firearm
 injuries among youth. There is moderate evidence that these laws reduce firearm sui-
 cides among youth and limited evidence that the laws reduce total (i.e., firearm and
 nonfirearm) suicides among youth.
        Conclusion 2. Available evidence supports the conclusion that CAP laws, or safe
 storage laws, reduce unintentional firearm injuries or unintentional firearm deaths
 among children. In addition, there is limited evidence that these laws may reduce
 unintentional firearm injuries among adults.
        In the available literature examining CAP laws, self-inflicted injuries represent
 an ambiguous outcome because not all self-inflicted firearm injuries are the result of a
 suicide attempt. Some are unintentional injuries. But with case fatality rates for suicide
 attempts with a firearm at around 82.5 percent (Spicer and Miller, 2000), a substantial
  number of self-inflicted firearm injuries are likely the result of a suicide attempt. Fur-
  thermore, there is a clear pattern of CAP laws appearing to reduce a range of related
 firearm injuries to youth, ranging from unintentional injuries to suicides. That they
  also reduce the more ambiguous "self-inflicted injuries" fits squarely within that pat-
  tern and contributes to our confidence that the evidence currently supports a conclu-
  sion that CAP laws reduce these injuries and fatalities.
        Across all of the 13 classes of policies that we studied, only CAP laws had any evi-
  dence that we classified as supportive for a particular conclusion. CAP laws differ from
  many of the other policies we considered in this report. Most of the others affect the
  acquisition of new firearms (e.g., background checks or waiting periods), or they are
  designed to affect a relatively small proportion of gun owners (e.g., prohibitions that
  target the mentally ill; firearm surrender laws, which have usually targeted domestic
  violence offenders). Thus, the other laws generally concern either the small proportion
  of guns that are newly acquired every year or a small proportion of the gun-owning
  population. CAP laws, in contrast, are designed to influence how all guns in a state
  are stored when children could be expected to encounter them. This likely represents
   a large proportion of all guns because one-third of all households in the country have
   children under age 18 (Vespa, Lewis, and Kreider, 2013), and many more have chil-
   dren as occasional visitors. With such large numbers of guns potentially affected, even
   imperfect compliance with CAP laws may have a greater chance than other types of
   laws of producing observable effects in population-level outcome statistics.

       Recommendation 1. States without CAP laws should consider adopting them as a
       strategy to reduce firearm suicides and unintentional firearm injuries and deaths.



                                                 Exhibit 10
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3984 Page 37 of 171




 308 The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



       We note, however, that scientific research cannot, at present, address whether
       these laws might increase or decrease crime or rates of legal defensive gun use.

       Recommendation 2. When considering adopting or refining CAP laws, states
       should consider making child access to firearms a felony; there is some evidence
       that felony laws may have the greatest effects on unintentional firearm deaths.

       Gun industry and gun-owner organizations have promoted voluntary and edu-
 cational programs to promote the safe storage of firearms. Our conclusions and rec-
 ommendations should not be interpreted to suggest that only CAP laws can reduce
 firearm deaths. As we discussed in Chapter Twenty, scientific evaluations of education
 campaigns have found that they can produce behavior change in domains other than
 gun storage, but rigorous evidence that they have successfully promoted safe storage of
 firearms is limited. On the other hand, there is evidence that clinicians who counsel
 patients (mostly families with children) can effectively promote safe storage practices,
 particularly if storage devices (e.g., gun locks) are provided along with the counseling.
       Conclusion 3. There is moderate evidence that background checks reduce fire-
 arm suicides and firearm· homicides, as well as limited evidence that these policies can
 reduce overall suicide and violent crime rates.
       Most available studies have examined the effects of dealer background checks
 or the combined effects of dealer and private-seller background checks when both are
 required by a state. Therefore, the evidence base for universal background checks com-
 pared with the dealer background checks required under federal law is quite limited.
 Logically, however, if there is moderate evidence that dealer background checks reduce
 firearm suicides and homicides, it seems likely that extending those same background
 checks to private sales of firearms could further reduce firearm suicides and homi-
 cides. We emphasize, though, that the available research on this question is limited
 and inconclusive.
       Conclusion 4. There is moderate evidence that stand-your-ground laws may
 increase state homicide rates and limited evidence that the laws increase firearm homi-
 cides in particular.
       Conclusion 5. There is moderate evidence that laws prohibiting the purchase
 or possession of guns by individuals with some forms of mental illness reduce violent
 crime, and there is limited evidence that such laws reduce homicides in particular.
 There is also limited evidence these laws may reduce total suicides and firearm suicides.
       Federal law prohibits some people who have been adjudicated as mentally ill from
 purchasing or possessing firearms, but this prohibition is not uniformly enforced across
 the nation. States maintain mental health records, but many have been reluctant to
 share those records for use in the Federal Bureau of Investigation (FBI)'s National
 Instant Criminal Background Check System (NICS), the federal database used for
 background checks. Although most states have laws allowing for the voluntary shar-




                                                          Exhibit 10
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3985 Page 38 of 171




                                                             Summary and Conclusions   309



ing of some mental health records with NICS, there is considerable variation in which
classes ofindividuals prohibited under federal law are shared with NICS. Thus, by the
end of2016, there were large differences in the number of active mental health records
in NICS across states; for example, Alaska, Montana, New Hampshire, Rhode Island,
and Wyoming had contributed less than 500 records, whereas most other states had
tens of thousands or hundreds of thousands of active mental health records in the data-
base (Criminal Justice Information Services Division, 2016).
      Our finding that there is limited evidence that some mental health-related back-
ground checks can reduce gun violence should be of interest to states that currently
share only partial or limited mental health data with NICS and that do not have a
comprehensive in-state database that is reliably used for background checks for fire-
arm sales. It is likely that many individuals with mental health histories making them
prohibited possessors under federal law can nevertheless purchase firearms in these
states. Moreover, states that do check state databases but do not share information on
all individuals with disqualifying mental health histories with NICS create opportuni-
ties for prohibited possessors to purchase firearms out of state. Establishing procedures
 to prevent these people from purchasing firearms appears to yield small but appreciable
 reductions in suicides, homicides, and other violent crimes after implementing mental
 health checks.

      Recommendation 3. States that currently do not require a background check inves-
      tigating all types of mental health histories that lead to federal prohibitions on
      firearm purchase or possession should consider implementing robust mental ill-
      ness checks, which appear to reduce rates of gun violence. The most robust proce-
      dures involve sharing data on all prohibited possessors with NICS.

       Conclusion 6. There is limited evidence that before implementation of a ban on
 the sale of assault weapons and high-capacity magazines, there is an increase in the
 sales and prices of the products that the ban will prohibit.
       This finding is based on persuasive evidence from a single case, the implementa-
 tion of the Violent Crime Control and Law Enforcement Act of 1994, which banned
 the sale of certain semiautomatic weapons designated in the law as assault weapons.
 Therefore, this finding may not generalize well to other instances of assault weapon
 bans. For instance, the 1994law grandfathered banned weapons sold before the law's
 implementation date. This likely created a market for speculators who drove up sales
 and prices in the months preceding the ban (Koper, 2004).
       Conclusion 7. There is limited evidence that a minimum age of 21 for purchasing
 firearms may reduce firearm suicides among youth.
       Conclusion 8. No studies meeting our inclusion criteria have examined required
 reporting of lost or stolen firearms, required reporting and recording of firearm sales,
 or gun-free zones.




                                                Exhibit 10
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3986 Page 39 of 171




 310   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



 Why Don't We Know More?

 Based on our review of the existing literature on the effects of firearm policy changes,
 we offer the following conclusions and recommendations for improving the evidence
 base on the effects of gun laws.
       Conclusion 9. The modest growth in knowledge about the effects of gun policy
 over the past dozen years reflects, in part, the reluctance of the U.S. government to
 sponsor work in this area at levels comparable to its investment in other areas of public
 safety and health, such as transportation safety.
       Of the 54 studies meeting our inclusion criteria that have been published since
 2003, just seven (13 percent) reported receiving any federal funding. Two studies
 listed funding from the National Science Foundation, and one study each listed
 funding from the National Institute of Justice; National Institute on Drug Abuse;
 National Institute on Alcohol Abuse and Alcoholism; National Heart, Lung, and
 Blood Institute; and the Centers for Disease Control and Prevention (CDC). Ten
 studies received some foundation support, with the Robert Wood Johnson Foun-
 dation and the Joyce Foundation each supporting four. Of studies since 2003 that
 met our inclusion criteria, the large majority (40 studies, or 74 percent) reported no
 sources of external support.                                      .
       While most of the 54 studies focused on public safety or health outcomes (e.g., sui-
 cide and homicide), the number of high-quality quasi-experimental studies on which
 to base estimates of the effects of policies was surprisingly small compared with the
 literatures that evaluate the effects of many other policies, such as those designed to
 improve traffic safety, a problem that claims about as many lives each year as are lost in
 firearm suicides and homicides.
       Federal funding for research on gun-related mortality is far below the levels for
 other sources of mortality in the United States. Stark and Shah (2017), for instance,
 found that federal gun violence research funding is just 1.6 percent the amount pre-
 dicted based on federal funding for other leading causes of death. With this federal
 inattention comes a corresponding deficit in research: Stark and Shah (2017) also found
 that the volume of research publications on gun mortality was just 4.5 percent of what
 would be expected based on publication volume for other leading causes of mortality.
       The federal government previously supported a more robust program of research
 examining firearm violence and policy. In the 1990s, the CDC was sponsoring mil-
 lions of dollars of research on firearm violence, until researchers found that having a
 gun in the home was associated with an elevated risk of firearm homicide for members
 of the household. This finding was viewed by some as a one-sided attempt to manipu-
 late the gun policy debate.
       In an effort led by the National Rifle Association (Cagle and Martinez, 2004),
 a sufficient proportion of Congress was persuaded to adopt the Dickey Amendment
 in 1996, cutting $2.6 million of funding from the CDC, an amount equal to what
 its injury prevention center had been spending on gun violence research. The Dickey


                                                           Exhibit 10
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3987 Page 40 of 171




                                                               Summary and Conclusions     311



Amendment also introduced new language forbidding the CDC from advocating or
promoting gun control. This language did not explicitly prohibit all research on gun
violence or gun policy, but concern that any gun research could be viewed as advocacy
has led the CDC to avoid supporting gun policy research lest it invite a budget adjust-
ment like that in 1996 (Kellermann and Rivara, 2013).
      Congress has included Dickey Amendment language in each CDC appropriations
bill since 1996. Moreover, in 2012, similar language was added to an appropriations
bill for the National Institutes of Health in the Consolidated Appropriations Act of
2012 (Pub. L. 112-74).
      Research on firearm policy and violence prevention has since declined dramati-
cally. According to a report by the advocacy organization Mayors Against Illegal Guns,
by 2012, CDC funding of gun violence research had declined 96 percent since the
mid-1990s, and academic publishing on gun violence fell 64 percent from 1998 to
2012 (Mayors Against Illegal Guns, 2013; Alcorn, 2016). Although comparable num-
bers of people die in car crashes and by firearm suicides and homicides, federal invest-
ment in traffic safety research funding is more than 270 times greater than in firearm
violence research (Mayors Against Illegal Guns, 2013).
       As suggested in a 2015 joint statement by Jay Dickey, the sponsor of the Dickey
Amendment, and Mark Rosenberg, who ran the CDC's injury center when the amend-
ment first passed, a gun violence research agenda should be developed with the dual
 goals of protecting citizens' and gun owners' rights and making our homes and com-
munities safer:

      Our nation does not have to choose between reducing gun-violence injuries and
      safeguarding gun ownership. Indeed, scientific research helped reduce the motor
      vehicle death rate in the United States and save hundreds of thousands of lives-
      all without getting rid of cars. For example, research led to the development of
      simple four-foot barricades dividing oncoming traffic that are preventing injuries
      and saving many lives. We can do the same with respect to firearm-related deaths,
      reducing their numbers while preserving the rights of gun owners. (Dickey and
      Rosenberg, 2015).

       The science on which to base gun policy has advanced slowly since 2004, when
 the NRC panel concluded, "If policy makers are to have a solid empirical and research
 base for decisions about firearms and violence, the federal government needs to support
 a systematic program of data collection and research that specifically addresses that
 issue." Unfortunately, federal support for research that could help states and communi-
 ties reduce firearm crime, violence, and suicide remains virtually nonexistent, and the
 state and federal surveys describing gun ownership and use, on which a better under-
 standing of state policies could be built, have not lived up to the optimism expressed in
 NRC (2004) and Hahn et al. (2005). In some important respects, such federal support
 has deteriorated since then.



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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3988 Page 41 of 171




 312   The Science of Gun Policy; A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



       Recommendation 4. To improve understanding of the real effects of gun policies,
       Congress should consider whether to lift current restrictions in appropriations
       legislation, and the administration should invest in firearm research portfolios at
       the CDC, the National Institutes of Health, and the National Institute of Justice
       at levels comparable to its current investment in other threats to public safety and
       health.

       Recommendation 5. Given current limitations in the availability of federal support
       for gun policy research, private foundations should take further steps to help fill
       this funding gap by supporting efforts to improve and expand data collection and
       research on gun policies.

       Conclusion 10. Research examining the effects of gun policies on officer-involved
 shootings, defensive gun use, hunting and recreation, and the gun industry is virtually
 nonexistent.
       The lack of rigorous studies examining the effects of gun policies on these out-
 comes is problematic because many stakeholders in gun policy debates are especially
 concerned about the effects laws could have on these matters. The desire to protect
 oneself, for instance, is self-reported as one of the primary reasons for gun ownership
 among 63 percent of all U.S. gun owners and among 76 percent of all U.S. handgun
 owners (Azrael et al., 2017), yet rigorous studies of the effects oflaws on this outcome
 have rarely been conducted. As we discuss in Chapter Twenty-Three, on defensive gun
 use, the lack of research in this area stems, to some extent, from difficulties defining
 and measuring legal defensive gun use. In some-perhaps most-such cases, guns
 may contribute to an individual's self-defense by deterring crimes that would otherwise
 occur. For this reason and others, it has proven difficult to estimate the frequency with
 which guns are used defensively.
       Nevertheless, opportunities for understanding how policies affect defensive gun
 use exist and should be pursued. For instance, it may be possible to examine whether
 policies change the rate at which gun owners are the victims of crime or are injured
 during a crime. Similarly, FBI records of justifiable homicides, although imperfect as a
 proxy for defensive gun use, may nevertheless be useful for examining one aspect of a
 policy's effects on defensive gun use, as demonstrated by Cheng and Hoekstra (2013).
 Given the strength of evidence of CAP laws on self-inflicted and unintentional inju-
 ries, studying the impact of these policies on defensive gU:n use can help inform the
 trade-offs between this outcome and the potential public safety benefits.
       The dearth of research examining how policies affect the gun industry is a par-
 ticularly significant shortcoming in the available scientific literature. Data from the
 U.S. Bureau of Labor Statistics (2017) suggest that more than 47,000 people in the
 United States are employed just in the manufacture of small arms and ammunition.
 The National Sports Shooting Foundation, a gun industry trade association, estimates




                                                           Exhibit 10
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3989 Page 42 of 171




                                                                Summary and Conclusions 313



that an additional 250,000 may be employed in the distribution and sale of firearms
and hunting supplies or in ancillary services, such as operating gun ranges or pro-
viding supplies or services to manufacturers and retailers (National Sports Shooting
Foundation, 2017). 1he National Survey of Fishing, Hunting, and Wildlife-Associated
Recreation Survey in 2011 found that more than 12 million people used firearms for
hunting, with total expenditures on firearms exceeding $3 billion and expenditures on
ammunition exceeding $1.2 billion (U.S. Fish and Wildlife Service, U.S. Department
of the Interior, and U.S. Department of Commerce, 2012). In addition, more than
50 percent of all hunters participated in target shooting, and 22 percent of hunters
visited shooting ranges (U.S. Fish and Wildlife Service, U.S. Department of the Inte-
rior, and U.S. Department of Commerce, 2012). As important as the concerns of this
industry may be to the fate of proposed gun policies, there is, at present, little scientific
 evidence available to the public on this topic.

      Recommendation 6. To improve understanding of outcomes of critical concern to
      many in gun policy debates, the U.S. government and private research sponsors
      should support research examining the effects of gun laws on a wider set of out-
      comes, including crime, defensive gun use, hunting and sport shooting, officer-
      involved shootings, and the gun industry.

       Conclusion 11. 1he lack of data on gun ownership and availability and on guns
 in legal and illegal markets severely limits the quality of existing research.
       There are no regularly collected data series that describe gun ownership or use
 at the state level since the CDC suspended its collection of this information on the
 Behavioral Risk Factor Surveillance System more than a decade ago. Most gun laws
 are designed to specify who can own guns or to change the ways that gun owners store
 and use their weapons. Therefore, gun ownership and use are the behaviors through
 which laws may affect such outcomes as suicide, homicide, hunting and recreation, and
 firearm sales. In the absence of reliable state-level information about gun ownership
 and use, researchers cannot assess the most-direct intended effects of policies-that is,
 the effects on gun ownership and use-which may otherwise be easier to detect than
 the downstream effects of such policies on comparatively rare outcomes, such as suicide
 and homicide. Is it the case that gun laws cannot have their intended effect because the
 stock of guns is so great in the United States that anyone who wants a gun can easily
 obtain one, whether or not they are prohibited? This is a question that cannot easily be
 answered with available data on gun ownership and use.

      Recommendation 7. To make important advances in understanding the effects of
      gun laws, the CDC or another federal agency should resume collecting volun-
      tarily provided survey data on gun ownership and use.




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3990 Page 43 of 171




 314 The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



      Additionally, the federal government no longer collects or shares with research-
 ers data on illegal gun markets, which investigators could use to examine how policies
 change the availability of firearms. This is a problem that has also worsened since NRC
 (2004) identified it as a critical shortcoming for research on gun policy. Specifically,
 the Tiahrt Amendments (a series of provisions attached to Bureau of Alcohol, Tobacco,
 Firearms and Explosives appropriations bills since 2003) block researchers and others
 from studying gun trace data and gun purchaser data. When trace data were available
 to researchers prior to 2003, the information provided important insights into how
 criminals obtain their weapons (Kennedy, Piehl, and Braga, 1996; Bureau of Alcohol,
 Tobacco, and Firearms, 1997); whether states with more-restrictive gun laws create
 shortages of guns for those who may be prohibited from purchasing them (Weil and
 Knox, 1996; Cook and Braga, 2001); how guns move between states with less- and
 more-restrictive gun laws (Cook and Braga, 2001; Webster, Vernick, and Hepburn,
 2001); the characteristics of gun sales likely to be associated with diversion to pro-
 hibited possessors (Pierce et al., 2003); and other valuable, actionable, policy-relevant
 information (for further discussion, see Braga et al., 2012).
      Trace data and purchaser data have significant limitations that can make infer-
 ences about gun markets and crime difficult or uncertain. That is a caveat that applies
 to most data used in evaluating gun policies, but it should not be a reason for prohibit-
 ing access to trace data for research purposes.

       Recommendation 8. To foster a more robust research program on gun policy, Con-
       gress should consider whether to eliminate the restrictions it has imposed on the
       use of gun trace data for research purposes.

       Conclusion 12. Crime and victimization monitoring systems are incomplete and
 not yet fulfilling their promise of supporting high-quality gun policy research in the
 areas we investigated.
       NRC (2004) and Hahn et al. (2005) each expressed optimism about new sources
 of data that. had only recently begun and that could, in theory, be used to improve
 the study of gun policy. These included the National Violent Death Reporting System
 (NVDRS) and the National Incident-Based Reporting System (NIBRS).
       The NVDRS was designed to provide unprecedented detail on the circumstances
 of violent deaths in participating states, such as information on the victim's life stresses,
 the relationship between the victim and the offender, and other crimes that were com-
 mitted at the time of the suicide or homicide. Despite the richness of the information
 available through the NVDRS, not one of the quasi-experimental studies meeting the
 inclusion criteria for this report used NVDRS data. It could be that there have not
 been enough states participating in the NVDRS collection process for long enough to
 permit the use of strong causal models. State participation in the NVDRS is voluntary




                                                          Exhibit 10
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3991 Page 44 of 171




                                                             Summary and Conclusions   315



and has been growing slowly but steadily. Currently, 42 states participate, but data are
available from only 18, and not from some large states, such as California and Texas.
      The NIBRS was designed to collect more-detailed information on incidents of
crime in the United States than has been available through the FBI's Uniform Crime
Reporting system. Whereas the FBI system collects summary or aggregate statistics on
serious violent and property crimes reported to law enforcement agencies, NIBRS was
designed to collect incident-level information about crimes reported to police. It offi-
cially launched in the mid-1980s, but by the time of the NRC review, only 16 percent
of the U.S. population was served by a law enforcement agency that reported crime
information to NIBRS (NRC, 2004, p. 33). Because the NIBRS program is voluntary
and can be costly for law enforcement agencies to adopt, participation rates have not
improved as rapidly as the NRC reviewers may have expected. By 2012, the proportion
of U.S. residents served by a participating law enforcement agency had risen to just
30 percent (Bureau of Justice Statistics [BJS], 2017a). Perhaps for this reason, none of
the studies meeting the inclusion criteria for this report used NIBRS data.
      Although the current NIBRS data are of limited use for the kind of research
we have reviewed, a new BJS initiative offers hope that this could soon change. The
National Crime Statistics Exchange is an attempt to recruit and facilitate the par-
ticipation of a representative sample of 400 law enforcement agencies to participate in
NIBRS. With this sampling approach and data from the more than 6,000 agencies
already participating, BJS expects to be able to begin generating reliable national crime
trend information based on NIBRS data.

      Recommendation 9. To improve the quality of evidence used to evaluate gun poli-
      cies, the NVDRS should be expanded to include all states with rigorous quality
      control standards.

      Recommendation I 0. BJS should examine the cost and feasibility of expanding its
      existing programs to generate state-level crime data.

      Another potentially valuable source of information on crimes is the National
 Crime Victimization Survey (NCVS), which collects detailed information on crime
 from a panel of U.S. residents selected to be representative of the nation. This survey
 provides critically important information about crimes that may never be reported to
 the police, as well as credible information on how victims and potential crime victims
 have been able to use guns defensively. But NCVS cannot readily be used to under-
 stand the effects of state gun laws on crime because it does not generate state-level
 estimates. Therefore, the studies meeting our eligibility criteria primarily used data
 from the Uniform Crime Reporting program (or its Supplemental Homicide Report)
 when examining crimes, meaning they worked with data that had few details about




                                                Exhibit 10
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3992 Page 45 of 171




 316   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



 individual crimes and, thus, could examine only the subset of crimes reported to law
 enforcement.
      Recognizing the need for state-level victimization data, BJS has explored options
 for generating such estimates through NCVS (BJS, 2017b). BJS is conducting a pilot
 program that expands the survey panel with the intention of eventually generating reli-
 able estimates for 22 states. In addition, the bureau has published model-based state
 estimates for some types of crime over three-year periods from 1999 to 2013 (Fay and
 Diallo, 2015).

       Recommendation 11. B]S should continue to pursue its efforts to generate state-
       level victimization estimates. The current goal of generating such estimates for
       22 states is a reasonable compromise between cost and the public's need for more-
       detailed information. However, the bureau should continue to expand its devel-
       opment of model-based victimization rates for all states and for a wider set of
       victimization experiences (including, for instance, crimes involving firearm use
       by an assailant or victim).

        Conclusion 13. The methodological quality of research on firearms can be sig-
  nificantly improved.
        Over the past several decades, studies have offered a great deal of information
 .about how to use what data are available to generate reliable and credible estimates
 of the effects of gun policies on various outcomes, and the computing power that
  researchers need to implement the increasingly demanding modeling requirements has
  more than kept pace with the diffusion of knowledge about appropriate statistical
 methods. Nevertheless, the scientific literature we reviewed shows that many of the
 best recent studies suffer from important limitations that should be addressed in future
  research. These shortcomings concern the following:

   • Interpreting effects generated in models that lack the statistical power to have
     any reasonable chance of detecting the likely effects of policies. This problem can
     result in a high likelihood that statistically significant effects are in the opposite
     direction of the true effects or that the statistically significant effects grossly exag-
     gerate the magnitude of the true effects.
   • Estimating too many parameters for the number of available observations. This
     problem can result in statistically significant effects that tell virtually nothing
     about the true generalizable effects of the policies~
   • Poorly calibrated tests for whether the effects of policies are statistically signifi-
     cant. This problem can result in many discoveries of effects that reject the null
     hypothesis that the policy had no effect when, in fact, under proper inferential
     procedures, the discoveries would be consistent with the law having no effect (or
     a small effect in the opposite direction).




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3993 Page 46 of 171




                                                                Summary and Condusions   317



   • Poorly justified selections of statistical models or covariates. This problem can
      result in estimates of a policy's effects that are in the wrong direction or that badly
      misconstrue the magnitude or statistical significance of their effects.
   • Presenting the results of exploratory statistical modeling as though they reflect
      findings from a confirmatory analysis. When dozens of hypothesis tests are con-
      ducted, about 5 percent would be expected to achieve statistical significance at
      the p < 0.05 level even if the law had no effect. Failure to acknowledge that find-
      ings are the result of exploratory analysis can lead to overconfident interpretations
      of effect estimates that may not reflect the true effects of a policy.
   • Undisclosed categorization of which states had which laws and when they were
      implemented. Gun policy analysts need reliable and shared databases of state
      laws. Correct coding of state laws is challenging, and when researchers have dis-
      closed their state law codings, those codings have often been found to contain
      errors that could affect results.
   • Poorly justified models of the time course of a policy's effects. Statistical models
      of the effects of a policy impose assumptions about the period over which the
       effects of the policy will build. Often, the implicit assumption is that the full
       effect of the policy will be observed instantaneously in the first year after the date
       it is scheduled for implementation. At best, this can lead to underestimates of the
       effects of policies.
    • The use of spline and hybrid models that do not estimate coherent causal effects.
    • Inadequate attention to threats of reciprocal causation or simultaneity biases in
       effect estimation.

       These are technical points of interest chiefly to researchers, so we relegate our
 detailed discussion of each point to Appendix A. However, our final recommendations
 are for other researchers interested in the analysis of the effects of gun policies.

      Recommendation 12. As part of the Gun Policy in America initiative, we have
      published a database containing a subset of state gun laws from 1979 to 2016
      (Cherney, Morral, and Schell, 2018). We ask that others with expertise on state
      gun laws help us improve the database by notifying us of its errors, proposing
      more-useful categorizations of laws, or submitting information on laws not yet
      incorporated into the database. With such help, we hope to make the database a
      resource beneficial to all analysts.

      Recommendation 13. Researchers, reviewers, academics, and science reporters
      should expect new analyses of the effects of gun policies to improve on earlier
      studies by persuasively addressing the methodological limitations of earlier stud-
      ies, including problems with statistical power, model overfitting, covariate selec-
      tion, poorly calibrated standard errors, multiple testing, undisclosed state varia-




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3994 Page 47 of 171




 318   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



       tion in law implementation, and unjustified assumptions about the time course
       of each policy's effects.

       In conclusion, with a few exceptions, there is a surprisingly limited base of rigor-
 ous scientific evidence concerning the effects of many commonly discussed gun poli-
 cies. This does not mean that these policies are ineffective; they might well be quite
 effective. Instead, it reflects shortcomings in the contributions that scientific study
 can currently offer to policy debates in these areas. It also reflects, in part, the policies
 we chose to investigate, all of which have been implemented in some U.S. states and,
 therefore, have proven to be politically and legally feasible, at least in some states. This
 decision meant that none of the policies we examined would dramatically increase or
 decrease the stock of guns or gun ownership rates in ways that would produce more
 readily detectable effects on public safety, health, and industry outcomes. The United
 States has a large stock of privately owned guns in circulation-estimated in 2014 to
 be somewhere between 200 million and 300 million firearms (Cook and Goss, 2014).
 Laws designed to change who may buy new weapons, what weapons they may buy, or
 how gun sales occur will predictably have only a small effect on, for example, homi-
 cides or participation in sport shooting, which are affected much more by the existing
 stock of firearms. Although small effects are especially difficult to identify with the
 statistical methods common in this field, they may be important. Even a 1-percent
 reduction in homicides corresponds to more than 1,500 fewer deaths over a decade.
       By highlighting where scientific evidence is accumulating, we hope to build con-
 sensus around a shared set of facts that have been established through a transparent,
 nonpartisan, and impartial review process. In so doing, we also mean to highlight
 areas where more and better information could make important contributions to estab-
 lishing fair and effective gun policies.




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3995 Page 48 of 171




                                                                     Summary and Conclusions 319



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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3996 Page 49 of 171




 320   The Science of Gun Po! icy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3997 Page 50 of 171




                                                   Appendixes




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3998 Page 51 of 171




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.3999 Page 52 of 171




APPENDIX A

Methodological Challenges to Identifying the Effects of
Gun Policies




A review by the National Research Council (NRC) (2004) highlighted important
problems with the methods used.in many studies examining the effects of gun poli-
cies. Since then, the literature has grown, often in a series of critiques and counter-
critiques of the statistical methods used by different sets of researchers. Having care-
fully reviewed, discussed, and debated among our own project team the relative merits
of different methods used in this literature, we offer here our assessment of the principal
methodological challenges that future research on gun policy should seek to overcome.



 Power

 Statistical models using variation in state policies to identify causal effects of gun poli-
 cies sometimes face serious problems with statistical power, meaning that the models
 may have little chance to detect effects even when they exist, and any statistically sig-
 nificant effects the models detect are likely to have greatly exaggerated magnitudes and
 may often get the direction of the effect wrong. These serious problems are common
 when effects of interest are small relative to other sources of variation in the outcomes
 (Gelman and Carlin, 2014). This is likely the case for the effects of gun policies (like
 those we examined in this report) that might affect new purchases of firearms but not
 the much larger stock of firearms available for use or that might have a modest effect
 on a small number of firearm incidents.
       Nevertheless, even small effects may be important. For example, a 3-percent
 reduction in firearm deaths corresponds to 1,000 fewer deaths per year nationally. But
 a 3-percent effect, or an incidence rate ratio (IRR) of 0.97, is small relative to the much
 larger variation in firearm death rates over time or across U.S. states. Many observa-
 tions (for instance, years of data for each state) may be required before a model has suf-
 ficient power to detect such an effect. Moreover, power is diminished as large numbers
 of covariates are added to the model.
       To illustrate, consider the preferred model reported by one set of researchers
 reviewed here. The reported effect for one policy was an IRR of 0.97 (confidence inter-
 val [CIJ: 0.72, 1.15). We can infer from these statistics that such a model could detect



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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4000 Page 53 of 171




 324 The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



 a realistically small 3-percent reduction in the outcome at the p < 0.05 level of signifi-
 cance with a power of just 6 percent, well below the SO-percent level researchers typi-
 cally seek when designing research. 1 Moreover, there is a nearly one in four chance that
 any statistically significant effect identified is in the wrong direction, and any statisti-
 cally significant effect the model identifies will necessarily describe an effect size vastly
 greater than the true effect size. In the present example in which the true effect has an
 IRR of 0.97, the model would not identify a statistically significant effect any smaller
 in magnitude than an IRR of about 0.74. That is, the true 3-percent reduction would
 be found to be significant only if the model estimates it to actually be a 26-percent
 reduction in the outcome.
       In other words, models like some that we find in the existing literature have
 almost no chance of detecting realistically small effects of firearm policies, and any
 significant effects the models do discover are likely to be grossly exaggerated in their
 magnitude and almost equally likely to be in the wrong direction as the right one.
 While this problem is by no means universally true in this literature, -it is common
 enough that we present it as a general concern rather than citing by name the article
 from which we drew our example.

 Overfitting
 The problem of poorly powered models is exacerbated when, as is common in this
 field, investigators include many covariates and fixed effects in their models of the
 effects of policies. Most guidance on reliable regression modeling emphasizes that
 models should have at least ten or 15 times as many observations as parameters being
 estimated (Cavanaugh, 1997; Draper and Smith, 1998; Good and Hardin, 2012).
 However, with fixed effects for each year in time-series data; fixed effects for each
 state; and a wide range of demographic, social, and economic covariates, models in
 this field frequently violate such recommendations, sometimes falling below even five
 observations per parameter (Schell and Morral, 2016). Such models are likely to be
 overfit, meaning, among other things, that their estimates are unreliable or unlikely
 to describe generalizable relationships between covariates of interest (such as policies)
 and the modeled outcomes.
       Although problems with statistical power are common in this literature, they may
 not be inevitable. Models that do a good job explaining sources ofvariance across time
 or among states will have more statistical power than those that explain less of this vari-
 ance. In a separate line of work, RAND's Gun Policy in America project has examined
 the performance (power, bias, and error rates) for many gun policy model specifications

 1 The inferences about power in this paragraph rely on power calculations and calculations of the probability

 of an error in the sign of the estimate and the magnitude of the estimate using methods described in Gelman
 and Carlin (2014). We assume that the standard error of the (unexponentiated) model estimate is (log(IRR) -
 log(LB))/1.96, where IRR is the reported effect size, and LB is the lower (or higher) bound of the 95-percent CI
 reported for the estimate.




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4001 Page 54 of 171




                                 Methodological Challenges to Identifying the Effects of Gun Policies        325



using simulations for which the true effect of policies is known. This work demon-
strates that many statistical models commonly used in gun policy research have quite
poor performance in terms of type 1 error, power, and bias but that there are modeling
approaches with comparatively good characteristics on these and other criteria. 2


Standard Errors
Most of the studies meeting our inclusion criteria identified the effects of policies by
examining state-level changes in an outcome (such as homicides) over time. In many
such models, there is a strong correlation within states among the error terms over time.
Whether this clustering of error components mandates some adjustment to ensure that
standard errors and even parameter estimates are unbiased has been a source of con-
tention and confusion in the field. According to NRC (2004), cluster adjustments for
fixed-effects models like many we reviewed in this report were unnecessary and pro-
duced misleadingly large Cis.
      As Aneja, Donohue, and Zhang (2014) have argued, however, NRC did not prop-
erly consider how serial correlations in panel data can produce misleading standard
errors when no adjustments are made for state-level clustering within the data. The
authors provided compelling evidence that, without adjustment, standard errors are so
severely underestimated that two-thirds or more of effects known to have no systematic
association with the outcome variable appear to be statistically significant, a proportion
far higher than the 5 percent expected for significance levels set at the p < 0.05 level.
They further showed that even a common duster adjustment procedure does not fully
correct the underestimation of standard errors. Although state-level cluster adjustment
vastly improves upon unadjusted estimates, standard errors are still inflated, frequently
leading to statistically significant null effects at rates between 10 percent and ·15 per-
cent where a properly calibrated standard error would produce such errors in only
 5 percent of cases.
       Longitudinal analyses of state firearm policies that take no steps to address clus-
 tering continue to be published, although there is good evidence that the kinds of
 serial correlation found in state panel data used in gun policy research can result in
 large biases in estimated standard errors (Aneja, Donohue, and Zhang, 2014). The
 significance of the effects that these studies report should be regarded with deep skep-
 ticism. Similarly, studies frequently use robust standard error corrections or weight
 the regression models by state or county populations, but neither approach is likely to
 satisfactorily account for bias resulting from serial correlation, and population weight-
 ing could make it worse (Aneja, Donohue, and Zhang, 2014; Durlauf, Navarro, and
 Rivers, 2016). Further challenges for estimating standard errors arise for studies that


 2   A report on this effort is forthcoming and will be available on the Gun Policy in America project website.




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4002 Page 55 of 171




 326   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



 use difference-in-differences approaches in which policy effects are identified from only
 a small number of states (or jurisdictions), because inference based on clustered stan-
 dard errors has been shown to severely over-reject in these cases (Conley and Taber,
 2011; MacKinnon and Webb, 2017).



 Multiple Testing

 Among studies examining the effects of firearm policies, it is common to present mul-
 tiple model specifications, each with multiple effect estimates and sometimes run on
 multiple subsets of the population (e.g., deaths of those under age 19 or over age 55).
 In some cases, additional models may have been explored using alternative covariates
 or design characteristics. This type of exploratory modeling is valuable. It clarifies how
 robust findings are to different aspects of model specification, and it can detect associa-
 tions or effects that are important but might otherwise have been overlooked.
       In the context of such exploratory modeling, however, conventional interpreta-
 tions of statistical significance erode. Whereas a significant effect at the p < 0.05 level
 is designed to occur in only one of 20 tests where there is, in fact, no effect, a study
 that conducts 20 such tests stands a good chance of identifying at least one statistically
 significant effect, even when no true effects are present. Such accidental statistically
 significant effects could contribute to the confusing and sometimes contradictory find-
 ings reported in the literature.
       There are procedures for adjusting levels of statistical significance in the presence
 of multiple hypotheses testing that could help to reduce erroneous findings (Shaffer,
 1995), but these were rarely used in the studies we examined. Moreover, these proce-
 dures would not address all sources of questionable findings that can occur in explor-
 atory analysis. Instead, we believe that studies of the effects of state policies should be
 explicitly treated as exploratory rather than as testing a specific hypothesis. Therefore,
 strong conclusions about the apparent effects of policies should almost never be made.
 Instead, effects should be regarded with suspicion until they have been confirmed
 through independent studies. Because results in this field tend to be sensitive to details
 of the model specification and covariates, we propose that anyone undertaking such
 confirmatory analyses preregister the details of their models and data before assem-
 bling an analytic data set. Such preregistration does not prevent investigators from
 making changes to the analytic plan that may become necessary once results become
 available, but departing from the preregistered plan should signal to the researchers
 that their analysis should be considered exploratory rather than confirmatory.




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4003 Page 56 of 171




                          Methodological Challenges to Identifying the Effects of Gun Policies 327



 Coding State Laws

 Gun policy analysts need a reliable and shared database of state laws. There are many
 well-known problems associated with the coding of state laws. As noted by NRC
 (2004) and Hahn et al. (2005), there are frequently inconsistencies across studies in
 the specification of which states or jurisdictions have which laws and when they took
 effect. In some cases, researchers have used the year in which bills were passed into
 law as the year the law was implemented; in others, researchers have used the year the
 law was designed to take effect or the first full year after the law took effect. Although
 some researchers (e.g., Aneja, Donohue, and Zhang, 2014; Lott and Mustard, 1997;
 Rosengart et al., 2005; Vernick and Hepburn, 2003) have published or shared their
 coding oflaws, which allows for debate and improvement of the coding schemes, such
 coding often is not transparent and cannot be reviewed for accuracy or to understand
 what assumptions about laws were made. More generally, public databases of gun
 laws over time are unavailable for many laws. Because of the cost and complexity of
 constructing such data sets, researchers interested in the effectiveness of gun laws have
  often favored weak, cross-sectional study designs or have collected proprietary data
 sets of laws that are not shared.
        One important assumption that all such efforts necessarily must make concerns
  the features of different laws that make them sufficiently similar to be grouped together
  under a broad class oflaws. For instance, as we described in Chapter Ten, on child-
  access prevention laws, states differ in whether penalties for violating the law result in
  criminal, misdemeanor, or civil penalties, and there is evidence (albeit inconclusive)
  that criminal penalties may have different and stronger effects than other approaches.
  Such variation in laws and their associated effects means that combining them within
  a particular class of laws, such as child-access prevention laws, may obscure impor-
  tant effects that some variants of the law have (Alcorn and Burris, 2016). On the
  other hand, distinguishing each variant of a law reduces the number of jurisdictions
  implementing any particular version of the law, which reduces the statistical power of
  most models used to identify the causal effects of the law. Therefore, specification of
  a homogenous set of laws could increase the average effect size, but it also can reduce
  the statistical power that models have to detect the larger effects. Rarely, however, have
  published analyses explicitly addressed this conflict or the choices and assumptions
  made to address it.
        We believe that the science of gun policy will be substantially advanced with the
   public release of comprehensive state law time-series data, and we have made that one
  of the goals of the Gun Policy in America project. Specifically, we have assembled a
  state law database for 1979-2016 that codes our 13 broad classes of state gun policies
   and many subcategories (see Cherney, Morral, and Schell, 2018). As noted, this data-
   base is available for use and further improvement by the scientific community.




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4004 Page 57 of 171




 328   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



 Coding the Time Course of a Policy's Effects
 Even with a reliable database of state laws, however, investigators of gun policy effects
 face a further complication in coding the time course over which gun laws exert their
 effects. Frequently, investigators assume that a policy's full effects occur in the year it is
 implemented or the first full year after the year of implementation. This coding implies
 that all of a policy's effect is observed shortly after its implementation, which may be
 reasonable for some types of policies. Others, however, might accumulate their effects
 over longer periods. For instance, laws that expand the class of prohibited possessors
 will primarily affect those members of the class who are seeking to buy new firearms
 but not those who already own .firearms. Indeed, it may be many years before such a law
 affects firearm ownership of a sizable proportion of the population. The proper coding
 of this type of effect might involve additive or multiplicative effects over several years.
       Similarly, the effects of some policies, such as child-access prevention laws, may
 not be fully realized until a large proportion of gun owners become aware of them,
 meaning that the time course of the effect may depend on media campaigns to raise
 awareness or high-profile prosecutions under the law. Unfortunately, however, unless
 investigators know when these effects occur, their effect estimates will underestimate
 the policy's true effects. For this reason, we believe that researchers modeling the
 effects of policies should carefully consider when effects are likely to appear and
 should make these assumptions and the corresponding model specifications explicit
 in their analyses. ·



 Spline and Hybrid Effect Coding
 Several studies investigating the effects of concealed-carry policies (see Chapter Thir-
 teen) and studies ofAustralia's 1996 National Firearms Agreement (see Chapter Twenty-
 Four) have used model specifications referred to as spline or hybrid models within this
 field. In most models investigating the causal effects of a policy on an outcome, the
 effect is assumed to produce a shift in the level of the outcome; for example, a policy
 may result in a lower homicide rate after implementation relative to before. The type of
 spline models used in this field differ from standard causal effect models because the
 policy is assumed to modify the trajectory of the outcome over time rather than the
 level or in addition to a change in the level. More specifically, these models assume that
 the states or counties that implement the policy will diverge from the national trend at
 a constant rate for an indefinite period. 3


 3  Typically in gun policy models, a spline will be entered as a predictor in a regression equation that takes on
 values of zero before the policy was implemented (as well as in states that never implemented) and then takes on
 values that increase linearly in time for a given state once the policy is implemented in that state. For the models
 used in this field, these state-specific trends are estimated while controlling for national trends by including year




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4005 Page 58 of 171




                                 Methodological Challenges to Identifying the Effects of Gun Policies         329



      Although we discuss the reported results of these models, for practical and theo-
retical reasons, we do not present effect sizes from these spline models (or from spline
and dummy hybrid models), even when the authors preferred those models. The practi-
cal reason is that the effect size is assumed to vary over time, so there is no single effect
size to report. In fact, at a date sufficiently long after implementation, these models
often assume that the states that implemented the policy will have extremely large or
small effects on the outcome. In such cases, the effect size one presents is based entirely
on a relatively arbitrary decision about the length of time over which to compute the
effect. Moreover, even if we had arbitrarily selected a specific time interval o~er which
to compute the effect, the research articles do not contain the information necessary to
assess the Cis around those estimates.
       Furthermore, two features of these spline models make them difficult to interpret
as the causal effects of a gun policy. First, the spline coefficient is highly sensitive to
the timing of any shifts in the outcome, and it responds to the timing in the opposite
way as would standard methods for causal inference . A large increase in crime that
does not occur until many years after a policy has been implemented will yield a large
positive spline coefficient, suggesting that the policy is harmful. However, a similarly
large increase in crime that occurs immediately after the policy is implemented will
yield a negative spline coefficient, suggesting that the policy is beneficial even though it
was followed immediately by an increase in crime. 4 Standard frameworks for inferring
 causality from observations (e.g., Mill, 1843) would suggest that an increase in crime
 immediately after the policy was implemented is the strongest evidence that the policy
was harmful, and if a similar increase did not occur until years after implementation, it
would constitute weaker evidence of a harmful effect of the policy. However, inferring
 causation from the spline coefficient leads to the opposite inferences, with an immedi-
 ate increase in the outcome interpreted as the policy causing a decrease in the outcome
 but a delayed increase interpreted as evidence that the policy caused the outcome to
 increase. It is important to note that this interpretational challenge occurs in models
 that use only the spline to indicate the causal effect, as well as in hybrid models that use
 both a dummy variable and a spline (i.e., a step and a slope). (For more information,
 see the box on the next page.)



 fixed effects in the same model. Thus, the splines are state trends that should be interpreted as deviations from
 the national trend.
 4 More technically, the spline predictor in the regression equation has a mean value that corresponds to a specific
 time after implementation. This spline's mean typically falls a few years after implementation, but precisely when
 it occurs depends on the number of states that implemented the law and how long the study follows the states.
 Any increase in crime that occurs before this mean spline creates a more negative spline coefficient. An increase
 in crime, no matter how large, that occurs at that mean has no effect on the spline coefficient. Any increase in
 crime that occurs after that mean results in a more positive spline coefficient, with progressively greater leverage
 over the coefficient occurring with greater time.




                                                              Exhibit 10
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4006 Page 59 of 171




 330   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies




                                                           Exhibit 10
                                                             0277
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4007 Page 60 of 171




                                 Methodological Challenges to Identifying the Effects of Gun Policies           331



       Stated more generally, the direction and size of the spline coefficient serves as an
unbiased estimator of the causal effect if, and only if, the duration of the spline's slope
corresponds to the actual period over which the policy's effects are increasing in magni-
tude. If the true effect phases in earlier than assumed by the chosen spline function, the
spline coefficient will be biased away from the true direction of the causal effect, pos-
sibly even reversing the sign of the true effect. Thus, researchers should probably avoid
using splines that assume that the effect of the policy increases linearly into perpetuity.
Such an assumption makes it likely that the true effect of the policy is in the opposite
direction of the spline coefficient.
       The second challenge in the interpretation of the spline coefficient as a causal
effect comes from the null hypothesis that is typically used when testing the spline
coefficient. Specifically, the state-specific linear slope in the outcome with respect to
time after the implementation of the policy is compared with the state-specific linear
slope over the years prior to implementation. The null hypothesis in this case is that a
given state's deviation from a national trend in the pre-policy period should be expected
to continue in a linear manner, absent any intervention, indefinitely. Thus, the null
hypothesis being tested is derived from a time trend that has been extrapolated, often
many years into the future. This assumption has not been justified within this field,
 neither with a theory about an underlying data-generating mechanism for which the
assumption is appropriate nor by showing that it is a good fit to the available data. In
 contrast, our analysis ofU.S. crime data suggests that the data do not show the pattern
 predicted by this assumption.5 Moreover, making an assumption of constant state-
specific trends in crime can result in obvious research artifacts. Many types of data
 show regression to the mean, which describes a pattern of data generated by a random
 process in which an extreme observation is more likely to be followed by a less extreme
 observation than a more extreme observation. Failure to account for regression to the
 mean can result in spurious research conclusions. For example, if legislators pass gun
 legislation as a response to rising crime rates, any tendency for crime rates to return
 toward more-typical levels due to regression to the mean may be misinterpreted as evi-
 dence that the legislation lowered crime.
       The risk of this type of error is much greater in spline models because the assump-
 tion used to generate the null hypothesis is that the data display regression away from
 the mean. Essentially, these models assume a process in which extreme observations
 are likely to be followed by observations that become progressively more extreme in the
 same direction-the opposite of regression to the mean. In contrast, in data showing
 regression to the mean, the null hypothesis that the trend before a given date equals


 5 Specifically, the assumption predicts that state trends that deviate from the national trend in a positive direc-
 tion (increasing crime rates relative to the nation) will continue to get progressively higher over time, while those
 states that deviate negatively (decreasing crime rates relative to the nation) will continue to decrease indefinitely.
 This predicts a "fan" pattern in crime trends in which the divergence in crime rates across states perpetually
 increases over time. Actual crime data do not show any consistent divergence of trends across states.




                                                                Exhibit 10
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4008 Page 61 of 171




 332   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



 the trend after the date is routinely rejected. That is, the null hypothesis that state-
 specific deviations from the national crime trend will continue to grow indefinitely can
 often be rejected in the states that implemented the policy of interest, as well as many
 of those that did not. 6 Rejecting this implausible null hypothesis is not evidence of a
 causal effect of any policy.
        In spite of clear statistical problems with inferring causal effects of policy on
 crime data using these methods, some researchers advocate this approach. In our view,
 their arguments misinterpret conventional effects identified by a shift in the mean
 (e.g., dummy-coded effects) and spline effects based on changes in slope. For example,
 Lott, Moody, and Whitley (2016) stated,

        The problems with using the dummy variable can be illustrated using results of
        3 other papers. Santaella-Tenorio et aL [2016] reported the dummy model from
        Table 8b of the article by Ayres and Donohue [2003a]. Had they reported the
        other specification in Table 8b (or other tables) that showed the trends before and
        after implementation of the law (specifications that reject the assumptions behind
        the simple dummy approach), they would have shown the statistically significant
        downward trend in murder rates that indicated that the longer the right-to-carry
        laws were in effect, the greater the drop in murder rates was.

 That is, the three papers interpret the spline coefficient as a "statistically significant
 downward trend in murder rates." This is incorrect; the negative spline term indicates
 that the slope coefficient is of lower value after implementation than before, but it does
 not imply that rates are actually declining over time either in absolute terms or rela-
 tive to the other states that did not implement shall-issue (or right-to-carry) laws (see
 Chapter Thirteen). It is quite possible to get a negative spline coefficient even if shall-
 issue laws cause a large and immediate spike in murder. Similarly, such a negative coef-
 ficient could occur even if the law has no effect on murder, because it is not reasonable
 to extrapolate a pre-implementation trend of increasing murder rates indefinitely into
 the future. Historically, state-specific increases in murder have been followed by later
 reversion to more-typical values, even without passage of shall-issue laws. Indeed, if the
 authors' descriptions of the data as showing progressively larger drops in murder rates
 over time had been correct, there would have been a lower murder rate after imple-
 mentation than before. That is, if their descriptions of the data were correct, there


 6 For example, imagine that the states that implemented a given policy had an aggregate firearm homicide rate
 of eight homicides per 100,000 population in the year leading up to implementation and nine homicides per
 100,000 in the year prior to that. The null hypothesis based on extrapolating this trend is that the rate of homi-
 cides will be seven per 100,000 the year after implementation and will decline to exactly zero homicides within
 eight years in all of the states that implemented the policy. It is likely that the null hypothesis will be correctly
 rejected because the states do not actually have zero homicides after eight years, but it would also be rejected
 because it incorrectly assumed that preexisting trends would continue, unchanged and indefinitely. The null
 would be rejected for reasons that have nothing to do with any causal effect of firearm policy.




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4009 Page 62 of 171




                           Methodological Challenges to Identifying the Effects of Gun Policies 333



 would have been a significant negative coefficient on the dummy variable that they
 dismissed as unimportant, but there may or may not have been a significant negative
 spline coefficient.
       It is important to note that our critique of how spline models have been used in
 this field is not, in any way, a critique of the use of splines more generally. Splines are
 extremely general regression tools to allow variations in slopes across a predictor vari-
 able. It is entirely reasonable to assume, for example, that the effects of a policy on crime
 phase in over several years. In such a case, a simple dummy-coded effect may underesti-
 mate the true effect size, while using a spline that is designed for that particular phase-
 in period would not. In our view, using these types of splines to identify a causal effect
 of policy on some crime outcome would require the following three things:

    1. The model would need to be constructed so that the researchers would not
       conclude that increases in crime immediately after policy implementation are
       evidence that the policy lowers crime. This is a typical feature of spline models,
       particularly when the change in slope is modeled as persisting for a long period.
       This problem can be limited by using splines whose slopes operate over a narrow
       time frame, which can be justified as the phase-in period of the policy's effect
       (e.g., as used in the preferred specifications in Donohue, 2004). Such splines are
       similar to dummy-coded variables but with a gradual transition between 0 and
       1 rather than an abrupt transition. If the phase-in period is hypothesized to last
       more than a few years, it may be necessary to estimate a more complex function
       to avoid making the wrong causal inference.
    2. The null hypothesis that is interpreted as no causal effect must be something
       that is reasonably true in the absence of the policy in question. The null should
       be a hypothesis that would not be routinely rejected if tested within states that
       never implemented the policy or if tested using randomized implementation
       dates. In practice, this usually requires a null hypothesis that does not extrapo-
       late pre-policy crime trends indefinitely into the future. Instead, the null should
       be based on deviations from the pre-policy average crime level or on deviations
       from a state-specific trend that is identified by both pre-implementation and
       post-implementation crime rates (i.e., based on deviations from an interpolated
        rather than extrapolated trend).
    3. When regression models contain multiple effects of the policy, such as hybrid
        models that contain a spline and a dummy variable, the various effects cannot
        be tested or interpreted independently. The effect size and statistical significance
        can be assessed only by integrating all of the ways in which the policy influences
        the outcome within the model. For example, researchers should not claim that
        a policy is associated with a reduction in crime based on a significant negative
        spline coefficient when the model includes another effect that simultaneously
        predicts increased crime following implementation of the policy. Despite the




                                                     Exhibit 10
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4010 Page 63 of 171




 334 The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



         significant negative spline, the model may still predict that the policy is asso-
         ciated with a subsequent increase in crime in all years represented in the data.
         Thus, while hybrid models can avoid some of the interpretational problems of
         spline models, any conclusions about the effect of the policy on crime must
         reflect all of the modeled effects relating the policy to the outcome within the
         model. Ideally, this analysis would test the effect at some point after the policy
         is hypothesized to be fully phased in but well within the period that states were
         typically followed in the data set. This requirement applies to the direction, size,
         and statistical significance of the joint effect.

       Our view of the existing literature is that none of the available studies presents a
 spline or hybrid model that meets these three requirements for interpreting the effects.
 Some of the models in the literature meet some of these requirements, but none is read-
 ily interpreted as estimating a causal effect of gun policies. For this reason, we gener-
 ally present the simple dummy-coded causal effect when it is provided by the authors,
 although we do discuss the authors' preferred specification in the text.


 Simultaneity and Reciprocal Causation

 To obtain an unbiased estimate for the causal effect of firearm policy changes, the ideal
 research design would be akin to a randomized trial in which policies were randomly
 assigned across states and over time (Aneja, Donohue, and Zhang, 2014; Donohue,
 2003). This type of experimental design is infeasible in the context of gun policies,
 so researchers have had to rely on quasi-experimental methods in which the implicit
 assumptions require that state adoption of a given firearm policy is unconfounded by
 omitted factors that influence both law passage and the outcome of interest (i.e., omit-
 ted variables bias) and that changes in firearm policy are not themselves driven by
 changes in the outcome of interest (i.e., simultaneity bias). These issues are not unique
 to the study of firearm policies and merit consideration across a broad range of program
 and policy evaluations.
       Potential issues of simultaneity have been discussed primarily in the research on
 shall-issue laws and crime (for a discussion of shall-issue and other concealed-carry
 laws, see Chapter Thirteen). Specifically, many studies have noted the potential for
 reciprocal causation-that is, that state legislatures pass shall-issue laws as a response
 to high or rising rates of violent crime (Aneja, Donohue, and Zhang, 2014; Grambsch,
 2008; Kovandzic, Marvell, and Vieraitis, 2005; Ayres and Donohue, 2003a; Donohue,
 2003; Manning, 2003; Kovandzic and Marvell, 2003; Plassman and Whitley, 2003;
 Lott and Mustard, 1997). Indeed, Grossman and Lee (2008) found that the percent-
 age change in the violent crime rate over the preceding five years had a statistically
 significant positive effect on the likelihood that states with may-issue laws switch to




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4011 Page 64 of 171




                          Methodological Challenges to Identifying the Effects of Gun Policies   335



shall-issue laws; Luca, Deepak, and Poliquin (2016) found that the occurrence of a
public mass shooting significantly increased the number of firearm bills introduced
within a state one year later. If such reciprocal causation exists, the estimated effects of
firearm policies on crime rates from the difference-in-differences strategy employed by
most of the qualifying studies we identified may be inconsistent and biased, although
the direction of such bias is ambiguous. While some studies have tested for potential
reciprocal causation and found little evidence of bias driven by differential pre-trends
in law-enacting states (Rosengart et al., 2005; Plassman and Whitley 2003), other
studies have found this to be an issue of concern for shall-issue laws (Aneja, Donohue,
and Zhang, 2014; Grambsch, 2008; Donohue, 2003).
      The presence of reciprocal causation complicates causal identification of the true
effects of firearm policy changes and requires alternative approaches to those used most
commonly in the literature we identified. Unfortunately, some of the existing methods
for handling simultaneity problems may not be feasible or may face other limitations.
For instance, Lott and Mustard (1997) and Gius (2015a) employ instrumental vari-
ables techniques, but the instruments chosen are questionable and neither study pro-
vides sufficient evidence to assess instrument validity (Manning, 2003). Synthetic con-
trol methods (Abadie, Diamond, and Hainmueller, 2010) have been used to construct
 a counterfactual "control state" that matches the pre-trend of the law-passing state
 (Crifasi et al., 2015; Rudolph et al., 2015), but these methods do not readily accommo-
 date inferential statistics and provide estimated effects that are often identified from a
 policy change in only one state or one state-year, meaning the observed effect is con-
 founded with many other changes in the state that might equally explain any observed
 differences between the state and its synthetic controls.
       More research and methodological innovation is required to address simultane-
 ity and reciprocal causation challenges to causal inference in this and other fields of
 research. In particular, it would be useful to understand better the factors leading to
 state or municipal decisions to pass different types of policies. Studies estimating the
 effects of laws should explore and report whether states that passed the laws differed
 systematically from those that did not, in terms of their recent gun use or violence
 trends. In some cases, explorations of the possible effects of reciprocal causation on
 effect estimates may provide useful insights.




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4012 Page 65 of 171




 336   The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4013 Page 66 of 171




                             Methodological Challenges to Identifying the Effects of Gun Policies 337


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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4014 Page 67 of 171




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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4015 Page 68 of 171




APPENDIX B

Source Data Used to Produce the Forest Plot Figures




To construct the figures in this report showing estimated effect sizes (i.e., the forest
plots), we used results reported as the preferred models in each study. In some cases,
these sources reported incidence rate ratios (IRRs) as the estimated effect of a law and
provided confidence intervals (Cis). In such cases, we used these numbers as reported.
In other cases, we calculated IRRs from effects estimated in the studies as regression
coefficients, and we calculated Cis from standard errors, test statistics, or reported
p-values. Discussion of these calculations is provided in Chapter Two. Table B.l pro-
vides the source data used in this report to calculate IRRs and Cis as presented in each
forest plot figure.




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                Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4016 Page 69 of 171


Table B.1                                                                                                                               w
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Source Data Used to Estimate Study Effect Sizes in the Forest Plot Figures
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Report                       Spedfic Policy or                                       Standard Lower   Upper   Test             Source    ltl
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Figure         Study       Independent Variable Specific Outcome Population Estimate   Error    Cl     Cl   Statistic   p      Table    n
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3.1      ludwig and Cook   Brady Act           Firearm suicide      Aged 21+   0.98           0.94    1.02                  Table 1:    II)

         (2000)                                rate                                                                         Col3         0
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3.1      ludwig and Cook   Brady Act           Firearm suicide      Aged 55+   0.94           0.90    0.98                               t:
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         (2000}                                rate                                                                         Col6         ""0
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3.1      ludwig and Cook   Brady Act           Nonfirearm           Aged 21+   1.01           0.95     1.08                 Table 1:    ":=:;
         (2000)                                suicide rate                                                                 Col3          )>
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3.1      Ludwig and Cook   Brady Act           Nonfirearm           Aged 55+   1.03           0.97     1.11                 Table 1:     ;::;·
         (2000}                                suicide rate                                                                 Col6         ~
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3.1      ludwig and Cook   Brady Act           Proportion of        Aged 21+   1.17           0.87     1.58                 Table 1:     :l
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         (2000}                                suicides with                                                                Col3         ::::r
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                                               firearm                                                                                   "'
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3.1      ludwig and Cook
         (2000)
                           Brady Act           Proportion of
                                               suicides with
                                                                    Aged 55+   0.97           0.94    0.99                  Table 1:
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3.1      Ludwig and Cook   Brady Act           Total suicide rate   Aged 21+   0.98           0.93     1.03                 Table 1:     m
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3.1      Ludwig and Cook   Brady Act           Total suicide rate   Aged 55+   0.97           0.93     1.01                 Table 1:     II)

         (2000}                                                                                                             Col6         0
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3.1      Sen and           Check on fugitive   Firearm suicide      All ages   0.95           0.90                          Table 2:

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         Panjamapirom      status              rate                                                                         Col4         m
         (2012)                                                                                                                          I I)
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3.1      Sen and           Check on fugitive   Total suicide rate   AU ages    0.91           0.87    0.95                  Table 2:     0
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         Panjamapirom      status                                                                                           Col6        ~
         (2012)                                                                                                                          ~
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3.1      Sen and           Check on mental     Firearm suicide      All ages   0.96           0.92    0.99                  Table 2:    ;::;·
         Panjamapirom      illness             rate                                                                         Col4         ~-
         (2012)




                                                                     Exhibit 10
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                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4017 Page 70 of 171


Table 8.1-Continued

Report                     Specific Policy or                                      Standard Lower   Upper   Test             Source
Figure          Study    Independent Variable Specific Outcome PopuFation Estimate   Error    CJ-    Cl   Stat[stic   p      Table

3.1      Sen and        Check on mental        Total suicide rate   All ages    0.97        0.95    0.99                  Table 2:
         Panjamapirom   illness                                                                                           Col6
         {2012)

3.1      Sen and        Check on               firearm suicide      All ages    0.95        0.92     1.00                 Table 2:
         Panjamapirom   misdemeanor            rate                                                                       Col4
         {2012)

3.1      Sen and        Check on               Total suicide rate   All ages-   0.98        0.95     1.02                 Table 2:
         Panjamapirom   misdemeanor                                                                                       Co!6
         (2012)

3.1      Sen and        Check on "other        Firearm suicide      All ages    1.01        0.97    1.05                  Table 2:
         Panjamapirom   miscellaneous"         rate                                                                       Col4
         (2012)         records                                                                                                        VI
                                                                                                                                        0
                                                                                                                                        =:;
                                                                                                                                        1'"1
3.1      Sen and        Check on "other        Total suicide rate   All ages    1.00        0.97    1.03                  Table 2:      fl)

         Panjamapirom   miscellaneous"                                                                                    Col6          0
                                                                                                                                       tu
         (2012)         records                                                                                                        r+
                                                                                                                                       tu
                                                                                                                                       c
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3.1      Sen and        Check on restraining   firearm suicide      All ages    1.03        0.98    1.09                  Table 2:     m
         Panjamapirom   order                  rate                                                                       Col4         a.
                                                                                                                                       r+
         (2012)                                                                                                                        0
                                                                                                                                       -o
                                                                                            0.98    1.06                  Table 2:
                                                                                                                                       0c.
3.1      Sen and        Check on restraining   Total suicide rate   Afl ages    1.02
                                                                                                                          Col6         c
         Panjamapirom   order                                                                                                          1'"1
                                                                                                                                       m
         (2012)                                                                                                                        r+
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                                                                                                                                       m
3.1      Sen and        Background check       Firearm suicide      All ages    0.98       0.96     1.00                  Table2:      "'TI
                                                                                                                                       0
                                                                                                                          Col2         ......
         Panjamapirom   com prehens iven ess   rate                                                                                   fl)
                                                                                                                                      .....
         (2012)                                                                                                                       r+
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                                                                                                                          Table 2:
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3.2      Sen and        Check on "other        Total homicide       All ages    1.05       0.98     1.13                              r+
                                                                                                                                      "'TI
         Panjamapirom   miscellaneous"         rate                                                                       Col5        f.C'
         (2012)         records                                                                                                        c
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                                                                      Exhibit 10
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                Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4018 Page 71 of 171


Table   8.1-Continued                                                                                                               w
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Report                    Specific Po1icy or                                      Standard Lower   Upper   Test            Source   -1
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Figure         Study    Independent Variable Specific Outcome Population Estimate   Error    Cl     Cl   Statistic   p     Table    (p
                                                                                                                                    VI
                                                                                                                                    n
                                                                                                                                    Cii"
3.2      Sen and        Check on "other        Firearm homicide   All ages   1.12          1.03    1.22                  Table 2:   ~
                                                                                                                                    n
         Panjamapirom   miscellaneous"         rate                                                                      Col3       ell
         (2012)         records                                                                                                     0
                                                                                                                                    .....
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3.2      Sen and        Background check       Firearm homicide   All ages   0.93          0.91    0.96                  Table 2:   c
                                                                                                                                    ::J
         Panjamapirom   comprehensiveness      rate                                                                      Coil       ""t!
         (2012)                                                                                                                     :Q.
                                                                                                                                     t=i'
                                                                                                                                    ';=:
3.2      Sen and        Check on restraining   Total homicide     All ages   0.91          0.85    0.98                  Table 2:    >
         Panjamapirom   order                  rate                                                                      Col5       Q
         {2012)                                                                                                                      a:
                                                                                                                                     n
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3.2      Sen and        Check on restraining   Firearm homicide   All ages   0.87          0.79    0.95                  Table2:     Vl
                                                                                                                                    '<
         Panjamapirom   order                  rate                                                                      Col 3       ::l
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         (2012)                                                                                                                      :::::r
                                                                                                                                     ...iii'
                                                                                                                                     (p



3,2      Sen and
         Panjamapirom
         (2012)
                        Check on mental
                        illness
                                               Total homicide
                                               rate
                                                                  All ages   0.93          0.86    0.99                  Table 2:
                                                                                                                         Col5       -0
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3.2      Sen and        Check on mental        Firearm homicide   All ages   0.93          0.87     1.01                 Table2:    :::::r
         Panjamapirom   illness                rate                                                                      Col 3      m
                                                                                                                                    <
         (2012)                                                                                                                     c:
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3.2      Sen and        Check on fugitive      Total homicide     All ages   0.77          0.71    0.84                  Table 2:   Ill
         Panjamapirom   status                 rate                                                                      Col5       0
                                                                                                                                    :I
         (2012}                                                                                                                     ..to
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3.2      Sen and        Check on fugitive      Firearm homicide   All ages   0.79          0.72    0.88                  Table2:     m
         Panjamapirom   status                 rate                                                                      Col3       ( \)
                                                                                                                                    r"\
         {2012)                                                                                                                     ..to
                                                                                                                                    ""'Q.
3.2      Sen and        Check on               Total homicide     All ages   1.02          0.95     1.1                  Table 2:   c
         Panjamapirom   misdemeanor            rate                                                                      Col5       ~
         (2012}                                                                                                                     -a
                                                                                                                                    Q.
                                                                                                                                    ;:;-
                                                                                                                                    (D'
                                                                                                                                    II>




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                     Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4019 Page 72 of 171


Table 8.1-Continued

Report                         Specific Policy or                                      Standard Lower     Upper     Test             Source
Figure            Study      Independent Variable Specific Outcome Population Estimate   Error    C(       Cl     Statistic   p      Table

3.2      Sen and            Check on               Firearm homicide    All ages    0.99             0.9   1.08                    Table 2:
         Panjamapirom       misdemeanor            rate                                                                           Col3
         (2012}

3.2      La Valle (2013)    Brady Act              Total homicide      All ages   0.003    0.060                                  Table 7
                                                   rate

3.2      ~   Valle (2013)   Brady Act              Firearm homicide    All ages   0.022    0.071                                  Table 7
                                                   rate

3.2      Gius (2015a)       State dealer           Gun-related         All ages   -0.683                           -5.34          Table 2
                            background check       murder rate

3.2      Gius (2015a)       State private-seller   Gun-related         All ages    1.05                             7.47          Table 2
                            background check       murder rate                                                                                 VI
                                                                                                                                               0
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3.2      Ludwig and Cook    Brady Act              Total homicide     Aged21+      0.97            0.87   1.08                    Table 1:     I'D
         (2000}                                    rate                                                                           Col3         0
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                                                                                                                                               EU
                                                                                                                                               EU
3.2      Ludwig and Cook    Brady Act              Firearm homicide   Aged 21+     0.99            0.86   1.13                    Table 1:    c
         {2000)                                    rate                                                                           Col3        ::o
                                                                                                                                              c..
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3.2      Ludwig and Cook    Brady Act              Nonfirearm         Aged 21+     0.94            0.87   1.02                    Table 1:    0
                                                                                                                                              "'0
         {2000)                                    homicide rate                                                                  Col3
                                                                                                                                              ""'
                                                                                                                                              0
                                                                                                                                              a.
                                                                                                                                              c
3.2      Ludwig and Cook    Brady Act              Proportion of      Aged 21+     1.02            0.99   1.04                    Table 1:    n
                                                                                                                                              I'D
         (2000)                                    homicides with                                                                 Col3        .-+
                                                                                                                                              ::r
                                                   firearm                                                                                    I'D
                                                                                                                                              'T1
                                                                                                                                              0
3.2      Ludwig and Cook    Brady Act              Total homicide     Aged 55+     1.00            0.90   1.12                    Table 1:    (6
         (2000)                                    rate                                                                           Col6        """'0
                                                                                                                                              .-+


3.2      Ludwig and Cook    Brady Act              Firearm homicide   Aged 55+     1.07            0.97   1.16                    Table 1:    ~
                                                                                                                                              II
         (2000}                                    rate                                                                           Col6        l6'
                                                                                                                                              c
                                                                                                                                              (6
3.2      Ludwig and Cook    Brady Act              Nonfirearm         Aged 55+    0.95             0.81   1.12                    Table 1:    Ill

         (2000)                                    homicide rate                                                                  Col6
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                                                                         Exhibit 10
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                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4020 Page 73 of 171


Table 8.1-Continued                                                                                                                                    w
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Report                         Specific Policy or                                      Standard Lower           Upper     Test            Source      -l
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Figure          Study        Independent Variable Specific Outcome Population Estimate   Error    Cl             Cl     Statistic   p     Table       (1)

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3.2      Ludwig and Cook     Brady Act               Proportion of     Aged 55+         1.07             0.98   1.18                    Table 1:      ,...
                                                                                                                                                      :l
         (2000)                                      homicides with                                                                     Col6          ro
                                                     firearm                                                                                          0
                                                                                                                                                      """'
                                                                                                                                                      G'l
3.2      Swanson et al.      NICS reporting {Fla.)   Violent crime       No crim.       0.62             0.50   0.76                    In text       c
                                                                                                                                                      ::::::1
         {2016)                                      arrest            disqualified                                                     (page 1071)
                                                                                                                                                      ";:::;·
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3.2      Wright, Wintemute, No felony                Any offense         Calif.         1.05             1.04   1.07                    Table 1,      ':'S
         and Rivara {1999)  prohibition/checks                         purchasers                                                       row3           >
                                                                                                                                                      n
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3.2      Wright, Wintemute, No felony                Gun offense         Calif.         1.21             1.08   1.36                    Table 1,      ;:::;·
         and Rivara (1999)  prohibition/checks                         purchasers                                                       row3          ~
                                                                                                                                                      tn
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3.2      Wright, Wintemute, No felony                V1olent offense     Calif.         1.24             1.11    1.39                   Table 1,       ::::::1
                                                                                                                                                       rl"
                                                                                                                                                       ::;
         and Rivara (1999}  prohibition/checks                         purchasers                                                       row3           (i)
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3.3


3.3
         Luca, Deepak, and
         Poliquin (2016)

         Luca, Deepak, and
                             Background check (all Any mass
                             handgun sales)        shooting incrdent

                             Background check {all Any mass
                                                                           N/A


                                                                           N/A
                                                                                       -0.112


                                                                                       -0.124
                                                                                                 0.089


                                                                                                 0.098
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         Poliquin (2016)     handgun sales)        shooting incident                                                                    Col2           ("!
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3.3      Luca, Deepak, and   Background check {aH Any mass                 N/A         0.011     0.131                                  Table C2:      a:
                                                                                                                                                       (i)
         Poliquin {2016)     firearm sales)       shooting incident                                                                     Col1           ,...
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3.3      Luca, Deepak, and   Background check (all Any mass                N!A         -0.032    0.142                                  Table C2:      0
                                                                                                                                                       :l
         Poliquin (2016)     firearm sales)        shooting incident                                                                    Col2           r+
                                                                                                                                                       ::;
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4.1      Lott (2010}         State/federat assault   Total homicide     All ages       0.004                              0.11          TableA6.3      m
                             weapon ban                                                                                                                """'
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                                                                                                                                                       (1)
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4.1      Gius (2014)         State assault weapon    Firearm murder     All ages       -0.29                             -1.57          Table 1        0
                             ban                     rate                                                                                             """'
                                                                                                                                                      c
                                                                                                                                                      !:n
4.2      Gius (2015c)        State assault weapon Mass shooting         All ages      -0.59202                           -2.28          Table 1:       "'C
                                                                                                                                        Col1           9..
                             ban                  deaths                                                                                               ;:::;·
                                                                                                                                                       in'
                                                                                                                                                       .....




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                    Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4021 Page 74 of 171


Table 8.1-Continued

Report                           Specific Policy or                                      Standard lower Upper   Test              Source
Figure           Study         Independent Variable Specific Outcome Population Estimate   Error    Cl   Cl   Statistic    p      Table

4.2      Gius (2015c)         State assault weapon Mass shooting         All ages     0.298                      1.16          Table 1:
                              ban                  injuries                                                                    Col2

4.2      luca, Deepak, and    State assault weapon Any mass                NfA        0.062      0.056                         Table C2:
         Pofiquin (2016}      ban                  shooting incident                                                           Col1
4.2      Luca, Deepak, and    State assault weapon Any mass                N/A        0.067      0.057                         Table C2:
         Poliquin {2016)      ban                  shooting incident                                                           Col2
5.1      Humphreys,           Stand-your-ground     Total suicide rate   All ages   0.99, 1.00                            0.97 Table 1
         Gasparrini, and      law
         Wiebe (2017)

5.1      Humphreys,           Stand-your-ground     Firearm suicide      All ages   0.98, 0.95                            0.54 Table 1
         Gasparrini. and      law                   rate                                                                                     VI
                                                                                                                                             0
         Wiebe (2017)                                                                                                                        c...,
                                                                                                                                             r.
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5.2      Cheng and            Castle doctrine Jaw   Homicide             All ages    0.0937      0.029                         Table 5:      Cl
                                                                                                                                             Ill
         Hoekstra (2013)                                                                                                       Col3          r+
                                                                                                                                             Ill
                                                                                                                                             c.....
5.2      Cheng and            Castle doctrine law   Burglary             All ages    0.0223      0.0223                        Table4:       ro
         Hoekstra (2013}                                                                                                       Col3          c.
                                                                                                                                            r+
                                                                                                                                            0
                                                                                                                                             "'0
5.2      Cheng and            Castle doctrine law   Robbery              AH ages     0.0262      0.0229                        Table4:      0c.
         Hoekstra (2013)                                                                                                       Col3
                                                                                                                                             c
                                                                                                                                            1"1
                                                                                                                                            tD
5.2      Cheng and            Castle doctrine law   Aggravated           Ail ages    0.0372      0.0319                        Table4:      r+
                                                                                                                               Col3         ::r
         Hoekstra (2013)                            assault
                                                                                                                                            ,
                                                                                                                                            tD

                                                                                                                                            0
5.2      Webster, Crifasi,    Stand-your-ground     Total homicide       All ages     0.102      0.183                         Corrected    iti
                                                                                                                                            .....
         and Vernick (2014)   law                   rate                                                                       Supplement   r+
                                                                                                                               Table 3      "'0
                                                                                                                                            0
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                                                                                                                                            "T1
5.2      Webster, Crifasi,    Stand-your-ground     Firearm homicide     All ages     0.16        0.17                         Corrected    us·
         and Vernick (2014)   law                   rate                                                                       Supplement    c
                                                                                                                               Table 1      @
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                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4022 Page 75 of 171


Table 8.1-Continued                                                                                                                                          w
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Report                          Specific Policy or                                      Standard               Lower   Upper   Test              Source      -l
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Figure          Study         Independent Variable Specific Outcome Population Estimate   Error                  CJ     Cl   Statistic    p       Table      !'I)
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                                                                                                                                                             iii"
5.2      Webster, Crifasi,    Stand-your-ground       Nonfirearm            AU ages         0.01        0.1                                   Corrected      :::!
                                                                                                                                                             ('I
         and Vernick {2014}   law                     homicide rate                                                                           Supplement     !'I)

                                                                                                                                              Table 2        0
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5.2      Humphreys,           Stand-your-ground       Total homkide         All ages      1.24, 1.06                                     0.001 Table 1       c
                                                                                                                                                             :::!
         Gasparrini, and      law                     rate                                                                                                   ""'J
         Wiebe {2017)                                                                                                                                        2..
                                                                                                                                                             c:;·
                                                                                                                                                            '-:=:;
5.2      Humphreys,           Stand-your-ground       Firearm homicide      All ages      1.32, 1.08                                     0.001 Table 1       )>
         Gasparrini, and      law                     rate                                                                                                   f"''
                                                                                                                                                             ....,
                                                                                                                                                             ~
         Wiebe (2017}                                                                                                                                         n·
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5.3      Cheng and            Castle doctrine law     Justifiable           All ages        0.283      0.235                                   Table 6:     '<
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         Hoekstra {2013}                              homicide                                                                                 Panel E:      .-+
                                                                                                                                               Col3          ::::r
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                                                                                                                                                             "'
                                                                                                                                                             iii'
6.1      Sen and              Check on mental         Total suicide rate    All ages        0.97               0.95     0.99                   Tab~e   2:     0
                                                                                                                                                              -h
         Panjamapirom         HI ness                                                                                                          Col6           :;:IJ
                                                                                                                                                             ro
         {2012}                                                                                                                                              "'
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                                                                                                                                                              ....w
6.1      Sen and              Check on mental         Firearm suicide       All ages        0.96               0.92     0.99                   Table 2:      :T
         Panjamapirom         illness                 rate                                                                                     Col4          m
                                                                                                                                                             <
         {2012)                                                                                                                                              a:
                                                                                                                                                             I'D
                                                                                                                                                             ::;,
                                                                                                                                                             t"'
6.2      Sen and              Check on mental         Total homicide        All ages        0.93               0.86     0.99                   Table 2:      ro·
         Panjamapirom         illness                 rate                                                                                     Col5           0
                                                                                                                                                             ::I
         {2012)                                                                                                                                              6"t"
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6.2      Sen and              Check on mental         Firearm homicide      All ages        0.93               0.87     1.01                   Table2:        m
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                                                                                                                                                              -h
         Panjamapirom         illness                 rate                                                                                     Col3          ro
                                                                                                                                                             ('I
         {2012}                                                                                                                                              6"t"
                                                                                                                                                             "'0
                                                                                                                                                             -h
6.2      Swanson et al.       NICS reporting (Fla.)   Violent crime          No crim.       0.62               0.50     0.76                   In text       c
         {2016}                                       arrest               disqualified                                                        {p. 1071}     !-"
                                                                                                                                                              ""'J
                                                                                                                                                              Q_
8.1      Webster et al.       Permit-to-purchase      Total suicide rate   Aged 14-17       1.06               0.92     1.23                   Table 2:       ;:::;·
         {2004}               law                                                                                                              Col1          ro·
                                                                                                                                                             "'




                                                                             Exhibit 10
                                                                               0293
                     Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4023 Page 76 of 171


Table B.1-Continued

Report                              Specific Policy or                                      Standard Lower Upper   Test             Source
Figure            Study           Independent Variable Specific Outcome Population Estimate   Error    Cl   Cl   Statistic   p      Table

8.1      Webster et al.          Perm it~to~pu rchase   Total suicide rate Aged 18-20     1.18          1.04   1.34              Table 2:
         (2004)                  law                                                                                             Col2

8.1      Webster et a I.         Permit~to~purchase     Firearm suidde       Aged 14-17   0.92          0.76   1.10              Table 2:
         (2004)                  [aw                    rate                                                                     Col1

8.1      Webster eta!.           Permit~to-purchase     Firearm suicide      Aged 18-20   1.22          1.04   1.43              Table 2:
         (2004)                  law                    rate                                                                     Col2

8.1      Webster et al.          Permit-to-purchase     Nonfirearm           Aged 14-17   1.27          1.00   1.61              Table 2:
         (2004)                  law                    suicide rate                                                             Col1

8.1      Webster et al.          Permit-to-purchase     Nonfirearm           Aged 18-20   1.14          0.93   1.39              Table 2:
         (2004)                  law                    suicide rate                                                             Col2
                                                                                                                                              VI
                                                                                                                                              0
8.1      Crifasi et al. (2015)   Permit-to-purchase     Total suicide rate    All ages    1.01          0.95   1.08              Appendix     c
                                                                                                                                 Table 2      ri
                                 law                                                                                                          tn
                                                                                                                                              0
                                                                                                                                              Ill
8.1      Crifasi et al. {2015)   Permit-to-purchase     Firearm suicide       All ages    0.88          0.81   0.96              Appendix     1"'1'
                                                                                                                                              Ill
                                 law                    rate                                                                     Table 2      c
                                                                                                                                              "'
                                                                                                                                              I'!)

                                                                                                                                 Appendix    a..
8.1      Crifasi et al. (2015)   Permit-to-purchase     Nonfirearm            All ages    1.14          1.05   1.24                          t+
                                 law                    suicide rate                                                             Table 2     .,
                                                                                                                                             0

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8.1      Crifasi et al. (2015)   Repeal of Missouri     Total suicide rate    All ages    1.03          0.97   1.08              Appendix    Q.
                                                                                                                                             c::
                                 permit~to-purcha se                                                                             Table 2     n
                                                                                                                                             f1l
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8.1      Crifasi et al. (2015)   Repeal of Missouri     Firearm suicide       All ages    1.02          0.96   1.09              Appendix    f1l
                                 permit-to-purchase     rate                                                                     Table 2     -n
                                                                                                                                             ..,0
                                                                                                                                 Appendix
                                                                                                                                             ..,L1J
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8.1      Crifasi et al. (2015)   Repeal of Missouri
                                 permit~to-purchase
                                                        Nonfirearm
                                                        suicide rate
                                                                              All ages    1.03          0.95   1.11
                                                                                                                                 Table 2
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                                                                                                                                             0
                                                                                                                                             t+
                                                                                                                                             "T1
8.2      Webster, Crifasi,       Repeal of Missouri     Total homicide        All ages    1.08   0.16                            Corrected   (Q'
         and Vernick (2014)      permit-to~purchase     rate                                                                     Table 2     c
                                                                                                                                             £D
                                                                                                                                             V>

8.2      Webster1 Crifasi,       Repeal of Missouri     Firearm homicide      All ages    1.18   0.13                            Corrected
                                                                                                                                 Tabfe 2     w
         and Vernick (2014)      permit-to-purchase     rate                                                                                 ~
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                                                                                Exhibit 10
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                 Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4024 Page 77 of 171


Table   B~1-Continued                                                                                                                                 w
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Report                          Specific Policy or                                      Standard Lower          Upper   Test              Source      -1
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Figure          Study         Independent Variable Specific Outcome Population Estimate   Error    CI            Cl   Statistic    p      Table       (1)
                                                                                                                                                       V'l
                                                                                                                                                       ("\
                                                                                                                                                       iii"
8.2      Webster, Crifasi,    Repeal of Missouri    Nonfirearm              All ages    -0.08     0.1                                  Corrected       :l
                                                                                                                                                       ("\
         and Vernick (2014)   perm it-to-purchase   homicide rate                                                                      Table 2         (1)

                                                                                                                                                       0
8.2      Rudolph et al.       Connecticut permit-   Firearm homidde         All ages     0.60                                     0.04 In text         """'
                                                                                                                                                       Gl
                                                                                                                                                       t:
         (2015)               to-purchase           rate                                                                               (p. e51} and    :::l
                                                                                                                                       Table 2,        "'D
                                                                                                                                       ll2xMSPE"       2..
                                                                                                                                                        ;::;·
                                                                                                                                                      '-::::
8.3      Luca, Deepak, and    Handgun permit        Any mass                All ages    -0.009   0.115                                 Table C2:       >
         Poliquin (2016}      system                shooting inddent                                                                   Col1            ..,f""'
                                                                                                                                                       ;:::;.·
                                                    (no political                                                                                      ;::;·
                                                    controls)                                                                                          !!..
                                                                                                                                                       Vl
                                                                                                                                                      '<
8.3      Luca. Deepak, and    Handgun permit        Any mass                All ages    0.004    0.117                                 Tab[eC2:        :J
                                                                                                                                                       r1'
         Poliquin (2016)      system                shooting incident                                                                  Col2            =r
                                                                                                                                                       ('!)
                                                                                                                                                       VI
                                                    (political controls)                                                                               Vi'

                                                    Firearm suicide        Aged 0-14     0.81            0.66    1.01                  In text
                                                                                                                                                       a
10.1     Cummings et al.      CAP law                                                                                                                  ;::tl
                                                                                                                                                       i'l)
         (1997a)                                    rate                                                                               (p. 1085)       In
                                                                                                                                                       i'l)
                                                                                                                                                       ..,Qj
                                                                                                                                                       ("\
10.1     Cummings et al.      CAP law               Nonfirearm             Aged 0-14     0.95            0.75    1.2                   In text         :T
         (1997a}                                    suicide rate                                                                       (p. 1085}       m
                                                                                                                                                       <
                                                                                                                                                       c:
                                                                                                                                                       i'l)
10.1     Webster et al.       CAP law               Total suicide rate     Aged 14-17    0.92            0.86   0.98                   Table 2:        :l
                                                                                                                                                       ("\
         {2004)                                                                                                                        Col1            (1)

                                                                                                                                                       0
                                                                                                                                                       ::l
10.1     Webster et al.       CAP law               Total suicide rate Aged 18-20        0.89            0.85   0.93                   Table 2:        .-+
                                                                                                                                                       :T
         (2004)                                                                                                                        Col2            I!)
                                                                                                                                                       m
10.1     Webster eta!.        CAP law               Firearm suicide        Aged 14-17    0.89            0.83   0.96                   Table 2:        """'
                                                                                                                                                       ~
                                                                                                                                                       ("\

         (2004)                                     rate                                                                               Col1

                                                                                                                                                       -
                                                                                                                                                       r1'
                                                                                                                                                       In
                                                                                                                                                       0
10.1     Webster et al.       CAP law               Firearm suicide        Aged 18-20    0.87            0.82    0.92                  Table 2:        c::
         (2004)                                     rate                                                                               Col2            ~
                                                                                                                                                       .,
                                                                                                                                                        ~
10.1     Webster et a!.       CAP law               Nonfirearm             Aged 14-17    1.00            0.91    1.10                  Table 2:        ;::;·
         (2004)                                     suicide rate                                                                       Col 1           iii"
                                                                                                                                                       VI




                                                                            Exhibit 10
                                                                              0295
                    Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4025 Page 78 of 171


Table 8.1-Continued

Report                           Specific Policy or                                     Standard Lower        Upper   Test             Source
Figure           Study        Independent Variable Specific Outcome Population Estimate   Error    Cl          Cl   Statistic   p      Table

10.1     Webster et aL       CAP law                  Nonfirearm         Aged 18-20    0.91            0.85   0.98                  Table 2:
         (2004)                                       suicide rate                                                                  Col2

10.1     DeSimone,           Negligent storage (11    Firearm self-      Aged 0-17    -1.165   0.339                                Table 3:
         Markowitz, and Xu   states)                  inflicted injury                                                              Col3
         {2013}                                       rate

10.1     DeSimone,           Negligent storage {11    firearm self-      Aged 18+     -0.003   0.228                                Table 3:
         Markowitz, and Xu   states)                  inflicted injury                                                              Col4
         {2013}                                       rate

10.1     DeSimone,           Negligent storage or     Firearm self-      Aged0-17     -1.06    0.296                                Table 3:
         Markowitz, and Xu   reckless provision (11   inflicted injury                                                              Col1
         {2013}              states}                  rate
                                                                                                                                                 VI
                                                                                                                                                 0
10.1     DeSimone,           Negligent storage or     Firearm self-      Aged 18+      0.161   0.227                                Table 3:     ...cn
         Markowitz, and Xu   reckless provision {11   inflicted injury                                                              Col2         m
         (2013)              states)                  rate                                                                                       0
                                                                                                                                                 m
                                                                                                                                                 r+
                                                                                                                                                 m
10.1     Gius {2015b)        CAP law                  Firearm suicide    Aged 0-19    -0.218                          -4.36         Table4       c
                                                      rate                                                                                       n;
                                                                                                                                                 0..
                                                                                                                                                 r+
10.2     Cummings et al.     CAP law                  Firearm homicide   Aged 0-14     0.89            0.76   1.05                  In text      0

         {1997a)                                      rate                                                                          (p. 1085)    ...
                                                                                                                                                 "'0
                                                                                                                                                 0
                                                                                                                                                 0.
                                                                         Aged 0:_14                    0.86   1.06                  In text      cn
10.2     Cummings et al.     CAP law                  Nonfirearm                       0.96                                                      m
         (1997a)                                      homicide rate                                                                 (p. 1085)   r+
                                                                                                                                                 :r
                                                                                                                                                 m
10.2     Lott and Whitley    Safe storage law         Murder rate         All ages    0.039                           1.141         Table3:      ,.,
                                                                                                                                                0
                                                                                                                                    Col2
         (2001)                                                                                                                                  ~
                                                                                                                                                r+
                                                                                                                                                "'0
10.2     Lott and Whitley    Safe storage law         Rape rate           All ages    0.092                           3.357         Table 3:
                                                                                                                                                0
         {2001)                                                                                                                     Coi3        ..,
                                                                                                                                                r+

                                                                                                                                                t!)'
10.2     Lott and Whitley    Safe storage law         Robbery rate        All ages    0.1056                          2.823         Table 3:    c
         {2001)                                                                                                                     Col4        tti
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                 Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4026 Page 79 of 171


Table 8.1-Continued                                                                                                                           w
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                                                                                                                                              0


Report                        Specific Policy or                                      Standard   Lower   Upper     Test            Source    -I
                                                                                                                                             :::r
figure          Study       Independent Variable Specific Outcome Population Estimate   Error     Cl      Cl     Statistic   p     Table      (!)
                                                                                                                                              V'l
                                                                                                                                             f'\
                                                                                                                                             iii"
10.2     Lott and Whitley   Safe storage law      Assault rate     All ages    -0.041                             1.493          Table 3;     :::1
                                                                                                                                             f'\
         (2001)                                                                                                                  Col5        (!)

                                                                                                                                              0
                                                                                                                                              -+.
10.3     Cummings et al.    CAP law               Unintentional   Aged 0-14     0.77             0.63    0.94                    In text      G)
                                                                                                                                              1:
         (1997a)                                  firearm death                                                                  (p. 1085)    :::1
                                                  rate                                                                                        '"0
                                                                                                                                             2.
                                                                                                                                             r;·
10.3     Cummings et al.    CAP law               Unintentional   Aged 15-19    0.91             0.77    1.08                    In text     ":":
         (1997a)                                  firearm death                                                                  (p. 1085)    )>
                                                  rate                                                                                       ....("\
                                                                                                                                              ~
                                                                                                                                              r;:
10.3     Cummings et al.    CAP law               Unintentional   Aged 20-24    0.84             0.68    1.03                    In text      ~
         (1997a)                                  firearm death                                                                  (p. 1085}    V'l
                                                                                                                                             '<
                                                  rate                                                                                        :l
                                                                                                                                              ......
                                                                                                                                             :::r
                                                                                                                                              (!)

10.3     Webster and        CAP law               Unintentional   Aged 0-14     0.83             0.71    0.97                    Table 1     "'
                                                                                                                                             v;·
         Starnes (2000)                           firearm death
                                                  rate                                                                                        -
                                                                                                                                              0
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                                                                                                                                              (!)

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                                                                                                                                              (!)
10.3     Webster and        Felony CAP law        Unintentionar   Aged 0-14     0.69             0.56    0.85                    Table 1     ....ll.1
                                                                                                                                             f'\
         Starnes (2000)                           firearm death                                                                              :::r
                                                  rate                                                                                       m
                                                                                                                                             <
                                                                                                                                             0:
                                                                                                                                             (!)
10.3     Webster and        Misdemeanor CAP       Unintentional   Aged 0-14     1.00             0.81    1.22                    Table 1      ::I
                                                                                                                                             f'\
         Starnes (2000)     law                   firearm death                                                                              (!)

                                                  rate                                                                                        0
                                                                                                                                              :l
                                                                                                                                              ......
                                                                                                                                              :::r
                                                                                                         0.69                    Table 1

                                                                                                                                             -
10.3     Webster and        Florida CAP law       Unintentional   Aged 0-14     0.49             0.25                                         (!)

         Starnes (2000)                           firearm death                                                                               m
                                                  rate                                                                                        d)
                                                                                                                                              n


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                                                                                                                                              ......
10.3     Webster and        Non-Florida CAP law   Unintentional   Aged 0-14     0.95             0.80     1.12                   Table 1     "'
                                                                                                                                             0
         Starnes (2000)                           firearm death                                                                               c:
                                                  rate                                                                                        !on
                                                                                                                                              '"0

                                                                                0.78             0.61    0.99                    Table 3:     2...
10.3     Hepburn et al.     CAP law               Unintentional   Aged 0-14                                                                   r;·
         (2006)                                   firearm death                                                                  Col1        ro·
                                                  rate                                                                                       "'




                                                                   Exhibit 10
                                                                     0297
                    Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4027 Page 80 of 171


Table 8.1-Continued

Report                       Specific Policy or                                      Standard   Lower   Upper   Test             Source
figure           Study     Independent Variable Specific Outcome Population Estimate   Error      Cl     Cl   Statistic   p      Table

10.3     Hepburn et af.   CAP law               Unintentional    Aged 55-74   0.88              0.63    1.22                  Table 3:
         (2006)                                 firearm death                                                                 Cot2
                                                rate

10.3     Hepburn et al.   Felony CAP law        Unintentional    Aged 0-14    0.64              0.46    0.89                  Table 3:
         (2006)                                 firearm death                                                                 Col1
                                                rate

10.3     Hepburn et al.   felony CAP law        Unintentional    Aged55-74    0.90              0.72     1.12                 Table 3:
         (2006}                                 firearm death                                                                 Col2
                                                rate

10.3     Hepburn et al.   Misdemeanor CAP       Unintentiona[    Aged 0-14    0.93              0.76     1.13                 Table 3:
         {2006}           law                   firearm death                                                                 Col 1
                                                rate                                                                                       V1
                                                                                                                                           0
                                                                                                                                           c
10.3     Hepburn et al.   Misdemeanor CAP       unintentional    Aged 55-74   0.88              0.54    1.44                  Table 3:     ""'ro
                                                                                                                                           n

         {2006)           law                   firearm death                                                                 Col2         0
                                                                                                                                           m
                                                rate                                                                                       r+
                                                                                                                                           CJ
                                                                                                                                           c
10.3     Hepburn et al.   CAP law {exclude Fla.) Unintentional   Aged0-14     0.86              0.72    1.03                  Table 3:     VI
                                                                                                                                           CD
         {2006}                                  firearm death                                                                Col1         0.
                                                                                                                                           ri"
                                                 rate                                                                                      0
                                                                                                                                           ...0
                                                                                                                                           "0'

10.3     Hepburn et al.   CAP law (exclude Fla.) Unintentional   Aged 55-74   0.87              0.61    1.28                  Table 3;     0.
                                                                                                                                           r::
         {2006)                                  firearm death                                                                Col2         n
                                                                                                                                           rtl
                                                 rate                                                                                      ri"
                                                                                                                                           :;
                                                                                                                                           rtl
10.3     Hepburn et al.   CAP law {exclude      Unintentional    Aged 0-14    0.77              0.56    1.06                  Table 3:     "T1

         {2006)           Calif.)               firearm death                                                                 Col1        ...
                                                                                                                                          0

                                                                                                                                          m
                                                rate                                                                                      .,
                                                                                                                                          r+


                                                                                                0.45    1.27                  Table 3:    0
10.3     Hepburn et al.   CAP law (exclude      Unintentional    Aged 55-74   0.86                                                        r+
                                                                                                                                          "T1
         {2006)           Calif.}               firearm death                                                                 Col2        ..c·
                                                rate                                                                                       c
                                                                                                                                          ""'
                                                                                                                                          t1l
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                                                                    Exhibit 10
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                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4028 Page 81 of 171


Table 8.1-Continued                                                                                                                             UJ
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                                                                                                                                                rv

Report                         Specific Policyor                                       Standard Lower Upper   Test                   Source     -1
                                                                                                                                                :T
Figure           Study       Independent Variable Specific Outcome Population Estimate   Error    CI   Ct   Statistic          p      Table     rJ)
                                                                                                                                                VI
                                                                                                                                                /"'l
                                                                                                                                                n;·
10.3     Gius (2015b)        CAP law                  Unintentional      Aged 0-19    -0.036                           -0.8        Table 5      :l
                                                                                                                                                /"'l
                                                      firearm death                                                                             rJ)

                                                      rate                                                                                      0
                                                                                                                                                ~

                                                                                                                                                G\
10.3     DeSimone,           CAP law, negligent       Unintentional      Aged 0-17    -0.273     0.184                             Table 3:     c
         Markowitz, and Xu   storage (11 states)      firearm injury                                                               Col3         .,
                                                                                                                                                :l

         (2013)                                       rate                                                                                      2.
                                                                                                                                                n·
                                                                                                                                                ~
10.3     DeSimone,           CAP law, negligent       Unintentional      Aged 18+     -0.343     0.143                             Table 3:     )>
         Markowitz, and Xu   storage {11 states)      firearm injury                                                               Col4         Q
                                                                                                                                                ;:;;
         (2013)                                       rate                                                                                      n·
                                                                                                                                                ~
10.3     DeSimone,           Negligent storage or     Unintentional      Aged 0-17    -0.191     0.154                             Table3:      VI
                                                                                                                                                '<
         Markowitz, and Xu   reckless provision (11   firearm injury                                                               Col1         a
                                                                                                                                                :T
         (2013)              states)                  rate                                                                                      (!)



10.3     DeSimone,
         Markowitz, and Xu
         (2013)
                             Negligent storage or
                             reckless provision (11
                             states)
                                                      Unintentional
                                                      firearm injury
                                                      rate
                                                                         Aged 18+     -0.283     0.121                             Table 3:
                                                                                                                                   Col2         -
                                                                                                                                                "'
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10.4     Lett (2003)         Safe storage law         Shooting            All ages   1.073774                          0.459       Appendix     /"'l
                                                                                                                                                ;;;T
                                                      fatalities and                                                               Table 6.2:   m
                                                                                                                                                <
                                                      injuries                                                                     Col3         a:
                                                                                                                                                I'll
                                                                                                                                                :l
                                                                                                                                                /"'l
10.4     Lott (2003)         Safe storage law         Number of           AH ages    0.8250622                         0.628       Appendix     (!)

                                                      shooting                                                                     Table 6.2:   0
                                                                                                                                                :l
                                                      incidents                                                                    Col4         <'+
                                                                                                                                                ::r
                                                                                                                                                ('!)

                             Confiscation law         TotaiiPH rate       All ages     0.95              0.87   1.04               Table 5:     m
11.1     Vigdor and Mercy                                                                                                                       ~
         (2006)                                                                                                                    Panel 1      m


                                                                                                                                                -
                                                                                                                                                /"'l
                                                                                                                                                .-+
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11.1     Vigdor and Mercy    Confiscation law         Firearm IPH rate    All ages     0.94              0.83   1.07               Table 5:     0
         (2006)                                                                                                                    Panel1       c
                                                                                                                                                y.
11.1     Vigdor and Mercy    Confiscation law         Total IPH rate      Female       0.98              0.89   1.09               Table 5:     .,
                                                                                                                                   Panel1       2.
         (2006)                                                           victims                                                               ;::;·
                                                                                                                                                n;·
                                                                                                                                                It>




                                                                          Exhibit 10
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                    Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4029 Page 82 of 171


Table 8.1-Continued

Report                          Specific Policy or                                      Standard Lower       Upper   Test             Source
Figure           Study        Jndependent Variable Specific Outcome Population Estimate   Error    Cl         Cl   Statfstic   p      Table

11.1     Vigdor and Mercy    Confiscation law    Firearm rPH rate       Female      0.96              0.82    1.11                 Table 5:
         (2006}                                                         victims                                                    Panel1

11.1     Zeoli and Webster   Confiscation law    TotaiiPH rate          All ages    1.10              0.92   1.31                  Table 1
         (2010}

11.1     Zeoli and Webster   Confiscation law    Firearm IPH rate       All ages    1.19              0.97   1.46                  Table 1
         (2010)

11.1     Raiss1a n {2016)    Gun Control Act     Firearm IPH rate     All intimate -0.0667   0.0309                                Table 3:
                             expansion                                 partners                                                    Model3

11.1     Raissian (2016)     Gun Control Act     Firearm IPH rate     FemaleiPH    -0.136    0.0443                                Table3:
                             expansion                                 victims                                                     Model3
                                                                                                                                                V'l
                                                                                                                                                0
11.1     Raissian (2016)     Gun Control Act     Firearm IPH rate      Male IPH    0.0053    0.0312                                Table 3:     c""f
                             expansion                                 victims                                                     Model3       n
                                                                                                                                                ro
                                                                                                                                                0
                                                                                                                                                [l)
12.1     Webster et al.      State minimum       Total suicide rate   Aged 14-17    1.04              0.90   1.21                  Table 2:     .-+
                                                                                                                                                lll
         (2004}              purchase age                                                                                          Co! 1        cLn
                                                                                                                                                t1l
12.1     Webster et al.      State minimum       Total suicide rate   Aged 18-20    0.97              0.91   1.05                  Table 2:     c..
                                                                                                                                                r+
         (2004}              purchase age                                                                                          Col2         0
                                                                                                                                                ...0
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12.1     Webster et al.      State minimum       Firearm suicide      Aged 14-17    1.04              0.87   1.16                  Table 2:     0..
                                                                                                                                   Col1         c
                                                                                                                                                ,...,
         (2004)              purchase age        rate                                                                                           Q
                                                                                                                                                rT
                                                                      Aged 18-20    0.91              0.83   1.00                  Table 2:    ::r
12.1     Webster et al.      State minimum       Firearm suicide                                                                                ro
         (2004)              purchase age        rate                                                                              Col2         -n
                                                                                                                                                0
                                                                                                                                                ""f
                                                                                                                                                t!l
                                                                                                                                                11'1
12.1     Webster et al.      State minimum       Nonfirearm           Aged 14-17    1.05              0.85   1.31                  Table2:     rT

         (2004}              purchase age        suicide rate                                                                      Col1        "'U

                                                                                                                                               ~
                                                                                                                                               "Tl
12.1     Webster et al.      State minimum       Nonfirearm           Aged 18-20    1.05              0.94   1.17                  Table 2:    Iii"
         (2004}              purchase age        suicide rate                                                                      Col2         c
                                                                                                                                                ~
                                                                                                      0.90   1.05                  Table 2:    "'
12.1     Webster et al.      State minimum       Total suicide rate   Aged 14-17   0.97
                                                                                                                                   Col1        w
         (2004)              possession age                                                                                                    V1
                                                                                                                                               w




                                                                         Exhibit 10
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                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4030 Page 83 of 171


Table 8.1-Continued                                                                                                                           w
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Report                       Specific Policy or                                      Standard Lower   Upper     Test             Source       -1
                                                                                                                                              ::r
Figure          Study      Independent Variable Specific Outcome Population Estimate   Error    Cl     Cl     Statistic   p       Table       ltl
                                                                                                                                              V\
                                                                                                                                              r.
                                                                                                                                              n;·
12.1     Webster et al.    State minimum        Total suicide rate Aged 18-20      1.13       1.01    1.27                    Table 2:        :J
                                                                                                                                              t"""
         (2004)            possess1on age                                                                                     Col2            (!)
                                                                                                                                              0
                                                                                                                                               ......
12.1     Webster et al.    State minimum        Firearm suicide      Aged 14-17    1.02       0.92     1.12                   Table 2:        C)
         {2004)            possession age       rate                                                                          Col1             c
                                                                                                                                               ::::l


12.1     Webster et al.    State minimum        Firearm suicide      Aged 18-20    1.14       0.98    1.34                    Table 2:        "Q..
                                                                                                                                               r;·
         {2004)            possession age       rate                                                                          Co12            ~
                                                                                                                                              )>
12.1     Webster et al.    State minimum        Nonfirearm           Aged 14-17    0.93       0.82    1.05                    Table 2:        Q
                                                                                                                                              ;::t•
         (2004)            possession age       suicide rate                                                                  Col 1           r;·
                                                                                                                                              ~
12.1     Webster et aL     State minimum        Nonfirearm           Aged 18-20    1.07       0.90    1.27                    Table 2:        VI
                                                                                                                                              '<
         (2004}            possession age       suicide rate                                                                  Col2            :J
                                                                                                                                              ~
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12.1     Webster et al.    Federal minimum      Total suicide rate Aged 14-17      1.02       0.91    1.14                    Table 2:        ij;'
         (2004)            purchase age                                                                                       Coil            0
                                                                                                                                              ......
                                                                                                                                              ;:lJ
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12.1     Webster et al.    Federal minimum      Firearm suicide      Aged 14-17    1.00       0.87    1.16                    Table 2:        V>
                                                                                                                                              til
         (2004)            purchase age         rate                                                                          Col1            ...,Ill
                                                                                                                                              r.
                                                                                                                                              :r
12.1     Webster et al.    Federal minimum      Non firearm          Aged 14-17    1.08       0.91    1.28                    Table 2:        m
         (2004)            purchase age         suicide rate                                                                  Coil
                                                                                                                                          .   :::.
                                                                                                                                              0..
                                                                                                                                              (!)
                                                                                                                                              ::I
                                                                                                                                              t"""
12.1     Webster et aL     Federal minimum      Total suicide rate Aged 14-17      0.98       0.90    1.08                    Table 2:        m
         (2004)            possession age                                                                                     Col1            0
                                                                                                                                              ::I
                                                                                                                                              ~
                                                                                                                                              ::r
12.1     Webster et al.    Federal minimum      Firearm suicide      Aged 14-17    0.99       0.89    1.09                    Table 2:        ro
         (2004)            possession age       rate                                                                          Call            m
                                                                                                                                              ......
                                                                                                                                               ......
                                                                                                                                              ro
                                                                                                                                              n
12.1     Webster et al.    Federal minimum      Nonfirearm           Aged 14-17    1.12       0.99    1.26                    Table2:         ~
                                                                                                                                              VI

         (2004)            possession age       suicide rate                                                                  Coil            0
                                                                                                                                              ......
                                                                                                                                              c
12.1     Gius (2015b)      State minimum        Firearm suicide      Agee! 0-19   -0.046                       -1.05          Table4          VI
                           possession age       rate                                                                                          "'0
                                                                                                                                              Q..
                                                                                                                                              t=i'
12.1     Rosengart et aL   State minimum        Total suicide rate    All ages     1.02       0.98    1.07                    Table4          ~-
         (2005)            purchase age of 21




                                                                       Exhibit 10
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                    Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4031 Page 84 of 171


Table B.1-Continued

Report                         Specific Policy or                                      Standard lower   Upper     Test             Source
Figure           Study       Independent Variable Specific Outcome Population Estimate   Error    Cl     Cl     Statistic   p      Table

12.1     Rosengart et al.   State minimum          Total suicide rate   Aged 0-19    1.1        0.94    1.29                    Table 3
         (2005}             purchase age of 21

12.1     Rosengart et at.   State minimum          Total suicide rate   Aged20+     1.04        0.99     1.1                    Tab[e3
         {2005}             purchase age of 21

12.1     Rosengart et at.   State minimum          Firearm suicide       All ages               0.94    1.06                    Tabte4
         {2005}             purchase age of 21     rate
12.1     Rosengart et al.   State minimum          Firearm suicide      Aged 0-19   0.94        0.8     1.06                    Tabre 3
         {2005)             purchase age of 21     rate
12.1     Rosengart et al.   State minimum          Firearm suicide      Aged 20+    1.02        0.96    1.08                    Table 3
         {2005)             purchase age of 21     rate
                                                                                                                                                VI
                                                                                                                                               0
12.1     Rosengart et a!.   State minimum          Total suicide rate    All ages   1.03        0.96    1.11                    Table 4        ~
         (2005)             possession age of 21                                                                                               n
                                                                                                                                              I'!)

                                                                                                                                               0
                                                                                                                                              OJ
12.1     Rosengart et al.   State minimum          Total suicide rate   Aged 0-19   1.15        0.93    1.42                    Table 3       .-!-
                                                                                                                                              OJ
         (2005)             possession age of 21                                                                                              c
                                                                                                                                             U>
                                                                                                                                             (D

12.1     Rosengart et at.   State minimum          Total suicide rate   Aged 20+    1.04        0.95    1.13                    Table 3      a.
                                                                                                                                             .-!-
         (2005)             possession age of 21                                                                                             .,.0
                                                   Firearm suicide       All ages   0.99        0.88    1.13                    Table4
                                                                                                                                             0a.
12.1     Rosengart et al.   State minimum
                                                                                                                                             !::
         {2005)             possession age of 21   rate                                                                                      n
                                                                                                                                             I'!)
                                                                                                                                             .-!-
                                                                        Aged 0-19   0.93       0.77     1.12                    Table3      :::r
12.1     Rosengart et al.   State minimum          Firearm suicide
         (2005)             possession age of 21   rate                                                                                     .,.,
                                                                                                                                            (D

                                                                                                                                             0
                                                                                                                                             ~
                                                                                                                                            \1')
12.1     Rosengart eta!.    State minimum          firearm suicide      Aged 20+    0.99       0.88     1.13                    Table 3     .-!-
                                                                                                                                            "tf
         (2005)             possession age of 21   rate                                                                                     0
                                                                                                                                            .-!-
                                                                                                                                            "T1
12.2     Rosengart et al.   State minimum          Total homicide        All ages              0.94     1.05                    Table2      1.5'
         {2005)             purchase age of 21     rate                                                                                     c:
                                                                                                                                            ...,(D'""'
12.2     Rosengart et al.   State minimum          Total homicide       Aged 0-19   0.92       0.81     1.05                    Table 3
                                                                                                                                            w
         (2005)             purchase age of 21     rate                                                                                     U1
                                                                                                                                            U1




                                                                           Exhibit 10
                                                                             0302
                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4032 Page 85 of 171


Table 8.1-Continued                                                                                                                        w
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Report                        Specific Policy or                                      Standard lower Upper   Test              Source      -t
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Figure          Study       Independent Variable Specific Outcome Population Estimate   Error    Cl   Cl   Statistic    p       Table      CD
                                                                                                                                           VI
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12.2     Rosengart et aL    State minimum          Total homicide     Aged 20+    1.01         0.95   1.06                  Table3         :::::l



                                                                                                                                           -
                                                                                                                                           n
         (2005)             purchase age of 21     rate                                                                                    CD
                                                                                                                                           0
12.2     Rosengart et al.   State minimum          Firearm homicide    All ages   0.98         0.91   1.06                  Table 2        G\
         (2005)             purchase age of 21     rate                                                                                    c::::3
                                                                                                                                           "'D

12.2     Rosengart et al.   State minimum          Firearm homicide   Aged 0-19   0.92         0.8    1.06                  Table 3        £.
                                                                                                                                           r:;·
         {2005)             purchase age of 21     rate                                                                                    ~
                                                                                                                                           ~
12.2     Rosengart et al.   State minimum          Firearm homicide   Aged 20+    0.99         0.93   1.06                  Table 3        n
                                                                                                                                           ......
                                                                                                                                           ;::;:
         (2005)             purchase age of 21     rate                                                                                    r:;·
                                                                                                                                           !!...
12.2     Rosengart et al.   State minimum          Total homicide      All ages   1.02         0.89    1.18                 Table 2        VI
                                                                                                                                           '<
                                                                                                                                           :::3
         (2005)             possession age of 21   rate                                                                                    .-+
                                                                                                                                           ;::s"
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                                                                                                                                           ll'l
12.2     Rosengart et al.   State minimum          Total homicide     Aged0-19    0.98         0.79    1.2                  Table 3        v;·
         (2005}             possession age of 21   rate                                                                                    0
                                                                                                                                           ;;o
                                                                                                                                           CD
12.2     Rosengart eta!.    State minimum          Total homicide     Aged 20+    1.03         0.88    1.2                  Table 3        U"t
                                                                                                                                           (!)
         (2005)             possession age of 21   rate                                                                                    Ill
                                                                                                                                           ......
                                                                                                                                           n
                                                                                                                                           :::::l'
12.2     Rosengart et al.   State minimum          Firearm homicide    All ages   1.06         0.88   1.27                  Table 2        m
         {2005)             possession age of 21   rate                                                                                    c:<
                                                                                                                                           CD
                                                                                                                                           :::3
                                                                                                                                           n
12.2     Rosengart et a!.   State minimum          Firearm homicide   Aged 0-19   0.91         0.72    1.15                 Table 3        ro
         (2005)             possession age of 21   rate                                                                                    0
                                                                                                                                           :::3
                                                                                                                                           .-r


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                                                                                                                                           ;::s"
12.2     Rosengart et al.   State minimum          Firearm homicide   Aged 20+    1.08         0.89    1.31                 Table 3        CD
         (2005}             possession age of 21   rate                                                                                    m
                                                                                                                                           CD
                                                                                                                                           1"1
         Rudolph et al.     State minimum          Firearm homicide    All ages   0.6                                  0.04 In text        .-r

                                                                                                                                           -
12.2                                                                                                                                       ll'l

         (2015)             purchase age of 21     rate                                                                     (p. e51) and   0
                                                                                                                            Table 2,       c:
                                                                                                                            "2xMSPE"       5n
                                                                                                                                           "'D

                                                                                                              -1.6          Table 5        £.
12.3     Gius (2015b)       State minimum          Unintentional      Aged 0-19 -0.0636                                                    r:;·
                                                   firearm death                                                                           ii)'
                            possession age                                                                                                 ll'l
                                                   rate




                                                                       Exhibit 10
                                                                         0303
                    Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4033 Page 86 of 171


Table 8.1-Continued

Report                          Specific Policy or                                       Standard Lower Upper   Test              Source
Figure           Study        Independent Variable Specific Out-come Population Estimate   Error   Cl    Cl   Statisti-c   p      Table

12.4     Luca, Deepak, and   State minimum            Any mass                N/A      0.007    0.025                          Table C2:
         Poliquin (2016)     purchase age of 18       shooting incident                                                        Col 1
12.4     Luca, Deepak, and   State minimum            Any mass                N/A       0.01    0.026                          Table C2:
         Poliquin (2016)     purchase age of 18       shooting incident                                                        Col2
12.4     Luca, Deepak, and   State min1mum            Any mass                N/A      -0.059   0.051                          Table C2:
         Poliquin (2016)     purchase age of 21       shooting incident                                                        Col1
12.4     Luca, Deepak, and   State minimum            Any mass                N/A      -0.075   0.051                          Table C2:
         Poliquin (2016)     purchase age of 21       shooting incident                                                        Col2
13.1     Rosengart et al.    Shall-issue law          Total suicide rate    All ages    0.98            0.96   1.01            Table 4
         {2005}
                                                                                                                                            V\
                                                                                                                                            0
13.1     Rosengart et al.    Shall-issue law          Firearm suicide       All ages                    0.97   1.02            Table 4      t:
         (2005)                                                                                                                             n""
                                                      rate                                                                                  m
                                                                                                                                            0
                                                                                                                                            !:II
13.1     DeSimone,           Shall-issue law          Self-inflicted       Aged0-17    0.662    0.747                          Table 5      r+
                                                                                                                                            OJ
         Markowitz, and Xu                            firearm injury                                                                        c
                                                                                                                                            lA
         (2013)                                       rate                                                                                  m
                                                                                                                                            a.
                                                                                                                                            r+
13.1     DeSimone,           ShaU-issue raw           Self-inflicted       Aged18+     0,742    0.163                          Table 6      0

         Markowitz, and Xu                            firearm injury                                                                        ,-o
                                                                                                                                            0
         {2013)                                       rate                                                                                  0..
                                                                                                                                            t:
                                                                                                                                            n
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13.2     Rosengart et al.    Shall-issue lawvs. no    Total homicide       Ali ages    1.07             0.98   1.17            Table 2      r+
                                                                                                                                            ::T
         (2005)              CC permitted             rate                                                                                  C1l
                                                                                                                                            -n
                                                                                                                                            0
13.2     Rosengart et al.    Shall-issue law vs. no   Firearm homicide     All ages     1.11            0.99   1.24            Table 2      ""
                                                                                                                                           !'b
         (2005)              CC permitted             rate                                                                                 !!!.
                                                                                                                                           -a
                                                                                                                                           0
13.2     Grambsch {2008}     Shall-issue vs. no CC    Murder rate          All ages    0.005    0.011                          Table 3     r+
                                                                                                                                           ..,
                             (random effects}                                                                                              ..a·
                                                                                                                                            c
                                                                                                                                           @
13.2     Grambsch (2008)     Shall-issue vs. no CC    Murder rate          All ages    0.06     0.015                          Table 3     lA

                             (fixed effects)                                                                                               w
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                                                                                                                                           -...I




                                                                              Exhibit 10
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                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4034 Page 87 of 171


Table 8.1-Continued                                                                                                                              w
                                                                                                                                                 U'l
                                                                                                                                                 CXl


Report                          Specific Policy or                                      Standard Lower        Upper   Test            Source     -I
                                                                                                                                                 :;;
Figure           Study        lndependent Variable Specific Outcome Population Estimate   Error    Cl          Cl   Statistic   p     Table      m
                                                                                                                                                 lJ)
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                                                                                                                                                 n;·
13.2     French and           Shall-issue law vs.      Firearm homicide   All ages   1.101            0.993    1.22                 In text      ::I
                                                                                                                                                 t"l
         Heagerty (2008)      noCC                     rate                                                                         (p. 14)      t'll
                                                                                                                                                 0
                                                                                                                                                 .....
13.2     Roberts (2009)       May-issue vs. shall-     Total IPH rate     All ages   1.7128   0.216                                 Table 2      G)

                              issue                                                                                                              c
                                                                                                                                                 :::1
                                                                                                                                                 "D
                                                                                                                                                 Q_
13.2     Roberts {2009)       No CC vs. shall-issue    TotallPH rate      All ages   0.9621   0.212                                 Table 2      ri"
                                                                                                                                                 '$
13.2     Roberts (2009)       May-issue vs. shall-     Firearm IPH rate   All ages   1.1202   0.128                                 Table3       )>
                              issue                                                                                                              ...
                                                                                                                                                 r"l
                                                                                                                                                 ;:+
                                                                                                                                                 ;:::;·
13.2     Roberts (2009)       No CC vs. shall-issue    Firearm iPH rate   All ages   0.8608   0.19                                  Table3       ~
                                                                                                                                                 VI
                                                                                                                                                 '<
13.2     La Valle and Glover May-issue                 Total homicide     All ages   -0.214   0.065                                 Table 8      ::I
                                                                                                                                                 r+
                                                                                                                                                 :;;
         (2012)                                        rate                                                                                      m
                                                                                                                                                 "'
                                                                                                                                                 ;:;;·
13.2     La Valle and Glover Shall-issue               Total homicide     All ages   0.206    0.08                                  TableS       .....
                                                                                                                                                 0
         (2012)                                        rate                                                                                      :::0
                                                                                                                                                 m
                                                                                                                                                 "'
                                                                                                                                                 m
13.2     La Valle and Glover May-issue                 Firearm homicide   All ages   -0.263   0.08                                  Table 7      ...
                                                                                                                                                 Ol

         (2012)                                        rate                                                                                      ('\
                                                                                                                                                 :;;
                                                                                                                                                 m
                                                                                                                                                 <
13.2     La Valle and Glover Shall-issue               Firearm homicide   All ages   0.274    0.075                                 Table 7      0.:
                                                                                                                                                 m
         (2012)                                        rate                                                                                      :::1
                                                                                                                                                 t"l
                                                                                                                                                 m
13.2     La Valle (2013)      Shall-issue law vs. no   Total homicide     All ages   -0.137   0.062                                 Table 7      0
                                                                                                                                                 :::1
                              CC permitted             rate                                                                                      r+
                                                                                                                                                 ::r
                                                                                                                                                 I'D
13.2     La Valle (2013)      Shall-issue law vs. no   Firearm homicide   All ages   -0.166   0.073                                 Table 7      m
                                                                                                                                                 .....
                              CC permitted             rate                                                                                      ct'
                                                                                                                                                 t"l
                                                                                                                                                 r+

13.2     Webster, Crifasi,
         and Vernick (2014)
                              Shall-issue law vs. no
                              CC permitted
                                                       Total homicide
                                                       rate
                                                                          All ages    0.38    0.23                                  Corrected
                                                                                                                                    Supplement
                                                                                                                                    Table 3
                                                                                                                                                 -
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                                                                                                                                                 "'0
                                                                                                                                                 Q_
13.2     Webster, Crifasi,    Shall-issue law vs. no   Firearm homicide   All ages    0.25    0.21                                  Corrected    ;:;·
         and Vernick (2014)   CC permitted             rate                                                                         Supplement   m·
                                                                                                                                    Table 1      "'




                                                                          Exhibit 10
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                       Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4035 Page 88 of 171


Table 8.1-Continued

Report                           Spedfic Policy or                                       Standard Lower   Upper   Test             Source
Figure           Study         Independent Variable Specific Outcome Popufat(on Estimate   Error    Cl     CI   Statistic   p      Table

13.2     Webster, Crifasi,    Shall-issue law vs. no   Nonfirearm       All ages     0.21     0.12                              Corrected
         and Vernick (2014)   CC permitted             homicide rate                                                            Supplement
                                                                                                                                Table 2

13.2     Webster, Crifasi,    Shall-issue law vs. no   Murder/          All ages     0.58     0.42                              Corrected
         and Vernick (2014}   CC permitted             manslaughter                                                             Supplement
                                                       rate                                                                     Table4
13.2     Gius (2014}          Restrictive vs. !enient Firearm murder    All ages    0.365                          3.74         Table 1
                              CCiaws                  rate

13.2     Aneja, Donohue,      ShaiJ-issue vs. any      Murder rate      All ages    0.0331   0.0651                             Table BA
         and Zhang (2014)     other CC law

13.2     Aneja, Donohue,      Shall-issue vs. any      Rape rate        All ages    0.1153   0.0573                             Table 8A      VI
                                                                                                                                              0
         and Zhang (2014}     other CC law                                                                                                    c
                                                                                                                                              ~
                                                                                                                                              ('\
                                                                                                                                              tl)

13.2     Aneja, Donohue,      ShaH-issue vs. any       Robbery rate     Ali ages    0.1385   0.0803                             Table 8A      0
                                                                                                                                              Ill
         and Zhang (2014)     other CC law                                                                                                    r+
                                                                                                                                              Ill
                                                                                                                                              c
13.2     Aneja, Donohue,      Shall-issue vs. any      Ass au ft rate   All ages   0.0803    0.0446                             Table8A       :;
         and Zhang (2014)     otherCCiaw                                                                                                      a..
                                                                                                                                              r+
                                                                                                                                              0

                                                                                                                                              0"
13.2     Martin and Legault Shall-issue (vs. other     Viofent crime    All ages   -0.0566                       -3.067         Table 6:      ~


         (2005)             CC law)                                                                                             Model V       a.
                                                                                                                                              c
                                                                                                                                              ('\
                                                                                                                                              m
13.2     Martin and Legault Shall-issue (vs. other     Murder rate      All ages   -0.0492                       -1.696         Table 6:      r+
                                                                                                                                Model V       ::r
         (2005}             CC law}                                                                                                           ro
                                                                                                                                              -n
                                                                                                                                              0
13.2     Martin and Legault Shall-issue {vs. other     Rape rate        All ages   -0.0161                       -0.739         Table 6:      ~
                                                                                                                                             ro
                                                                                                                                ModeiV       ....
         (2005}             CC law)                                                                                                          .-t-
                                                                                                                                             ""1:1'

                                                                                                                                Table 6:     0
13.2     Martin and Legault Shall-issue (vs. other     Aggravated       All ages   -0.0705                       -2.927                      r+
                                                                                                                                Mode[V       -n
         (2005}             CC Jaw)                    Assault                                                                               1.0'
                                                                                                                                             ~
                                                                                                                                              c
                                                       Robbery rate     All ages   -0.0385                       -1.322         Table 6:     ro
13.2     Martin and Legault Shall-issue (vs. other                                                                                           "'
         (2005)             CCiaw)                                                                                              Model V
                                                                                                                                             w
                                                                                                                                             I.J1
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                                                                          Exhibit 10
                                                                            0306
                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4036 Page 89 of 171


Table 8.1-Continued                                                                                                                        w
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Report                          Specific Policy or                                      Standard Lower Upper   Test            Source      -i
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Figure          Study         Independent Variable Specific Outcome Population Estimate   Error   Cl    Cl   Statistic   p     Table       (!)
                                                                                                                                           VI
                                                                                                                                           n
                                                                                                                                           Cii'
13.2     Kendall and Tamura Shall-issue (vs. other   Murder rate         All ages    -0.003                     1.52         Table 3       :r


                                                                                                                                           -
                                                                                                                                           n
         (2010)             CC law)                                                                                                        ro
                                                                                                                                           0
13.2     Kendall and Tamura Shall-issue (vs. other   Rape rate            All ages   -0.002                     0.99         Table 3       Gl
         (2010)             CC law)                                                                                                        c
                                                                                                                                           ~
                                                                                                                                           "'C

13.2     Kendall and Tamura Shall-issue {vs. other   Robbery rate         AH ages     0.001                     0.55         Table3        Q..
                                                                                                                                           r:;·
         {2010)             CC!aw)                                                                                                        -::::
                                                                                                                                           )>
                                                                                                                                           (1
13.2     Kendall and Tamura Shall-issue {vs. other   Assault rate         All ages      0                       0.05         Table 3       .....
         (2010)             CCiaw)                                                                                                         a:
                                                                                                                                           n
                                                                                                                                           ~
13.3     Lott and Mustard     Shall-issue law        Unintentional        All ages   0.00478                    0.096        Table 18:     VI
                                                                                                                                          '<
         {1997)                                      handgun death                                                           Col1          :r
                                                                                                                                           ....+
                                                     rate                                                                                  ::r
                                                                                                                                           It)



13.3     Lott and Mustard
         (1997)
                              Shall-issue law        Unintentional
                                                     non handgun
                                                     death rate
                                                                          All ages    0.098                     1.706        Table 18:
                                                                                                                             Col2         -"'
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                                                                                                                                           ~
                                                                         Aged 0-17    ·0.53    0.364                         Table 5       n
13.3     DeSimone,            Shall-issue law        Unintentional                                                                         ::r
         Markowitz, and Xu                           firearm injury                                                                        m
                                                                                                                                           <
         (2013)                                      rate                                                                                  a:
                                                                                                                                           (!)
                                                                                                                                           ~
                                                                                                                                           n
13.3     DeSimone,            Shall-issue law        Unintentional       Aged 18+     0.823    0.191                         Table 6       (!)

         Markowitz, and Xu                           firearm injury                                                                        0
                                                                                                                                           ~
         {2013)                                      rate                                                                                  ....+
                                                                                                                                           ::r

13.4     Lott (2003)          Shall-issue law        Multiple-victim
                                                     gun deaths,
                                                                          All ages   0.2151                     9.609        Appendix
                                                                                                                             Table 6.2:    -
                                                                                                                                           ro
                                                                                                                                           m
                                                                                                                                           ro
                                                                                                                                           n
                                                                                                                             Col3

                                                                                                                                           -
                                                                                                                                           r+
                                                     injurres
                                                                                                                                           "'0
13.4     Lott (2003)          Shall-issue law        No. of multiple-     All ages 0.3280486                    3.82         Appendix      c:
                                                     victim gun                                                              Table 6.2:    y,
                                                     incidents                                                               Col4          "'C
                                                                                                                                           Q..
                                                                                                                                           r;·
13.4     Luca, Deepak, and    Permitless carry       Any mass             All ages    0.152    0.182                         Table C2:     Ci).'
         Poliquin (2016)                             shooting incident                                                       Col 1         "'




                                                                          Exhibit 10
                                                                            0307
                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4037 Page 90 of 171


Table 8.1-Continued

Report                         Specific Policy or                                      Standard Lower         Upper   Test              Source
Figure          Study        Independent Variable Specific Outcome Population Estimate   Error    Cl           Cl   Statistic    p      Table

13.4     Luca, Deepak, and   Permitless carry      Any mass            All ages    0.207      0.18                                   TableC2:
         Poliquin {2016)                           shooting incident                                                                 Col2

13.4     Luca, Deepak and    ShaH-issue law        Any mass            All ages   -0.011     0.039                                   Table C2:
         Poliquin (2016)                           shooting incident                                                                 Col 1

13.4     Luca, Deepak and    Sha 11-issue law      Any mass            All ages   -0.009     0.038                                   Table C2:
         Poliquin {2016)                           shooting incident                                                                 CoJ2

13.5     Duggan (2001}       Right-to-carry laws   Gun ownership        None      0.0038    0.0099                                   Table 10;
                                                                                                                                     Col3

NOTE: CAP= child-access prevention; CC =concealed carry; Col= column; IPH =intimate partner homicide; N/A =not applicable; NICS= National Instant
Criminal Background Check System.




                                                                         Exhibit 10
                                                                           0308
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4038 Page 91 of 171




 362 The Science of Gun Policy: A Critical Synthesis of Research Evidence on the Effects of U.S. Policies



      Table B.2 shows the most-common methodological concerns we identified for
 analyses included in this report's forest plot figures. When we identified no such con-
 cerns for a study, the forest plots show that study's IRR values with green circles (see,
 for example, Figure 3.1). In Table B.2, we identify five categories of concerns:

    • The Parameter column identifies with an X the analyses we believed to have been
      performed with fewer than ten observations per parameter estimate. In several
      cases, models with random effects were conducted, but no estimate of the effec-
      tive number of parameters was reported. In these cases, we guessed that the effec-
      tive number of random effect parameters was about half the total number of
      random effects. This resulted in none of the random effects models having fewer
      than ten observations per parameter estimate.
    • The Tx Units column identifies the analyses that we believed identified a causal
      effect with three or fewer units (states, usually) exposed to the law.
    • The Cluster column identifies the analyses that appeared to make no adjustments
      to the standard error to account for either serial correlation in the longitudinal
      data or heteroscedastidty. We were sparing in assigning this concern to analy-
      ses, giving credit for some type of standard error adjustment even when papers
      reported, for instance, having checked for the presence of serial correlation or per-
      forming adjustments of doubtful validity. Studies that made no reference to any
      type of adjustment or check are identified with thisconcern.
    • The Model column identifies the analyses that reported results from models we
      believe may have been misspecified. We assigned this concern to just two types
      of models: those using ordinary least squares (OLS) to model dichotomous out-
      comes and those using OLS to model rates, many of which are close to zero. We
      did not assign this concern to OLS models of logged rate values, although this
      too is problematic.
    • The Other column identifies studies with other methodological features that
      raised significant concerns for us. It was often the case that studies had multiple
      idiosyncratic methodological features that concerned us. However, we did not
      assign the Other concern to studies that had already been identified as having one
      of the other four common concerns. When a study is listed as having an Other
      concern, that concern is described in the text of the report whenever the study is
      discussed.




                                                          Exhibit 10
                                                            0309
                   Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4039 Page 92 of 171


Table 8.2
Methodo(ogica] Concerns Identified for Analyses Included in the Report's Forest Plot Figures

Report                                      Specific Policy or
figure               Study                Independent Variable         Specific 0 utcome    Population   Parameter Tx Units Cluster Model Other

3.1      Ludwig and Cook (2000}        Brady Act                  Firearm suicide rate      Aged 21+        X

3.1      Ludwig and Cook (2000)        Brady Act                  Firearm suicide rate      Aged 55+        X
3.1      Ludwig and Cook (2000)        Brady Act                  Nonfirearm suicide rate   Aged 21+        X
3.1      Ludwig and Cook (2000)        Brady Act                  Nonfirearm suicide rate   Aged 55+        X
3.1      Ludwig and Cook (2000)        Brady Act                  Proportion of suicides    Aged 21+        X
                                                                  with firearm

3.1      Ludwig and Cook {2000)        Brady Act                  Proportion of suicides    Aged 55+        X
                                                                  with firearm
                                                                                                                                                   Vl
                                                                                                                                                   0
3.1      Ludwig and Cook {2000)        Brady Act                  Total suicide rate        Aged 21+        X                                      ~
                                                                                                                                                   n
                                                                                                                                                   ~
3.1      Ludwig and Cook (2000)        Brady Act                  Total suicide rate        Aged 55+        X                                      0
                                                                                                                                                   IIJ
                                                                                                                                                   r+
                                                                                                                                                   IIJ
3.1      Sen and Panjamapirom (2012)   Check on fugitive status   Firearm suicide rate       All ages                X                             c
                                                                                                                                                   "'
                                                                                                                                                   ctl
                                                                                                                                                   a.
3.1      Sen and Panjamapirom (2012)   Check on fugitive status   Total suicide rate         All ages                X                             r+
                                                                                                                                                   0
                                                                                                                                                   "'C
3.1      Sen and Panjamapirom (2012}   Check on mental illness    Firearm suicide rate       All ages                                             0
                                                                                                                                                   ....
                                                                                                                                                   a.
                                                                                                                                                  c
3.1      Sen and Panjamapirom (2012)   Check on mental illness    Tota[ suicide rate         All ages                                             ('I
                                                                                                                                                  ctl
                                                                                                                                                   r+
                                                                                                                                                  ::r
3.1      Sen and Panjamapirom (2012}   Check on misdemeanor       Firearm suicide rate       All ages                                             ctl
                                                                                                                                                  -n
                                                                                                                                                  0
3.1      Sen and Panjamapirom (2012)   Check on misdemeanor       Total suicide rate        All ages                                              ....
                                                                                                                                                  ro
                                                                                                                                                  "'
                                                                                                                                                   r+

                                                                  Firearm suicide rate      A!l ages                                              -c
3.1      Sen and Panjamapirom (2012)   Check on "other                                                                                            0r+
                                       miscellaneous" records
                                                                                                                                                  :::n
                                                                                                                                                  tO
3.1      Sen and Panjamapirom (2012)   Check on ' 1other          Total suicide rate        All ages                                              c....
                                       miscellaneous" records                                                                                     ~
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                                                                            Exhibit 10
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                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4040 Page 93 of 171


Table 8.2-Continued                                                                                                                             w
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Report                                      Specific Policy or                                                                                  .....;
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Figure                Study               Independent Variable        Specific Outcome    Population   Parameter Tx Units Cluster Model Other   tD
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3.1      Sen and Panjamapirom (2012)    Check on restraining      Firearm suicide rate     All ages
                                                                                                                                                ro·
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                                                                                                                                                n
                                        order                                                                                                   tD
                                                                                                                                                0
                                                                                                                                                -h
3.1      Sen and Panjamapirom (2012)    Check on restraining      Total suicide rate       All ages                                             Cl
                                        order                                                                                                   c:
                                                                                                                                                ::I
                                                                                                                                                '"tl
3.1      Sen and Panjamapirom (2012)    Background check          Firearm suicide rate     All ages                                             Q..
                                                                                                                                                r;·
                                        comprehensiveness                                                                                       ~
                                                                                                                                                )>
3.2      Sen and Panjamapirom (2012)    Check on "other           Total homicide rate      All ages                                             Q
                                                                                                                                                ;:;·
                                        mrscellaneous" records                                                                                  r;·
                                                                                                                                                ~
3.2      Sen and Panjamapirom {2012)     Check on "other          Firearm homicide rate    All ages                                             VI
                                                                                                                                                '<
                                       · miscellaneous" records                                                                                 :I
                                                                                                                                                r+
                                                                                                                                                ::r
                                                                                                                                                tD
                                                                                                                                                Ill
3.2      Sen and Panjamapirom (2012)    Background check          Firearm homicide rate    All ages                                             iii'
                                        comprehensiveness                                                                                       0
                                                                                                                                                -h
                                                                                                                                                ;:13
                                                                                                                                                tD
3.2      Sen and Panjamapirom (2012)    Check on restraining      Total homicide rate      All ages                                             "'
                                                                                                                                                tD
                                        order                                                                                                   Ill
                                                                                                                                                r:
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3.2      Sen and Panjamapirom (2012)   Check on restraining       Firearm homicide rate    AU ages                                              m
                                                                                                                                                <
                                       order                                                                                                    a:
                                                                                                                                                tD
                                                                                                                                                ::I
                                                                                                                                                n
3.2      Sen and Panjamapirom {2012)   Check on mental illness    Total homicide rate      All ages                                             m
                                                                                                                                                0
                                                                                                                                                :::::;
3.2      Sen and Panjamapirom (2012}   Check on mental illness    Firearm homicide rate    All ages                                             r+
                                                                                                                                                ::r
                                                                                                                                                m
3.2      Sen and Panjamapirom {2012)   Check on fugitive status   Total homicide rate      All ages                 X                           m
                                                                                                                                                -h
                                                                                                                                                -h
                                                                                                                                                tD
                                                                                                                                                n
3.2      Sen and Panjamapirom (2012)   Check on fugitive status   Firearm homicide rate    AH ages                  X                           r+
                                                                                                                                                "'
                                                                                                                                                0
                                                                                                                                                -h
3.2      Sen and Panjamapirom {2012)   Check on misdemeanor       Total homicide rate      All ages                                             c:
                                                                                                                                                Yt
3.2      Sen and Panjamapirom (2012}    Check on misdemeanor      Firearm homicide rate    All ages                                             '"tl
                                                                                                                                                Q..
                                                                                                                                                r;·
3.2      La Valle {2013)                Brady Act                 Total homicide rate      All ages                                             ro·
                                                                                                                                                "'




                                                                          Exhibit 10
                                                                            0311
                    Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4041 Page 94 of 171


Table 8.2-Continued

Report                                 Specific Policy or
Figure                  Study        Independent Variable       Specific 0 utcome      Population     Parameter Tx Units Cluster Model Other

3.2      La Valle (2013)          Brady Act                 Firearm homicide rate        All ages

3.2      Gius (2015a}             State dealer background   Gun-related murder rate      Al! ages                                 X
                                  check

3.2      Gius (2015a)             State private-seller      Gun-related murder rate      All ages                  X              X
                                  background check

3.2      Ludwig and Cook (2000)   Brady Act                 Total homicide rate         Aged 21+         X

3.2      Ludwig and Cook (2000)   Brady Act                 Firearm homicide rate       Aged21+          X

3.2      Ludwig and Cook (2000)   Brady Act                 Nonfirearm homicide rate    Aged 21+         X

3.2      Ludwig and Cook (2000)   Brady Act                 Proportion of homicides     Aged 21+         X                                      ~
                                                                                                                                                0
                                                            with a firearm                                                                      c
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3.2      Ludwig and Cook (2000)   Brady Act                 Total homicide rate         Aged 55+         X                                      0
                                                                                                                                               ru
                                                                                                                                               r+
                                                                                                                                               ru
3.2      Ludwig and Cook (2000)   Brady Act                 Firearm homicide rate       Aged 55+         X                                     c
                                                                                                                                               a:
                                                                                                                                               0.
3.2      Ludwig and Cook (2000}   Brady Act                 Nonfirearm homicide rate    Aged 55+         X                                     rl-
                                                                                                                                               0
                                                                                                                                               ""0
3.2      Ludwig and Cook (2000)   Brady Act                 Proportion of homicides
                                                            with a firearm
                                                                                        Aged 55+         X                                     a
                                                                                                                                               0.
                                                                                                                                               c
                                                                                                                                               I"\
                                                                                                                                               tll
3.2      Swanson et al. (2016)    NICS reporting (Fla.)     Violent crime arrest         No crim.                 X                            r+
                                                                                       disqualified
                                                                                                                                               =r
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                                                                                                                                               tll

                                                                                                                                               0
3.2      Wright, Wintemute, and   No felony prohibition/    Any offense                   Calif.                                               ill
                                                                                                                                               V>
         Rivara (1999)            checks                                               purchasers                                              r+
                                                                                                                                               -u
                                                                                                                                               0
3.2      Wright, Wintemute, and   No felony prohibition/    Gun offense                   Calif.                                               rl-
                                                                                                                                               "TI
         Rivara (1999)            checks                                               purchasers                                              tE"
                                                                                                                                               c
                                  No felony prohibition/    Violent offense               Calif.                                               ill
3.2      Wright, Wfntemute, and                                                                                                                ""
         Rivara (1999)            checks                                               purchasers
                                                                                                                                               w
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                                                                     Exhibit 10
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                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4042 Page 95 of 171


Table 8.2-Continued                                                                                                                         w
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Report                                    Specific Policy or                                                                                -l
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Figure                  Study           Independent Variable       Specific Outcome     Population Parameter Tx Units Cluster Model Other   ro
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3.3      Luca, Deepak, and Poliquin   Background check         Any mass shooting           N/A                          X      X
                                                                                                                                            ro·
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                                                                                                                                            n
         (2016}                       {all handgun sales)      incident                                                                     ro
                                                                                                                                            0
                                                                                                                                            -+>
3.3      Luca, Deepak, and Poliquin   Background check         Any mass shooting           N/A                                 X            G't
         (2016)                       (aH handgun sales)       incident                                                                     c
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                                                                                                                                            Q_
3.3      Luca, Deepak and Poliquin
                        1             Background check         Any mass shooting           N/A                                 X            ;:;;·
         (2016)                       {all firearm sales)      incident                                                                     ~
                                                                                                                                            )>
3.3      Luca, Deepak, and Poliquin   Background check         Any mass shooting           N/A                                 X            n
                                                                                                                                            ....,
         (2016)                       (all firearm sales)                                                                                   ;:;"
                                                               incident                                                                     ;:;;·
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4.1      Lott (2010}                  State/federal assault    Total homicide            All ages      X                X                   VI
                                                                                                                                            '<
                                      weapon bans                                                                                           ::l
                                                                                                                                            r+
                                                                                                                                            ::r
                                                                                                                                            ro
4.1      Gius (2014}                  State assault weapons    Firearm murder rate       All ages                       X      X
                                                                                                                                            U'l
                                                                                                                                            v;·
                                      ban                                                                                                   0
                                                                                                                                            -+>
                                                                                                                                            ::::0
4.2      Gius (2015c}                 State assault weapons    Mass shooting deaths      All ages                       X                   .,.
                                                                                                                                            (I)
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                                      ban                                                                                                   D.l
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4.2      Gius (2015c)                 State assault weapons    Mass shooting injuries    Afl ages                       X                   m
                                                                                                                                            <:
                                      ban                                                                                                   a:
                                                                                                                                            ro
                                                                                                                                            ::l
                                                                                                                                            n
4.2      Luca, Deepak, and Poliquin   State assault weapons    Any mass shooting           N/A                                 X            ro
         {2016}                       ban                      incident                                                                     0
                                                                                                                                            :::)
                                                                                                                                            r+
4.2                                                            Any mass shooting           N/A                                              ::r
         Luca, Deepak, and Poliquin   State assault weapons                                                                    X

                                                                                                                                            -
                                                                                                                                            CD
         (2016)                       ban                      incident                                                                     m
                                                                                                                                            ro
                                                                                                                                            n
5.1      Humphreys, Gasparrini, and   Stand-your-ground law    Tota[ suicide rate        All ages               X                           .....
                                                                                                                                            U'l

         Wiebe {2017)                                                                                                                       ac
5.1      Humphreys, Gasparrrn1, and   Stand-your-ground law    Firearm suicide rate      All ages               X                           u,
         Wiebe {2017)                                                                                                                       -c
                                                                                                                                            Q_
                                                                                                                                            ;:;;·
5.2      Cheng and Hoekstra (2013)    Castle doctrine law      Homicide                  All ages      X                                    (ii'
                                                                                                                                            .,.




                                                                      Exhibit 10
                                                                        0313
                    Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4043 Page 96 of 171


Table 8.2-Continued

Report                                        Specific Policy or
Figure                Study                 Independent Variable          Specific Outcome      Population     Parameter Tx Units Cluster Model Other

5.2      Cheng and Hoekstra (2013)       Castle doctrine law         Burglary                     Afl ages        X

5.2      Cheng and Hoekstra (2013}       Castle doctrine law         Robbery                      Afl ages        X

5.2      Cheng and Hoekstra (2013)       Castle doctrine law         Aggravated assault           All ages        X

5.2      Webster, Crifasi, and Vernick   Stand-your-ground law       Total homicide rate          AU ages         X         X              X
         {2014}

5.2      Webster, Crifasi~ and Vernick   Stand-your-ground Jaw       Firearm homicide rate        All ages        X         X              X
         (2014}

5.2      Webster, Crifasi, and Vernick   Stand-your-ground law       Nonfirearm homicide rate     All ages        X         X              X
         {2014}
                                                                                                                                                         VI
                                                                                                                                                         0
5.2      Humphreys, Gasparrini1 and      Stand~your-ground     law   Total homicide rate          AH ages                  X                             ~
                                                                                                                                                         n
         Wiebe (2017}                                                                                                                                    ro
                                                                                                                                                         0
                                                                                                                                                         !:»
5.2      Humphreys, Gasparrini, and      Stand-your-ground law       Firearms homicide rate       All ages                 X                            r+
                                                                                                                                                         !»
         Wiebe (2017)                                                                                                                                   c
                                                                                                                                                        Ill
                                                                                                                                                        CD
                                                                                                                                                        0.
5.3      Cheng and Hoekstra {2013)       Castle doctrine law         Justifiable homicide         All ages        X                                     r+
                                                                                                                                                        0
                                                                                                                                                        "'0
6.1      Sen and Panjamapirom {2012}     Check on mental illness     Total suicide rate           All ages                                              0
                                                                                                                                                        0.
                                                                                                                                                        1:
6.1      Sen and Panjamapfrom {2012}     Check on mental illness     Firearm suicide rate         Afl ages                                              n
                                                                                                                                                        (!)
                                                                                                                                                        r+
                                                                                                 All ages
                                                                                                                                                        =r
6.2      Sen and Panjamapirom (2012)     Check on mental illness     Total homicide rate                                                                (Jl
                                                                                                                                                        -n
                                                                                                                                                        0
6.2      Sen and Panjamapirom (2012)     Check on mental illness     Firearm homicide rate       All ages                                               iti
                                                                                                                                                        Ill
                                                                                                                                                        r+
                                                                                                                                                        ""'0'
6.2      Swanson eta!. (2016)            NICS reporting {Fla.)       Violent crime arrest         Nocrim.                  X
                                                                                                disqualified                                            [
                                                                                                                                                        .,...
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8.1      Webster et al. (2004}           Permit-to-purchase law      Total suicide rate         Aged 14-17                 X                            1:
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8.1      Webster et al. {2004)           Permit~to-purchase    law   Total suicide rate         Aged 18-20                 X
                                                                                                                                                        w
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                                                                                Exhibit 10
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                   Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4044 Page 97 of 171


Table 8.2-Continued                                                                                                                              w
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Report                                       Specific Policy or                                                                                   -I
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Figure                 Study               Independent Variable       Specif1c Outcome       ?opulation Parameter Tx Units Cluster Model Other    ro
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8.1      Webster et aL (2004)            Permit-to-purchase law   Firearm suicide rate       Aged 14-17              X
                                                                                                                                                  ro·
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8.1      Webster et al. (2004)           Permit-to-purchase law   Firearm suicide rate       Aged 18-20              X                            0
                                                                                                                                                  .......
                                                                                                                                                  (;)

8.1      Webster et al. (2004)           Permit-to-purchase law   Nonfirearm suicide rate    Aged 14-17              X                            c
                                                                                                                                                  ::::1
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8.1      Webster et al. (2004)           Permit-to-purchase law   Nonfirearm suicide rate    Aged 18-20              X                            2..
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8.1      Crifasi et al. (2015)           Permit-to-purchase law   Total suicide rate          All ages               X                            )>
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8.1      Crifasi et al. (2015)           Permit-to-purchase law   Firearm suicide rate        All ages               X                            r;·
                                                                                                                                                  ~
8.1      Crifasi et al. (2015)           Permit-to-purchase law   Nonfirearm suicide rate     All ages               X                            Vl
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                                                                                                                                                  ::J'"
8.1      Crifasi et al. (2015)           Repeal of Missouri       Total suicide rate          All ages               X                            (!)
                                                                                                                                                  U'l
                                         perm it-to-purchase                                                                                      iii'

8.1      Crifasi et al. (2015)           Repeal of Missouri       Firearm suicide rate        All ages               X
                                                                                                                                                  s.
                                                                                                                                                  ::0
                                                                                                                                                   (!)
                                         permit-to-purchase                                                                                       "'
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8.1      Crifasi et al. {2015)           Repeal of Missouri       Nonfirearm suicide rate     All ages               X                            =r
                                         perm it-to-purchase                                                                                      m
                                                                                                                                                  <
                                                                                                                                                  0:
                                                                                                                                                  ro
8.2      Webster, Crifasi, and Vernick   Repea I of Missouri      Total homicide rate         All ages      X        X              X             ::::1
                                                                                                                                                  ("\
         (2014)                          permit-to-purchase                                                                                       (!)
                                                                                                                                                  0
                                                                                                                                                  ::::1
8.2      Webster, Crifasi, and Vernick   Repeal of Missouri       Firearm homicide rate       All ages      X        X              X             ~
                                                                                                                                                  :r
         (2014)                          permit-to-purchase                                                                                       ro
                                                                                                                                                  m
                                                                                                                                                  .......
8.2      Webster, Crifasi, and Vernick   Repeal of Missouri       Nonfirearm homicide rate    All ages      X        X              X             ct
                                                                                                                                                  ...,
         (2014}                          permit-to-purchase                                                                                        ~

                                                                                                                                                  "'0.......
8.2      Rudolph et al. (2015)           Connecticut permit~to-   Firearm homicide rate       All ages               X                            c
                                         purchase                                                                                                 ~
                                                                                                                                                  ""C

                                                                                              All ages                              X             2..
8.3      luca, Deepak, and Poliquin      Handgun permit system    Any mass shooting                                                               n·
         (2016)                                                   incident                                                                        ro·
                                                                                                                                                  U'l




                                                                          Exhibit 10
                                                                            0315
                    Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4045 Page 98 of 171


Table B.2-Continued

Report                                     Specific Policy or
Figure                  Study            Independent Variable       Specific Outcome       Population    Parameter Tx Units Cluster Model Other

8.3      Luca, Deepak, and Poliquin    Handgun permit system    Any mass shooting            All ages                                X
         (2016)                                                 incident

10.1     Cummings et al. (1997a)       CAP law                  Firearm suicide rate       Aged 0-14

10.1     Cummings eta/. (1997a}        CAP law                  Nonfirearm suicide rate    Aged 0-14

10.1     Webster et aL (2004)          CAP law                  Total suicide rate         Aged 14-17

10.1     Webster eta/. (2004)          CAP law                  Total suicide rate         Aged 18-20

10.1     Webster et al. (2004)         CAP law                  Firearm suicide rate      · Aged 14-17

10.1     Webster et al. (2004)         CAP law                  Firearm suicide rate       Aged 18-20
                                                                                                                                                   Vl
                                                                                                                                                   0
10.1     Webster et al. (2004)         CAP law                  Nonfirearm suicide rate    Aged 14-17                                             c
                                                                                                                                                  ....
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10.1     Webster et al. (2004)         CAP law                  Nonfirearm suicide rate    Aged 18-20                                              0
                                                                                                                                                  ID
                                                                                                                                                  rl
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10.1     DeSimone, Markowitz, and Xu Negligent storage          Firearm self-inflicted     Aged 0-17                                       X      c
                                                                                                                                                  <1\
         (2013)                      (11 states)                injury rate                                                                       ro
                                                                                                                                                  a.
                                                                                                                                                  rl
10.1     DeSimone, Markowitz, and Xu Negligent storage          Firearm self-inflicted      Aged 18+                                       X      0
                                                                                                                                                  "'0'
         (2013)                      (11 states)                injury rate                                                                       0a.
                                                                                                                                                  c
10.1     DeSimone, Markowitz, and Xu Negligent storage          Firearm self-inflicted     Aged0-17                                        X      n
                                                                                                                                                  ro
         (2013)                      or reckless provision      injury rate                                                                       rl
                                                                                                                                                  :::r
                                     (11 states)                                                                                                  ro
                                                                                                                                                  -n
                                                                                                                                                  0
10.1     DeSimone, Markowitz, and Xu Negligent storage          Firearm self-inflicted      Aged 18+                                       X      tD
                                                                                                                                                  V1
         (2013)                      or reckless provision      injury rate                                                                       rl
                                                                                                                                                  ""C
                                     (11 states)                                                                                                  0
                                                                                                                                                  r+
                                                                                                                                                  -n
10.1     Gius (2015b)                  CAP law                  Firearm suicide rate       Aged 0-19                                X'            t5'
                                                                                                                                                   c
                                       CAP law                  Firearm homicide rate      Aged 0-14                                              tD
10.2     Cummings eta!. (1997a)                                                                                                                   V1


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10.2     Cummings et al. (1997a)      CAP law                   Nonfirearm homicide rate Aged 0-14                                                01
                                                                                                                                                  1.0




                                                                          Exhibit 10
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                 Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4046 Page 99 of 171


Table B.2-Continued                                                                                                                         w
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Report                                    Specific Policy or                                                                               -i
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Figure               Study              Independent Variable       Specific Outcome    Population Parameter Tx Units Cluster Model Other    m
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10.2     lott and Whitley (2001)      Safe storage law         Murder rate              All ages      X                X      X             :::::1
                                                                                                                                           n
                                                                                                                                           m
10.2

10.2
         lott and Whitley (2001)

         lott and Whitley {2001)
                                      Safe storage law

                                      Safe storage law
                                                               Rape rate

                                                               Robbery rate
                                                                                        All ages

                                                                                        All ages     X
                                                                                                      X                X

                                                                                                                       X
                                                                                                                              X

                                                                                                                              X
                                                                                                                                           -0
                                                                                                                                           G)
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                                                                                                                                           \J
10.2     Lott and Whitley (2001)      Safe storage law         Assault rate             All ages     X                 X      X            £.
                                                                                                                                           n·
                                                                                                                                           ':'S
10.3     Cummings et al. (1997a)      CAP law                  Unintentional firearm   Aged 0-14                                            )>
                                                               death rate                                                                  Q
                                                                                                                                           ;::+
                                                                                                                                           n·
10.3     Cummings et al. {1997a)      CAP law                  Unintentional firearm   Aged 15-19                                          ~
                                                               death rate                                                                   Vl
                                                                                                                                           '<
                                                                                                                                           :::::1
                                                                                                                                           .-+
                                                                                                                                           :J
10.3     Cummings et al. (1997a}      CAP law                  Unintentional firearm   Aged 20-24                                          til



10.3     Webster and Starnes {2000)   CAP law
                                                               death rate

                                                               Unintentional firearm
                                                               death rate
                                                                                       Aged 0-14                                           -
                                                                                                                                           "'iii"
                                                                                                                                            0
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                                                                                                                                           ....Ql
10.3     Webster and Starnes (2000)                            Unintentional firearm   Aged 0-14                                           n
                                      Felony CAP law                                                           X                           =r
                                                               death rate                                                                  m
                                                                                                                                            <
                                                                                                                                           m
                                                                                                                                            a::
10.3     Webster and Starnes (2000)   Misdemeanor CAP law      Unintentional firearm   Aged 0-14                                            :::::1
                                                                                                                                            n
                                                               death rate                                                                   ('!)

                                                                                                                                            0
                                                                                                                                           :::::1
10.3     Webster and Starnes (2000}   Florida CAP law          Unintentional firearm   Aged 0-14               X                           .-+




                                                                                                                                           --
                                                                                                                                           :r
                                                               death rate                                                                  m
                                                                                                                                           I'T'I

10.3     Webster and Starnes (2000}   Non -Florida CAP law     Unintentional firearm   Aged 0-14                                            ctl




                                                                                                                                           -
                                                               death rate                                                                   ~
                                                                                                                                           VI
                                                                                                                                            0
10.3     Hepburn et al. {2006)        CAP law                  Unintentional firearm   Aged0-14                                     X       c
                                                               death rate                                                                  ~
                                                                                                                                           -c
                                                                                                                                           Q..
10.3     Hepburn et al. {2006)        CAP law                  Unintentional firearm   Aged 55-74                                   X       n·
                                                               death rate                                                                  in'
                                                                                                                                           VI




                                                                      Exhibit 10
                                                                        0317
                   Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4047 Page 100 of 171


Table 8.2-Continued

Report                                      Specific PoJicy or
figure                  Study             Independent Variable       Specific Outcome    PopuJation Parameter TxUnits Cluster Model Other

10.3     Hepburn eta!. (2006}          Felony CAP law            Unintentional firearm   Aged 0-14              X                    X
                                                                 death rate

10.3     Hepburn eta!. (2006)          Felony CAP law            Unintentional firearm   Aged 55-74             X                    X
                                                                 death rate

10.3     Hepburn et al. (2006)         Misdemeanor CAP law       Unintentional firearm   Aged 0-14                                   X
                                                                 death rate

10.3     Hepburn et al. (2006}         Misdemeanor CAP law       Unintentional firearm   Aged 55-74                                  X
                                                                 death rate

10.3     Hepburn et al. (2006}         CAP law (exclude Fla.)    Unintentional firearm   Aged 0-14                                   X
                                                                 death rate
                                                                                                                                             ...,
                                                                                                                                              0
10.3     Hepburn et al. (2006)         CAP law (exclude Fla.)    Unintentional firearm   Aged 55-74                                  X        ~
                                                                                                                                              ("\
                                                                 death rate                                                                   ttl
                                                                                                                                              0
                                                                                                                                             Ill
10.3     Hepburn et al. (2006)         CAP law (exdude Calif.)   Unintentional firearm   Aged 0-14                                   X       r+
                                                                                                                                              Ql
                                                                 death rate                                                                  c
                                                                                                                                             VI
                                                                                                                                             ell
                                                                                                                                             0..
10.3     Hepburn et al. (2006)         CAP law (exclude CaHf.}   Unintentional firearm   Aged 55-74                                  X       n-
                                                                 death rate                                                                  0
                                                                                                                                             ....""'0'
                                                                                                                                             0
10.3     Gius (2015b)                  CAP law                   Unintentional firearm   Aged 0-19                             X             0..
                                                                                                                                            c
                                                                 death rate                                                                 .....
                                                                                                                                            {!)
                                                                                                                                            rt
                                                                                                                                             ::;
10.3     DeSimone, Markowitz, and Xu CAP faw, negligent          Unintentional firearm   Aged 0-17                                   X      {!)

         (2013}                      storage (11 states}         injury rate                                                                II
                                                                                                                                            ....0
                                                                                                                                            .......
                                                                                                                                            ro
10.3     DeSimone~ Markowitz, and Xu CAP law, negligent          Unintentional firearm   Aged 18+                                    X
         {2013}                      storage (11 states)         injury rate                                                                -a
                                                                                                                                            0
                                                                                                                                            rio
                                                                                                                                             "T1
10.3     DeSimone, Markowitz, and Xu Negligent storage           Unintentional firearm   Aged 0-17                                   X      t!)'
         {2013)                      or reckless provision       injury rate                                                                c
                                                                                                                                            (ti
                                     (11 states)                                                                                            In


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                                                                          Exhibit 10
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                 Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4048 Page 101 of 171


Table 8.2-Continued                                                                                                                         w
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Report                                     Specific Policy or                                                                                -l
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Figure                 Study             Independent Variable       Specific Outcome    Population Parameter Tx Units Cluster Model Other    ID
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10.3     DeSimone, Markowitz, and Xu Negligent storage          Unintentional firearm   Aged 18+                                     X      :::l
                                                                                                                                            n.
         {2013}                      or reckless provision      injury rate                                                                 lt>
                                     {11 states)                                                                                            0
                                                                                                                                            -t.
                                                                                                                                            G'l
10.4     Lott {2003)                   Safe storage law         Shooting fatalities +    All ages      X                X                   c
                                                                                                                                            ::I
                                                                injuries                                                                    "'C
                                                                                                                                             Q.
                                                                                                                                             n·
10.4     Lett {2003)                   Sate storage law         Number of shooting       All ages      X                X                   ':'=:
                                                                incidents                                                                     l>
                                                                                                                                            n
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11.1     Vigdor and Mercy (2006}       Confiscation law         Total JPH rate           All ages                                           n'
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11.1     Vigdor and Mercy {2006)       Confiscation law         Firearm IPH rate         AH ages                                            VI
                                                                                                                                            '<
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11.1     Vigdor and Mercy {2006)       Confiscation law         Total IPH rate            Female                                             ID
                                                                                                                                            V>
                                                                                          victims                                           ;;;·
                                                                                                                                             g.
11.1     Vigdor and Mercy {2006)       Confiscation law         Firearm IPH rate          Female                                             ::::0
                                                                                                                                            tD
                                                                                          victims                                            V>
                                                                                                                                            II)
                                                                                                                                             ll)
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                                                                                                                                            n
11.1     Zeoli and Webster {2010)      Confiscation law         TotaiiPH rate            All ages                                           ::::r
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11.1     Zeoli and Webster {2010}      Confiscation law         Firearm IPH rate         All ages                                           0:
                                                                                                                                            ro
                                                                                                                                            :::l
                                                                                                                                            n
11.1     Raissian {2016)               Gun Control Act          Firearm IPH rate        All intimate                           X            II)

                                       expansion                                         partners                                            0
                                                                                                                                            :::l
                                                                                                                                            r+
                                                                                                                               X
                                                                                                                                            =r
11.1     Raissian {2016)               Gun Control Act          Firearm IPH rate        Female IPH                                           lt>
                                       expansion                                          victims                                            m
                                                                                                                                            :t
                                                                                                                                            ttl
                                                                                                                                            n
11.1     Raissian {2016)               Gun Control Act          Firearm IPH rate         Male IPH                              X            r+
                                                                                                                                             V>

                                       expansion                                         victims                                             0
                                                                                                                                             -n
                                                                                                                                             c
12.1     Webster et a I. {2004)        State minimum            Total suicide rate      Aged 14-17                                           ~
                                       purchase age                                                                                          "'tl'
                                                                                                                                            Q.
                                                                                                                                             ;:::;·
12.1     Webster et al. {2004}         State minimum            Total suicide rate      Aged 18-20                                           a;·
                                                                                                                                             V>
                                       purchase age




                                                                       Exhibit 10
                                                                         0319
                   Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4049 Page 102 of 171


Table 8.2-Continued

Report                               Specific Polky or
Figure                Study        Independent Variable        Specific Outcome     Population   Parameter Tx Units Cluster Model Other

12.1     Webster et al. (2004)   State minimum            Firearm suicide rate      Aged 14-17
                                 purchase age

12.1     Webster et al. (2004)   State minimum            Firearm suicide rate      Aged 18-20
                                 purchase age

12.1     Webster et al. (2004)   State minimum            Nonfirearm suicide rate   Aged 14-17
                                 purchase age

12.1     Webster et al. {2004)   State minimum            Nonfirearm suicide rate   Aged 18-20
                                 purchase age

12.1     Webster et a!. {2004)   State minimum            Total suicide rate        Aged 14-17               X
                                 possession age
                                                                                                                                           V'l
                                                                                                                                           0
12.1     Webster et al. {2004)   State minimum            Total suicide rate        Aged 18-20               X                            c
                                                                                                                                          ..,
                                                                                                                                          ("I
                                 possession age                                                                                            (1)

                                                                                                                                          0
                                                                                                                                          m
12.1     Webster et al. (2004}   State minimum            Firearm suicide rate      Aged 14-17               X                            .......
                                                                                                                                          m
                                 possession age                                                                                           c
                                                                                                                                          "'0..
                                                                                                                                          ro
12.1     Webster et al. (2004)   State minimum            Firearm suicide rate      Aged 18-20               X
                                 possession age                                                                                           '0"""
                                                                                                                                          ""0

                                                                                                             X
                                                                                                                                          3
12.1     Webster et al. {2004)   State minimum            Nonfirearm suicide rate   Aged 14-17                                            a..
                                                                                                                                          cn
                                 possession age                                                                                           Ci)


12.1     Webster et aJ. (2004)   State minimum            Nonfirearm suicide rate   Aged 18-20               X                            'Ci)"""
                                                                                                                                          ::r
                                 possession age
                                                                                                                                          ,
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                                                                                                                                          0
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12.1     Webster eta!. (2004)    Federal minimum          Total suicide rate        Aged 14-17                                            "'
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                                                                                                                                          ""0
                                 purchase age
                                                                                                                                          §:"
                                                          Firearm suicide rate      Aged 14-17
                                                                                                                                          ,
12.1     Webster et al. {2004}   Federal minimum                                                                                          10"
                                 purchase age                                                                                             c
                                                                                                                                          ;:a
12.1     Webster et al. (2004}   Federal minimum          Nonfirearm suicide rate   Aged 14-17                                            "'
                                                                                                                                          w
                                 purchase age                                                                                             -.,J
                                                                                                                                          w




                                                                    Exhibit 10
                                                                      0320
                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4050 Page 103 of 171


Table 8.2-Continued                                                                                                                       w
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Report                                 Specific Policy or                                                                                 -1
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figure                  Study        Independent Variable       Specific Outcome      Population Parameter Tx Units Cluster Model Other   (!)
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12.1     Webster et a I. (2004)    Federal minimum          Total suicide rate        Aged 14-17                                          ::3
                                                                                                                                          n


12.1     Webster et al. (2004)
                                   possession age

                                   federal minimum
                                   possession age
                                                            Firearm suicide rate      Aged 14-17                                          -
                                                                                                                                          (!)

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                                                                                                                                           G)
                                                                                                                                           c:
                                                                                                                                           ::J
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                                                                                                                                          Q.
12.1     Webster eta!. {2004}      Federal minimum          Nonfirearm suicide rate   Aged 14-17                                          ;:::;·
                                   possession age                                                                                         -:::
                                                                                                                                           >
12.1     Gius (2015b)              State minimum            Firearm suicide rate      Aged 0-19                              X            Q
                                                                                                                                           ;::;:
                                   possession age                                                                                         ;::;·
                                                                                                                                          ~
12.1     Rosengart eta!. (2005)    State minimum purchase   Total suicide rate         All ages      X                                    ll'l
                                                                                                                                          '<
                                   age of 21                                                                                              :J
                                                                                                                                          .-+
                                                                                                                                          :::r
                                                                                                                                          ttl




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                                                                                                                                          II>
12.1     Rosengart et al. (2005)   State minimum purchase   Total suicide rate        Aged 0-19      X                                    v;·
                                   age of 21                                                                                               0
                                                                                                                                          ::;c
                                                                                                                                          I'D
12.1     Rosengart et al. {2005)   State minimum purchase   Total suicide rate        Aged 20+       X                                     ~
                                   age of 21
                                                                                                                                          n
                                                                                                                                           ~
                                                                                                                                           ::J"'
12.1     Rosengart et al. (2005)   State minimum purchase   firearm suicide rate       All ages      X                                     m
                                                                                                                                          =::.
                                   age of 21                                                                                              a.
                                                                                                                                           I'D
                                                                                                                                           :J
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12.1     Rosengart et al. (2005)   State minimum purchase   Firearm suicide rate      Aged 0-19      X                                     t'D
                                   age of 21                                                                                               0
                                                                                                                                           ::J
                                                                                                                                           .-+
                                                                                                                                           :::r
12.1     Rosengart et al. (2005)   State minimum purchase
                                   age of 21
                                                            Firearm suicide rate      Aged20+        X

                                                                                                                                           -
                                                                                                                                           t'D
                                                                                                                                           m
                                                                                                                                           i1"1t

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                                                                                                                                           .-+
12.1     Rosengart et al. (2005)   State minimum            Total suicide rate         All ages      X
                                                                                                                                           "'
                                                                                                                                           0
                                   possession age of 21
                                                                                                                                           c:
·12.1    Rosengart et al. {2005)   State minimum            Total suicide rate        Aged 0-19      X                                     ~
                                                                                                                                           "'tt
                                   possession age of 21                                                                                    Q_
                                                                                                                                           ;::;·
                                                                                      Aged 20+       X                                     ii)'
12.1     Rosengart et al. {2005)   State minimum            Total suicide rate                                                             <II

                                   possession age of 21




                                                                    Exhibit 10
                                                                      0321
                   Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4051 Page 104 of 171


Table 8.2-Continued

Report                                  Specific Polity or
Figure                Study           Independent Variable       Specific Outcome    Population Parameter Tx Units Ouster Model Other

12.1     Rosengart et al. (2005)   State minimum             Firearm suicide rate     All ages     X
                                   possession age of 21

12.1     Rosengart et al. (2005)   State minimum             Firearm suicide rate    Aged 0-19     X
                                   possession age of 21

12.1     Rosengart et al. (2005)   State minimum             Firearm suicide rate    Aged 20+      X
                                   possession age of 21
12.2     Rosengart et al. {2005)   State minimum purchase Total homicide rate         All ages     X
                                   age of 21
12.2     Rosengart et al. (2005)   State minimum purchase    Total homicide rate     Aged 0-19     X
                                   age of 21
                                                                                                                                          Vl
                                                                                                                                         0
12.2     Rosengart et a!. {2005)   State minimum purchase    Total homicide rate     Aged 20+      X                                     c
                                                                                                                                         ~
                                                                                                                                         n
                                   age of 21                                                                                             (!)

                                                                                                                                         0
                                                                                                                                         QJ
12.2     Rosengart et al. (2005)   State minimum purchase    Firearm homicide rate    All ages     X                                     .-+
                                                                                                                                         QJ
                                   age of 21                                                                                             c
                                                                                                                                         "'
                                                                                                                                         fl)
                                                                                                                                         Q.
12.2     Rosengart et al. {2005)   State minimum purchase    Firearm homicide rate   Aged 0-19     X                                     t+
                                   age of 21                                                                                             0
                                                                                                                                         "'C


12.2     Rosengart et al. (2005)   State minimum purchase    Firearm homicide rate   Aged 20+      X
                                                                                                                                         a
                                                                                                                                         Q.
                                                                                                                                        cn
                                   age of 21                                                                                             ro
                                                                                                                                         t+
                                                                                                                                         ::;
12.2     Rosengart et al. {2005}   State minimum             Total homicide rate      All ages     X                                     m
                                   possession age of 21                                                                                  "Tl
                                                                                                                                         0
                                                                                                                                         "'\
                                                                                                                                         m
12.2     Rosengart et al. {2005}   State minimum             Total homicide rate     Aged0-19      X                                     ""
                                                                                                                                        .-+
                                                                                                                                         "'C
                                   possession age of 21                                                                                 0
                                                                                                                                        .-t-
                                                                                                                                        -n
12.2     Rosengart et al. {2005)   State minimum             Total homicide rate     Aged 20+      X                                    IE'
                                   possession age of 21                                                                                 c
                                                                                                                                        (il
                                                                                                                                        "'
12.2     Rosengart et al. {2005}   State minimum             Firearm homicide rate   All ages      X
                                                                                                                                        w
                                   possession age of 21                                                                                 .......
                                                                                                                                        U1




                                                                      Exhibit 10
                                                                        0322
                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4052 Page 105 of 171


Table B.2-Continued                                                                                                                            w
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Report                                    Specific Policy or                                                                                   -1
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Figure                  Study           Independent Variable          Specific Outcome     Population Parameter Tx Units Cluster Model Other   (1)
                                                                                                                                               V1
                                                                                                                                               n
                                                                                                                                               n;·
12.2     Rosengart et al. {2005)      State minimum               Firearm homicide rate    Aged 0-19      X                                    :::l
                                                                                                                                               t""J
                                      possession age of 21                                                                                     (1)
                                                                                                                                               0
                                                                                                                                               -+.
12.2     Rosengart et at. {2005)      State minimum               Firearm homicide rate    Aged 20+       X                                    Gl
                                      possession age of 21                                                                                     c
                                                                                                                                               .,
                                                                                                                                               ::::!"


12.2     Rudolph et al. (2015)        State minimum purchase      Firearm homicide rate     All ages               X                           2..
                                                                                                                                               ;::::;·
                                      age of 21                                                                                                ~
                                                                                                                                               )>
12.3     Gius (2015b)                 State minimum               Unintentional firearm    Aged 0-19                              X            Q
                                                                                                                                               ;+
                                      possession age              death rate                                                                   ;::::;·
                                                                                                                                               ~
12.4     Luca, Deepak, and Poliquin   State minimum purchase      Any mass shooting           N/A                                 X            ~
         {2016)                       age of 18                   incident                                                                     ::::!"
                                                                                                                                               ""
                                                                                                                                               :::::;
                                                                                                                                               (!)

12.4     Luca, Deepak, and Poliquin   State minimum purchase      Any mass shooting           N/A                                 X            "'v;·
         (2016)                       age of 18                   incident                                                                     0
                                                                                                                                               -+.
                                                                                                                                               :::0
                                                                                                                                               (1)
12.4     Luca, Deepak, and Poliquin   State minimum purchase      Any mass shooting           N/A                                 X            "'
                                                                                                                                               (1)
         (2016)                       age of 21                   incident                                                                     ....n
                                                                                                                                               Q)


                                                                                                                                               ::r
12.4     Luca, Deepak, and Poliquin   State minimum purchase      Any mass shooting           N/A                                 X            m
                                                                                                                                               <
         {2016)                       age of 21                   incident                                                                     c:
                                                                                                                                               (1)
                                                                                                                                               ::::!"
                                                                                                                                               n
13.1     Rosengart et al. (2005)      ShaH-issue law              Total suicide rate        AU ages       X                                    (1)
                                                                                                                                               0
                                                                                                                                               ~
13.1     Rosengart et aL (2005)       Shall-issue law             Firearm suicide rate      All ages      X                                    r+
                                                                                                                                               :T
                                                                                                                                               (1)

13.1     DeSimone, Markowitz, and     Shall-issue law             Self-inflicted firearm   Aged 0-17               X                           m
                                                                                                                                               -+.
         Xu (2013)                                                injury rate                                                                  (jj'
                                                                                                                                               n
                                                                                                                                               r+
                                                                                                                                               VI

13.1     DeSimoner Markowitz, and     Shall-issue law             Self-inflicted firearm   Aged 18+                X                           0
                                                                                                                                               -+.
         Xu (2013)                                                injury rate                                                                  c
                                                                                                                                               ~
13.2     Rosengart et al. (2005)      Shall-issue law vs. no CC   Total homicide rate       All ages      X                                    "D
                                                                                                                                               2..
                                      permitted                                                                                                ;;;·
                                                                                                                                               ..,a;·




                                                                          Exhibit 10
                                                                            0323
                    Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4053 Page 106 of 171


Table 8.2-Continued

Report                                        Specific Policy or
Figure                 Study                Independent Variable         Specific Outcome    Population Parameter Tx Units Cluster Model Other

13.2     Rosengart et a!. {2005)         Shall-issue law vs. no CC   Firearm homicide rate    All ages      X
                                         permitted

13.2     Grambsch (2008}                 Shall-issue vs. no CC       Murder rate              All ages                      X
                                         (random effects)

13.2     Grambsch (2008)                 Shall-issue vs. no CC       Murder rate              All ages     X                X
                                         (fixed effects}

13.2     French and Heagerty (2008)      Shall-issue law vs. no CC   Firearm homicide rate    All ages
13.2     Roberts (2009)                  May-issue vs. shall-issue   Totai!PH rate            All ages                      X
13.2     Roberts {20 09)                 No CC vs. shaiJ-jssue       Total IPH rate           All ages                      X
                                                                                                                                                   Vl
                                                                                                                                                   0
13.2     Roberts (2009)                  May-issue vs. shall-issue   Firearm IPH rate         All ages                      X                      ~
                                                                                                                                                   n.
                                                                                                                                                   CD
13.2     Roberts (2009)                  No CC vs. shall-issue       Firearm JPH rate         All ages                      X                      0
                                                                                                                                                  Ql
                                                                                                                                                  .r+
                                                                                                                                                  ill
13.2     La Valle and Glover (2012)      May-issue                   Total homicide rate      All ages                                            c
                                                                                                                                                  tiT
                                                                                                                                                  CD
13.2     La Valle and Gfover (2012)      Shall-issue                 Total homicide rate     Afl ages                                             c..
                                                                                                                                                  .r+
                                                                                                                                                  0
                                                                                                                                                  -a
13.2     La Valle and Glover (2012)      May-issue                   Firearm homicide rate   All ages                                             0
                                                                                                                                                  c..
                                                                                                                                                  c
13.2     La Valle and Glover (2012)      ShaiHssue                   Firearm homicide rate   All ages                                             n.
                                                                                                                                                  ro
                                                                                                                                                  r+
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13.2     La Valle {2013)                 Shall-issue law vs. no CC   Total homicide rate     All ages                                             CD
                                         permitted                                                                                                "Tl
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                                                                                                                                                  0
                                                                                                                                                  ro
                                                                                                                                                  11'1
13.2     La Valfe {2013)                 Shafl-issue law vs. no CC   Firearm homicide rate   All ages                                             r+
                                                                                                                                                  ""0
                                         permitted                                                                                                0
                                                                                                                                                 .r+
                                                                                                                                                  "Tl
13.2     Webster, Crifasi, and Vernick   Shall-issue lawvs. no CC    Total homicide rate     All ages      X                       X             tZi"
         {2014)                          permitted                                                                                                c.,
                                                                                                                                                 ~
13.2     Webster, Crifasi, and Vernick   Shall-issue law vs. no CC   Firearm homicide rate   All ages      X                       X
                                                                                                                                                 w
         (2014)                          permitted                                                                                               -....!
                                                                                                                                                 -....!




                                                                              Exhibit 10
                                                                                0324
                  Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4054 Page 107 of 171


Table 8.2-Continued                                                                                                                                  w
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Report                                       Specific Policy or                                                                                      -1
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Figure                 Study               Independent Variable           Specific Outcome       Population Parameter Tx Units Cluster Model Other   CD
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                                                                                                                                                     VI

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13.2     Webster, Crifasi, and Vernick   Shall-issue law vs. no CC    Nonfirearm homicide rate    All ages     X                        X            ,..,
                                                                                                                                                     :I
         (2014}                          permitted                                                                                                   (1)
                                                                                                                                                     0
                                                                                                                                                     -n
13.2     Webster, Crifasi, and Vernick   Shall-issue law vs. no CC    Murder/manslaughter         All ages      X                       X            G'l
         (2014)                          permitted                    rate                                                                           c:
                                                                                                                                                     :;:,
                                                                                                                                                     "'0
         Gius {2014)                                                                                                                                 Q.
13.2                                     Restrictive vs. lenient CC   Firearm murder rate         All ages                      X       X            ;:;·
                                         laws                                                                                                        "!';
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                                                                                                                                                     {'\
13.2     Aneja, Donohue, and Zhang       Shall-issue vs. any other    Murder rate                 All ages                                           -.
                                                                                                                                                     ;::+"
         {2014)                          CCiaw                                                                                                       n·
                                                                                                                                                     ~
13.2     Aneja, Donohue, and Zhang       Shall-issue vs. any other · Rape rate                    All ages                                           V\
                                                                                                                                                     '<
         (2014)                          CC!aw                                                                                                       :I
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                                                                                                                                                      (tl

13.2


13.2
         Aneja, Donohue, and Zhang
         {2014}

         Aneja, Donohue, and Zhang
         (2014)
                                         Shall-issue vs. any other
                                         CClaw

                                         Shall-issue vs. any other
                                         CCiaw
                                                                      Robbery rate


                                                                      Assault rate
                                                                                                  All ages


                                                                                                  All ages
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13.2     Martin and Legault (2005)       Shall-issue (vs. other       Violent crime               All ages      X                X      X            m
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                                         CC law}                                                                                                     a:
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13.2     Martin and Legault (2005)       Shall-issue (vs. other       Murder rate                 All ages      X                X      X            @
                                         CC!aw)                                                                                                      0
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13.2


13.2
         Martin and Legault (2005)


         Martin and Legault (2005)
                                         ShaH-issue (vs. other
                                         CC law)

                                         Shall-issue (vs. other
                                         CCiaw)
                                                                      Rape rate


                                                                      Aggravated assault
                                                                                                  All ages


                                                                                                  All ages
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13.2     Martin and Legault (2005)       Shall-issue {vs. other       Robbery rate                All ages      X                X      X            ~
                                         CC law)                                                                                                     ""0
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                                                                             Exhibit 10
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Table 8.2-Continued

Report                                     Specific Policy or
figure                 Study             Independent Variable       Specific Outcome     Population Parameter Tx Units Cluster Model Other

13.2     Kendall and Tamura (2010)    Shall-issue (vs. other    Murder rate               All ages
                                      CC law}

13.2     Kendall and Tamura (201 0)   Shall-issue (vs. other    Rape rate                 All ages
                                      CC law}

13.2     Kendall and Tamura (2010)    Shall-issue (vs. other    Robbery rate              All ages
                                      CC law)

13.2     Kendall and Tamura (2010)    Shall-issue (vs. other    Assault rate              All ages
                                      CC law)

13.3     Lott and Mustard (1997)      Sha 11-issue law          Unintentional handgun     All ages     X                X
                                                                death rate
                                                                                                                                              VI
                                                                                                                                              0
13.3     Lott and Mustard (1997}      Shall-issue law           Unintentional             AI! ages     X                X                     ~
                                                                nonhandgun death rate                                                         n
                                                                                                                                              lb
                                                                                                                                              0
                                                                                                                                              Ill
13.3     DeSrmone, Markowitz, and Xu Shall-issue Jaw            Unintentional firearm    Aged 0-17               X                            rT
                                                                                                                                              Ill
         (2013)                                                 injury rate                                                                   c
                                                                                                                                              "'
                                                                                                                                              lb
                                                                                                                X                             0..
13.3     DeSimone, Markowitz, and Xu Shall-issue law            Unintentional firearm    Aged 18+                                             rT
         (2013)                                                 injury rate                                                                   0


13.4     Lott (2003)                  Shalf-issue Jaw           Multiple-victim gun       All ages     X                X
                                                                                                                                             "00..
                                                                deaths, injuries                                                              c:
                                                                                                                                             @
                                                                                                                                             rT
                                                                                                                                             ::::;-
13.4     lott (2003)                  Shall-issue law           No. of multiple-victim    Ail ages     X                X                    (!)

                                                                gun incidents                                                                II
                                                                                                                                              0
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13.4     luca, Deepak, and Poliquin   Permitless carry          Any mass shooting        All ages                              X             "'
                                                                                                                                             rT
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         (2016)                                                 incident                                                                     0
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13.4     Luca, Deepak, and Poliquin   Permitless carry          Any mass shooting        All ages                                            «0'
         (2016)                                                 incident                                                                     c:
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Table B.2-Continued                                                                                                                             w
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Report                                     Specific Policy or
Figure               Study               Independent Variable        Specific Outcome      Population Parameter Tx Units Cluster Model Other

13.4     luca, Deepak, and Poliquin   Shall-issue law           Any mass shooting           All ages                                  X
         (2016}                                                 incident

13.4     Luca, Deepak, and Poliquin   Shall-issue law           Any mass shooting           All ages                                  X
         {2016)                                                 incident

13.5     Duggan (2001)                Right-to-carry laws        Gun ownership               None          X

NOTE: CAP= child-access prevention; CC =concealed carry; IPH =intimate partner homicide; N/A =not applicable; NICS= National Instant Criminal
Background Check System.




                                                                        Exhibit 10
                                                                          0327
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4057 Page 110 of 171




                                   Exhibit 10
                                     0328
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4058 Page 111 of 171




                                   Exhibit 10
                                     0329
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4059 Page 112 of 171




              EXHIBIT "11"




                                   Exhibit 11
                                     0330
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4060 Page 113 of 171




   The Impact of Mass Shootings on
   Gun Policy
   Michael Luca
   Deepak Malhotra
   Christopher Poliquin




   Working Paper 16-126




                                   Exhibit 11
                                     0331
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4061 Page 114 of 171




        The Impact of Mass Shootings
        on Gun Policy
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        Working Paper 16-126




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       Funding for this research was provided in part by Harvard Business School.


                                                       Exhibit 11
                                                         0332
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4062 Page 115 of 171




                        The Impact of Mass Shootings on Gun Policy



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                                                  August 2019


                                                     Abstract

   There have been dozens of high-profile mass shootings in recent decades. This paper
   presents three main findings about the impact of mass shootings on gun policy. First, mass
   shootings evoke large policy responses. A single mass shooting leads to a 15% increase in
   the number of firearm bills introduced within a state in the year after a mass shooting. This
   effect increases with the extent of media coverage. Second, mass shootings account for a
   small portion of all gun deaths, but have an outsized influence relative to other
   homicides. Third, when looking at bills that were actually enacted into law, the impact of
   mass shootings depends on the party in power. The annual number of laws that loosen gun
   restrictions doubles in the year following a mass shooting in states with Republican-
   controlled legislatures. We find no significant effect of mass shootings on laws enacted when
   there is a Democrat-controlled legislature, nor do we find a significant effect of mass
   shootings on the enactment of laws that tighten gun restrictions.




    We thank Joseph Hall and Jessica Li for excellent research assistance.


                                                          1
                                                   Exhibit 11
                                                     0333
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4063 Page 116 of 171




   1. Introduction

          Recent decades have witnessed a series of high-profile mass shootings throughout the

   United States. While most homicides receive little attention from the public, mass shooting

   incidents are extremely salient. Nonetheless, a common and frequently articulated view is that

   despite extensive discussion about mass shootings, they have little influence on policymaking.

          Should we expect policymakers to propose new legislation in the wake of a mass shooting?

   Given that the vast majority of gun deaths do not result from mass shootings, it would be difficult

   to reconcile large responses to mass shootings with basic models of optimal policy aimed

   exclusively at reducing gun violence. However, mass shootings may have another effect—bringing

   attention to the issue of gun violence. Mass shootings could potentially lead to policy changes by

   focusing attention on gun violence, even if they do not provide new information regarding effective

   policy or change politicians’ preferences.

          Political scientists have noted that issues tend to rise and fall in importance within a policy

   agenda, creating periods in which specific policies shift very rapidly and other periods in which

   they do not change at all (Baumgartner and Jones 1993, Kingdon 1984). In the context of gun

   violence, events like the Columbine High School shooting in Colorado have led to calls for new

   restrictions on guns as well as vehement responses from groups that oppose such changes and

   favor the loosening of gun laws (Goss 2006; Spitzer 2012). More generally, mass shootings may

   create “policy windows” during which legislatures become receptive to change—potentially due

   to shifts in the attention of the media and constituents. Nonetheless, the extent to which mass

   shootings affect policy and the nature of the resulting changes are empirical questions.




                                                     2
                                                Exhibit 11
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4064 Page 117 of 171



          In this paper, we explore the impact of mass shootings on gun policy, constructing a dataset

   of all U.S. gun legislation and mass shootings over a period of twenty-five years (1989–2014)—

   combining data from a variety of media and government sources. We begin by looking at the extent

   of deaths resulting from mass shootings relative to other gun deaths. Overall, there are more than

   30,000 gun related fatalities in the United States per year. Approximately 56% of these are suicides

   and 40% are homicides. The remaining 4% are accidents or incidents of undetermined intent. Mass

   shootings accounted for about 0.13% of all gun deaths and 0.34% of gun murders between 1989

   and 2014.

          Because mass shootings are salient and plausibly random occurrences, we are able to

   implement a difference-in-differences strategy around the timing of mass shootings to estimate

   their causal impact on gun regulation. Specifically, we compare gun laws before and after mass

   shootings, in states where mass shootings occur relative to all other states.

          We then present three main findings about the impact of mass shootings on policy. First,

   mass shootings evoke large policy responses. A single mass shooting leads to an approximately

   15% increase in the number of firearm bills introduced within a state in the year after a mass

   shooting. This effect is largest after shootings with the most fatalities and is greatest in the

   Republican-controlled legislatures.

          Second, although mass shootings account for a small portion of all gun deaths, they have

   an outsized influence relative to other homicides. Our estimates suggest that the per-death impact

   of mass shootings on bills introduced is much larger than the impact of gun homicides in non-mass

   shooting incidents.

          Third, when looking at enacted laws, the impact of mass shootings depends on the party in

   power. A mass shooting roughly doubles the number of laws enacted in a year that loosen gun




                                                     3
                                              Exhibit 11
                                                0335
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4065 Page 118 of 171



   restrictions in states with Republican-controlled legislatures. We find no significant effect of mass

   shootings on laws enacted when there is a Democrat-controlled legislature. We also find no

   significant effect of mass shootings on the number of enacted laws that tighten gun restrictions.

          These findings contribute to the political economy literatures on public attention,

   accountability, policymaking, and law. Empirical research on policymaking emphasizes that

   factors beyond social welfare—such as ideology, opportunism, and fiscal considerations—

   influence policy (Makowsky and Stratmann 2009; Bardhan and Mookherjee 2010). As we show,

   mass shootings cause intense legislative activity despite accounting for less than 1% of firearm

   deaths, suggesting factors beyond optimal deterrence affect debates concerning gun policy.

          Additionally, our results contribute to the literature on issue selection and salience, which

   examines when and why politicians emphasize or downplay elements of their policy platform

   (Riker 1996; Petrocik 1996; Dragu and Fan 2016). Our finding that Republican-controlled states

   loosen restrictions on firearms following mass shootings is consistent with the literature’s

   prediction that politicians in the majority tend to focus policymaking on issues they “own”—i.e.

   those which they have a reputation for successfully handling in the interests of their constituents.

   Using this definition, and at least during our sample period, Republicans do appear to have

   “owned” the gun issue (Goss 2006).

          Finally, our results relate to the literature on media and public attention (Eisensee and

   Strömberg 2007; Durante and Zhuravskaya 2018). We find that mass shootings receive

   considerable media attention and that this attention is correlated with the number of gun bills

   introduced following mass shootings, suggesting that increased attention is a plausible mechanism

   for the higher levels of legislative activity we observe following mass shootings. This sheds light




                                                    4
                                              Exhibit 11
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4066 Page 119 of 171



   on the role of attention and salience in policymaking, and on the interaction between issue salience

   and political preferences in shaping the degree and direction of enacted policies.



   2. Background and Data

           As described above, of the roughly 30,000 annual gun deaths in the United States, fewer

   than 100 occur in mass shootings. For the purpose of this paper, we define a “mass shooting” as

   an incident in which 4 or more people, other than the perpetrator(s), are unlawfully killed with a

   firearm in a single, continuous incident that is not related to gangs, drugs, or other criminal activity.

   This definition closely matches the one used by Krouse and Richardson (2015) and the FBI’s

   definition of “mass murder” as 4 or more murders “occurring during the same incident, with no

   distinctive time period between the murders… typically involv[ing] a single location” (Morton

   and Hilts 2008). We further restrict our analysis to cases where at least three of the fatalities were

   individuals unrelated to, and not romantically involved with, the shooter(s). We include spree

   murders—homicides at multiple locations without a significant pause between incidents —if they

   result in four or more deaths.

           We assemble a list of mass shootings since 1989 from a variety of government and media

   sources because there is no single, comprehensive government database of mass murders. We first

   extract all gun-related mass murders (four or more dead) that are not felony related from the FBI

   supplementary homicide reports (SHR). We then verify each incident in the SHR using media

   accounts; the SHR may contain errors in which separate homicides in a month are reported as a

   single incident, which is why it is necessary to verify the incidents with media coverage.

   Participation in the SHR program is voluntary and many law enforcement agencies do not report

   detailed data to the FBI. We therefore supplement the FBI data with mass shootings gathered from



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                                                Exhibit 11
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4067 Page 120 of 171



   media accounts or compiled by other researchers and journalists interested in the topic.

   Specifically, we combine the SHR data with data on mass shootings collected by the Mass

   Shootings in America (MSA) project at Stanford University (Stanford Geospatial Center and

   Stanford Libraries 2015) and a list created by USA Today (2013). For each shooting, we determine

   the event location as well as the number of victim fatalities and injuries. We also classify shootings

   based on the relationship (if any) between the alleged shooter(s) and victims. Previous work on

   mass shootings (Duwe 2007; Krouse and Richardson 2015) distinguishes between public mass

   shootings that occur in places frequented by the public, felony-related murders, and familicide.

   We categorize shootings by whether they are public events or primarily related to domestic

   conflicts, and we focus on incidents in which at least three people not related or romantically

   involved with the shooter died. This restriction filters out family-killings in residences as well as

   family-related murders in public places.1

           Figure 1 shows the number of incidents and fatalities in mass shootings by year. The data

   show a slight upward trend in the number of incidents and fatalities over time, but both incidents

   and fatalities vary substantially from year to year. Figure 2 shows a map of the locations of mass

   shootings in the United States between 1989 and 2014.


   2.2. Gun Legislation
           State governments are the primary regulators of firearms. Federal laws establish a

   minimum level of gun control, which is augmented to varying degrees by state and local policies.

   The federal government has put some restrictions on firearm commerce, the possession of guns by

   potentially dangerous individuals, and ownership of certain types of firearms and ammunition.




   1A 2006 shooting at a church in Louisiana is one example. A man killed his wife and in-laws while abducting
   her and their children from a church. Only the wife’s family was present at the church during the shooting.


                                                       6
                                                Exhibit 11
                                                  0338
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4068 Page 121 of 171



   States decide a variety of gun policies ranging from who can purchase and possess a gun to what

   types of guns are allowed in different situations to how guns should be stored and what types of

   training should be undertaken by gun owners. Local ordinances can also restrict firearm possession

   and use, but state statutes enacted in the past few decades have limited the importance of local

   government in this arena by pre-empting local regulations.

            We create a comprehensive dataset of gun legislation in all fifty states using the bill

   tracking reports service from LexisNexis, which includes all bills introduced in state legislatures

   since at least 1990 with a synopsis and timeline of each bill’s progress. This allows us to determine

   whether bills pass the legislature and become law. We identify firearm bills by searching for the

   firearm-related terms “firearm”, “handgun”, “pistol”, “revolver”, “rifle”, “shotgun”, “long-gun”,

   and “assault weapon.” We identify 20,409 firearm bills and 3,199 laws between 1990 and 2014.

   In other words, there were 20,409 proposals made and 3,199 laws passed in the twenty-five-year

   sample period across all fifty states. This includes laws that loosen or tighten gun restrictions, and

   many that do neither or both. We exclude resolutions, executive orders, and ballot initiatives from

   the analysis.2 Figure 3 shows the total number of bills introduced and laws enacted by year.

            To explore whether gun control is tightened or loosened after mass shootings, we hired

   eight people to manually code the summary of bills that became law. Coders were given

   instructions explaining how to code legislation, but were otherwise blind to the topic and design

   of the study. We presented bill summaries from LexisNexis to coders in randomly chosen groups




   2 Our data source—Lexis Advance—includes resolutions, but it’s unclear whether it includes all executive

   orders or ballot initiatives. Including those we do have along with all resolutions does not meaningfully change
   the results—the correlation between our measure of legislation and a measure including these other actions is
   0.99. In addition, legislators in some states first submit ideas for bills in the form of a “draft request” or similar
   document. We exclude these from our analyses because they result in double counting some legislation. We
   instead focus only on actual bills.


                                                             7
                                                     Exhibit 11
                                                       0339
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4069 Page 122 of 171



   of 50. Two people coded each summary, and no coder saw the same summary multiple times. For

   each summary, coders decided whether the bill was tightening (stricter gun control), loosening

   (weaker gun control), uncertain (insufficient information), both tightening and loosening, or

   neither tightening nor loosening (neutral). There were therefore five possible labels for bills:

   tighten, loosen, both, neutral, or uncertain. Appendix A shows example bill summaries and their

   expected labels.

          To cross-validate (and incentivize) the bill coding, we coded a small fraction of bills

   ourselves as a baseline comparison point. For this process, we blinded ourselves from any

   information about when or where the bill was proposed. We then used our scores to assess the

   quality of coders. Specifically, each group of 50 bills given to a coder contained five bills that we

   had also coded (they did not know which bills were and weren’t coded by us, and did not have

   access to any of our assessments of whether a bill was looser or tighter). Coders were paid up to a

   50% bonus based on the extent to which their coding matched ours (which we simply told them

   was a “gold standard” of known codes).

          Across all five categories, the two coders for each bill agreed with each other 52% of the

   time (the agreement rate would be 20% by chance) and agreed with the gold standard 71% of the

   time. Coders performed worst on the neutral category, and best on the tighten-only and loosen-

   only categories; when a bill tightens gun control (according to the gold standard), the two coders

   agree on tightening 67% of the time, and when a bill loosens gun control, they agree on loosening

   60% of the time. The fact coders were not able to agree on a category for 48% of laws reduces the

   sample available for analysis and is a limitation of our study. In principle, laws might be unclear

   for coders either because the law is relatively minor and intended to be window dressing, or

   because it was complicated for the coders to read (leading to coder errors or ambiguity). To




                                                    8
                                              Exhibit 11
                                                0340
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4070 Page 123 of 171



   explore, we compared 100 random laws that coders disagreed about to 100 they agreed on. We

   then classified each as a minor (e.g. convening a committee to study an issue) or major (e.g.

   allowing guns in schools) policy change. We find a similar number of minor laws in both samples,

   suggesting that coder disagreement likely results from coder inattention rather than laws being

   especially likely to be minor policy changes. We do not see differences in the rate of disagreement

   among coders about laws enacted in the wake of a mass shooting, relative to laws enacted at other

   times. Appendix A includes a breakdown of the coding for all 3,199 laws, further discussion of

   coder agreement, and examples of bills that coders found difficult.

           Most importantly for the purposes of our analysis, however, is that when the two coders of

   a bill agree with each other on tightening, they also agree with our coding 93% of the time; when

   the two coders agree on loosening, they are consistent with our scores 91% of the time. When

   analyzing the direction of policy change, we leverage this high degree of reliability by restricting

   our analysis to laws that coders agreed were designed to tighten or loosen gun control.3 Because

   states can pass either, none, or both types of laws in a year, our dependent variable is the count of

   laws in each direction.

           Figure 4 shows mean bills introduced, laws enacted, and tightening and loosening laws by

   political control of the state legislature. Republicans enact more laws loosening gun control, and

   fewer laws tightening gun control, than do Democrats. Republican, Democratic, and split

   legislatures enact a similar number of total gun laws. The coders who classified the legislation

   were only given summaries of each bill; they were not provided with the state, year, or any

   information on political affiliation.



   3This is 37% of all enacted laws in our data. As mentioned, nearly half of laws cannot be categorized because
   coders disagreed on the classification. Another 13% are not used because coders agreed they were neutral or
   uncertain.


                                                        9
                                                 Exhibit 11
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4071 Page 124 of 171



   2.3. Control Variables
          Our main specification controls for state and year fixed effects, as well as an indicator for

   whether the legislature is in a regular session in the given year, and whether it is the first year of a

   legislative biennium (since bills are more likely to be enacted then). Specifically, we create two

   dummy variables. First, we create a dummy for legislatures that held a regular session in a given

   year because not all legislatures meet annually. Legislatures that are not in regular session would

   have to rely on special sessions, which can be difficult to call, in order to consider new gun

   legislation (though some do this). Second, we control for the first year of each legislative biennium

   (a two-year period of law making), which varies by whether states hold elections in odd or even

   years. Typically, more bills are introduced during the first year of the biennium, which leads to

   alternating years of high and low bill introductions (Figure 3). Building on this main specification,

   we then add time varying controls as a robustness check. These include economic and demographic

   factors such as unemployment, divorce rates, and rates of military service. We then layer on

   controls for the political party in power, since the direction of proposed changes often vary between

   Democrats (who generally favor more restrictive gun laws) and Republicans (who generally favor

   less restrictive gun laws). Table 1 contains summary statistics for all variables used in the analyses.



   3. The Impact of Mass Shootings on Gun Policy

   3.1 Identification Strategy
          We implement a difference-in-differences strategy that compares gun laws before and after

   mass shootings, in states where mass shootings occur relative to all other states. Our dependent

   variables are counts of bills or enacted laws at the state-year level. We study the effect of mass

   shootings using Poisson regressions with conditional mean:



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                                               Exhibit 11
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4072 Page 125 of 171



              E"𝑦$,& '𝛼$ , 𝜆& , 𝑆ℎ𝑜𝑜𝑡$,&./ , 𝑋$,& 1 = exp6𝛼$ + 𝜆& + 𝛿$ 𝑡 + 𝛽 𝑆ℎ𝑜𝑜𝑡$,&./ + 𝛾 < 𝑋$,& =

   where 𝑦$,& is a count of bills introduced or laws enacted in state 𝑠 and year 𝑡; 𝛼$ and 𝜆& are state

   and year fixed effects; the 𝛿$ 𝑡 are state-specific time trends; 𝑆ℎ𝑜𝑜𝑡$,&./ is either an indicator for

   states with a mass shooting or the fatality count in mass shootings, and 𝑋$,& is a vector of time-

   varying political, economic, and demographic factors. We estimate the parameters via maximum

   likelihood by conditioning on the sum of 𝑦$,& within states and including year indicators.4

           Our identification allows us to measure the impact of a mass shooting within that state,

   controlling for other changes that are happening at the national level. Because this identification

   strategy does not identify national responses to mass shootings (which would be absorbed by our

   year effect), our estimates of changes in gun policy may underestimate the total impact of a mass

   shooting. We can and do account for potential spillovers into neighboring states, but do not see

   significant spillover effects; these results are presented in Appendix B.


   3.2 The Effect of Mass Shootings on Gun Bill Introductions
           Table 2 shows that a mass shooting leads to a 15% increase in firearm bills introduced

   (column 4). For the average state, this amounts to an additional 2.4 firearm bills introduced in the

   year following a mass shooting. Mass shootings with more deaths lead to larger effects. On

   average, each additional death in a mass shooting leads to a 2.3% increase in the number of gun

   bills introduced (column 8). These results hold for both Republican-controlled and Democrat-

   controlled legislatures, for alternative victim thresholds used to define mass shootings, models that



   4 It is possible that the number of bills introduced in a given year within a state would depend on the number

   introduced in recent years in ways that we do not capture with the state fixed effects or time trends. To allow
   for this possibility, we also estimated an exponential feedback model in which past legislative activity can affect
   current activity. Our results suggest past legislation does not substantively affect current legislation; state fixed
   effects adequately capture time series persistence in legislation and the coefficient estimate for the impact of
   mass shootings is similar in the exponential feedback model.


                                                            11
                                                     Exhibit 11
                                                       0343
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4073 Page 126 of 171



   examine the year of the shooting in addition to the previous year, and models that use the log of

   fatalities instead of the count.5


   3.3 Comparing Mass Shootings and Non-Mass Shootings
           Table 3 shows that fatalities resulting from mass shootings lead to much larger increases

   in gun bill introductions than gun homicides in non-mass shooting incidents. We estimate the

   models in this table using mass shooting fatalities and ordinary gun homicides per 100,000 people

   to facilitate comparison between the two types of murder. Our estimates are imprecise, but suggest

   it would take approximately 125 people dying in individual gun homicide incidents to have as

   much impact on bills introduced as each person who dies in a mass shooting. There are, however,

   a number of caveats to this estimate. First, ordinary gun homicides are less random than mass

   shootings and therefore not exogenous in the model. Second, the victims of mass shootings and

   ordinary gun homicides have different attributes; the impact of mass shootings is not easily

   decomposed into the effect of victim count, media salience, and attributes of the victims. Any

   differences in response between ordinary and mass shootings could be driven in part by attributes

   of the victims. Our estimates, however, are still suggestive evidence that mass shootings tend to

   have a greater impact on legislative activity than changes in the ordinary gun homicide rate.


   3.4 The Role of Political Party on Laws Enacted
           As mentioned previously, the two major political parties in the United States differ

   dramatically in their stances on how restrictive gun policy should be, with the Republican Party

   favoring fewer gun restrictions.6 To look at the impact of political parties on gun policy, we restrict



   5 Results by political affiliation are presented in Table 4 and discussed in section 3.4 below. Results using

   alternative victim thresholds for the definition of mass shooting (e.g. 5+, 7+, 10+ deaths) and alternative models
   are available from the authors upon request.
   6 See, for example, https://www.gop.com/platform/ and https://www.democrats.org/party-platform.




                                                          12
                                                   Exhibit 11
                                                     0344
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4074 Page 127 of 171



   our analysis to enacted laws, all of which were coded for whether they loosened or tightened gun

   restrictions (see data description for more details).

           Tables 4 and 5 show the effect of mass shootings interacted with Democrat and Republican

   control of state legislatures. The results show that Democrats and Republicans respond differently

   to mass shootings. Table 4 shows that Republicans introduce 48% more bills and Democrats

   introduce 11% more bills following mass shootings than in other years, although the coefficient

   for Democrats is not statistically significant.7 The results also indicate that Republican legislatures

   enact 32% more laws the year after a mass shooting than in other years, a statistically significant

   increase. Democratic legislatures enact 7% more laws the year after a mass shooting, but this

   estimate is imprecise and not statistically significant.8

           When there is a Republican-controlled legislature, mass shootings lead to more firearm

   laws that loosen gun control (Table 5). Our point estimates indicate that a mass shooting in the

   previous year increases the number of enacted laws that loosen gun restrictions by 115% in states

   with Republican-controlled legislatures. When there is a Democrat-controlled legislature, mass

   shootings lead to a statistically insignificant reduction in laws that loosen gun control. This result

   is similar across models using the count of fatalities instead of a shooting indicator, across

   alternative victim thresholds, with or without year fixed effects, with or without control variables,

   and when we include only a limited set of controls. 9 We find no significant effects of mass

   shootings on laws that tighten gun restrictions, but the estimates are imprecise.




   7 The difference between Republicans and Democrats is statistically significant at the 0.05 level.
   8 The difference between Republicans and Democrats in terms of enacted laws is not statistically significant.
   Without interacting mass shooting with political party, there is a 9% increase in gun laws enacted (i.e. bills that
   become law) after a mass shooting relative to other years, but this estimate is imprecise (Appendix C).
   9 Available from authors upon request. The coefficients tend to be larger in magnitude for shootings resulting

   in more deaths (e.g. a dummy for shootings that causes 6–9 deaths has a larger coefficient than a dummy for
   shootings causing 4–5 deaths). The effect for tightening laws is statistically significant and positive—for both


                                                           13
                                                    Exhibit 11
                                                      0345
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4075 Page 128 of 171



           The finding that Republicans—who typically favor fewer restrictions on gun owners—are

   more active in introducing and passing new legislation following mass shootings is consistent with

   hypotheses in the literature on how issue salience affects policy decisions (Riker 1996; Petrocik

   1996; Dragu and Fan 2016). These models of issue selection suggest that Republican-controlled

   legislatures might respond to increased attention to gun policy by introducing new legislation

   because Republican voters: (a) tend to be in favor of expanding gun rights and access to guns

   (Parker et al. 2017), (b) often argue that such actions reduce gun crime (Parker et al. 2017), and

   (c) are more likely than Democratic voters (during our sample period) to mobilize for political

   action on this issue (Goss 2006).10 Research suggests that supporters of gun rights are more likely

   to advocate for their positions by writing letters or donating money (Schuman and Presser 1981)

   and are better-organized than citizens favoring gun control; membership in pro-gun-control

   organizations, for example, is less than 10% of the National Rifle Association’s membership (Goss

   2006).11

           Anecdotally, there are several examples of Republican lawmakers proposing looser gun

   laws in response to mass shootings. In the year after the mass shooting at Marjory Stoneman

   Douglas High School, Florida passed legislation allowing teachers and volunteers to carry guns in

   schools. Republican Rep. Chuck Brannan explained the rationale: “It allows the good guys to stop

   the bad. The bad guys will never know when the good guys are there to shoot back.”12 Similarly,

   Texas expanded its school marshal program, which trains teachers to carry weapons, the year after




   Democrats and Republicans—only for shootings causing 10+ deaths. This result, however, is identified from
   only 11 state-year observations due to the rarity of mass shootings that kill 10 or more people.
   10 Republicans appear more likely than Democrats to enact new gun legislation in the absence of a mass

   shooting (see Table 4, 𝑝 = 0.08).
   11 Goss (2006) further analyzes the reasons why gun rights organizations have been better organized and more

   successful than gun control advocates.
   12 Anderson, Curt. “Florida lawmakers pass bill allowing more armed teachers.” AP News. 1 May 2019.




                                                       14
                                                 Exhibit 11
                                                   0346
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4076 Page 129 of 171



   a shooting at Santa Fe High School. Republican Rep. Tony Tinderholt suggested that “what stops

   people with guns is other people with guns.”13

              Overall, the observed effects of mass shootings in Republican-controlled states on bill

   introductions, laws enacted, and loosening laws suggest that there are relevant changes to gun

   policy following mass shootings. However, it is possible that mass shootings also lead to an uptick

   in minor proposals as well; legislators may want to signal that they are making changes even if the

   new laws have only unsubstantial effects on policy in practice. To further examine this possibility,

   we look at the impact of mass shootings on laws our coders agreed where neutral since these tend

   to be more minor proposals (e.g. changing the official responsible for storing certain records). As

   seen in Appendix D, we do not see statistically significant changes in the number of neutral law

   changes, although the point estimate is positive.


   3.5 Media Coverage and Mass Shootings
              To explore the potential role of media in increasing the salience of mass shootings, we

   assemble a dataset of television news coverage related to guns. We measure the seconds of gun-

   related news coverage on the national, evening news programs of the three major television

   networks—NBC, ABC and CBS—using data from the Vanderbilt Television News Archive

   (VTNA).14 This source has been used in prior research to measure media attention to natural

   disasters (Eisensee and Strömberg 2007) and the Israeli-Palestinian conflict (Durante and

   Zhuravskaya 2018). We exclude cable news networks because data on their news coverage is not

   available for our sample period. To calculate total gun-related news coverage, we take all news

   segments that mention gun-related words in either the segment title or summary provided by




   13   Vertuno, Jim. “Texas seeks more armed school personnel after mass shooting.” AP News. 7 May 2019.
   14   The Vanderbilt Television News Archive is accessible online at https://tvnews.vanderbilt.edu.


                                                         15
                                                   Exhibit 11
                                                     0347
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4077 Page 130 of 171



   VTNA and exclude segments that include the names of foreign countries. 15 We then sum the

   duration of these news stories by day to create a measure of total gun-related news coverage.

              To capture variation in news coverage across shootings, we aggregate news coverage in

   the ten days following each mass shooting (including the day of the shooting). The five most

   covered mass shootings between 1989 and 2014 are the shootings at Sandy Hook Elementary

   School, a Gabrielle Giffords constituent meeting, Virginia Tech, an Aurora movie theater, and

   Columbine High School.

              Mass shootings increase gun-related media coverage, and shootings that kill more people

   result in more coverage. Figure 5 shows total seconds of evening news coverage devoted to gun-

   related stories around the time of mass shootings. Mass shootings resulting in 10 or more fatalities

   receive substantially more coverage than shootings resulting 6–9 fatalities, which in turn receive

   more coverage than shootings with 4–5 fatalities. Appendix E provides further support for this

   relationship in the form of regression results.

              To examine whether the amount of gun-related news coverage following a mass shooting

   affects policy, we add the measure of media coverage to our model by totaling the amount of gun-

   related news coverage following each shooting within a state during the previous year. The results

   in Table 6 show that the coefficient on news coverage is positive and statistically significant,

   indicating that more media attention is associated with a greater policy response. One hour of gun-

   related news coverage following a mass shooting is associated with a 13 percent increase in the

   number of gun-related bills introduced in state legislatures (column 4). This suggests that increased

   salience of gun policy after mass shootings is a plausible mechanism for the relationship between

   shootings and gun legislation. Media coverage, however, is strongly related to the number of



   15   This filter removes news stories about foreign wars.


                                                           16
                                                    Exhibit 11
                                                      0348
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4078 Page 131 of 171



   fatalities (see Figure 5), making it difficult to distinguish the impact of media coverage from other

   attributes of the shooting event.

          Unlike other studies of the media’s effect on public policy (Eisensee and Strömberg 2007;

   Durante and Zhuravskaya 2018), our ability to detect policy responses to gun-related news

   coverage is limited by the small number of events and by the delay between when a mass shooting

   occurs and when legislatures can act, which is usually not until the next legislative session. The

   natural disasters studied by Eisensee and Strömberg (2007) and military attacks studied by Durante

   and Zhuravskaya (2018) number in the thousands, whereas we observe 169 mass shootings.

   Furthermore, these authors focus on executive actions—whether to provide disaster relief

   (Eisensee and Strömberg 2007) or launch a military attack (Durante and Zhuravskaya 2018)—that

   can be taken within hours or days of an event and accompanying news story. Legislative action on

   the other hand must wait until a legislature is in session and rules allow for the introduction of new

   bills. Our results overall, however, show that attention shifts to gun violence following mass

   shootings, and shootings that kill more people receive more media attention. These shifts in

   attention are a plausible mechanism behind increased legislative activity related to guns in the year

   following mass shootings


   3.6 Robustness Checks
          In this section, we present four sets of robustness checks. First, we collapse our data into

   two-year intervals (e.g. by legislative biennium) to ensure the saw-edge pattern in bill introductions

   (see Figure 3) does not drive our results. Second, we provide support for the exogeneity of mass

   shootings. Third, we perform a falsification exercise in which we use randomly generated placebo

   shootings instead of actual shootings; we show there are no effects using the placebo shootings,

   providing support for our identification strategy. Fourth, we individually drop each state from the



                                                    17
                                              Exhibit 11
                                                0349
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4079 Page 132 of 171



   sample and re-estimate the models to ensure our effect is not driven by a single state or shooting

   event.


   3.6.1 Analysis by Legislative Biennium

            Figure 3 shows that bill introductions vary substantially between odd- and even-numbered

   years. We believe this pattern is driven by most states starting their two-year legislative biennium

   in odd-numbered years, following elections in November of even-numbered years. Many states

   allow legislators to “carryover” bills that do not pass in the first year of the biennium for

   consideration in the second year. This means the agenda in the second year of each biennium

   includes both newly introduced bills and bills introduced the previous year that have been carried

   over.16 Our models control for this pattern by including both year fixed effects and an indicator for

   the first year of each biennium. To ensure this pattern does not drive our results, however, we

   estimate models that collapse the data to two-year intervals and regress the total number of bills

   introduced on the mean of mass shootings (e.g. a variable equal to one if both years of the biennium

   follow a mass shooting and equal to 0.5 if only one year of the biennium follows a mass shooting).

   The results are shown in columns 3 and 7 in Table 2, and column 3 in Tables 3 and 6. The

   coefficient estimates are less precise, but remain statistically significant and suggest similar effect

   sizes. The estimate in column 3 of Table 2, for example, suggests mass shootings lead to the

   introduction of 3.5 more bills for an average state.


   3.6.2 Determinants of Mass Shootings

            Our ability to identify the causal impact of mass shootings on policy rests on the

   assumption that they are plausibly exogenous to other factors that would drive gun control in a



   16Our analyses count each bill once, including it only in the year it was introduced. We count enacted laws in
   the year of enactment.


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                                                  Exhibit 11
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4080 Page 133 of 171



   given year. Given the erratic nature of mass shootings, this is a plausible assumption. Nonetheless,

   one might be concerned that both mass shootings and gun policy are being driven by a third

   variable. To provide support for our assumption and interpretation, we regress an indicator for

   whether a mass shooting occurs on economic, demographic, and policy variables.

          Consistent with the assumption that mass shootings are exogenous with respect to potential

   confounds, the results in Appendix F show that, out of 32 variables we consider, only

   unemployment is significantly associated with a higher probability of mass shootings. Because

   higher unemployment is also associated with a reduction in gun bill introductions (Table 2), the

   potential bias of this would work in the opposite direction of our finding—making it unlikely that

   this is driving our results. To further support our interpretation, we control for unemployment in

   all models. Importantly, bills introduced, laws enacted, and major gun policies do not predict future

   mass shootings (Appendix F).


   3.6.3 Placebo Tests

          We perform a falsification exercise based on the insights of Bertrand, Duflo, and

   Mullainathan (2004) and Donald and Lang (2007). Specifically, we randomly assign placebo mass

   shootings to state-years in which no actual shooting occurred with probability equal to each state’s

   frequency of shootings, and randomly draw a fatality count from the empirical distribution of

   fatalities. Appendix G shows percentiles of the test statistic based on 1,000 repetitions of this

   procedure and our actual test statistics from Tables 2 and 5. The results suggest our tests do not

   over-reject the null hypothesis that mass shootings have no effect on gun policy.


   3.6.4 Excluding Individual States

          To ensure our results are not driven by a single state or shooting, we separately remove

   each state from the sample and re-estimate the models. Appendix H presents graphs of the resulting



                                                    19
                                              Exhibit 11
                                                0351
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4081 Page 134 of 171



   50 coefficients for the effect of mass shootings on bills and laws, and coefficients for the

   Republican and Democrat interaction terms in our analysis of laws that tightened or loosened gun

   policy. The results show that dropping individual states has little effect on our estimates.



   4. Discussion

          Mass shootings account for a small fraction of gun deaths in the United States, but have a

   significant impact on gun policy. More gun laws are proposed in the year following a mass

   shooting. Furthermore, mass shootings seem to have much larger effects on policy, per fatality,

   than do ordinary gun homicides. These results are broadly consistent with qualitative research that

   has hypothesized the possibility of mass shootings precipitating change. For example, Godwin and

   Schroedel (1998) argue that the Stockton schoolyard massacre in 1989 led to the enactment of

   California’s assault weapons ban. We find large sample empirical evidence that sporadic events

   such as mass shootings can lead to major policy changes.

          We also find that media coverage related to guns increases following mass shootings and

   that Democrat-controlled and Republican-controlled legislatures differ significantly when it comes

   to enacting gun laws. Republicans are more likely to loosen gun laws in the year after a mass

   shooting than in other years. The effect for Democrats, which tends toward a reduction in the

   loosening of gun restrictions after a mass shooting, is statistically insignificant. This result aligns

   with the prediction from the political economy literature on issue selection, that political parties

   emphasize issues that they have a reputation for successfully handling in the eyes of their

   constituents (Riker 1996; Petrocik 1996; Dragu and Fan 2016).

          Our findings raise a number of additional questions, and suggest several directions for

   future research. First, future research might directly explore the preferences of politicians.



                                                     20
                                               Exhibit 11
                                                 0352
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4082 Page 135 of 171



   Republican legislatures could loosen gun restrictions because Republican politicians themselves

   prefer looser restrictions (as would be the case in a citizen-candidate model) or due to pressure

   from constituents or interest groups. Consistent with this latter possibility, and our findings, survey

   evidence suggests that those opposed to increased gun control are more likely than those in favor

   of additional restrictions to take actions like writing a letter or donating money to support their

   side (Schuman and Presser 1981). If constituent preferences are driving results, we might expect

   increased loosening of gun policies in areas with higher rates of gun ownership. To provide

   exploratory evidence, Appendix I shows the results from adding a proxy for gun ownership to the

   models. Following Cook and Ludwig (2006), we calculate the percentage of suicides that are

   firearm related as a proxy for gun ownership and interact this variable with the mass shooting

   indicator. The coefficient on this variable is not significant either in isolation or when added to the

   specification with all political interactions. This suggests that changes in support for guns (as

   proxied by gun ownership) is not the main driver of the policy changes.

          Second, our estimates focus on the impact on policy within the state in which each shooting

   took place. Some mass shootings get national media attention and potentially affect policy

   nationwide, a result that would not be identified by our fixed effects model. One direction for

   future research is to develop strategies to identify national responses. With respect to our findings,

   this suggests that the total impact of mass shootings on gun policy may be even larger than our

   estimates.

          Third, there is a large literature on the impact of gun policies on crime (Duggan 2001;

   Ludwig and Cook 2000; Ludwig and Cook 2003; Abrams 2012; Luca, Malhotra, and Poliquin

   2017). While some gun policies have been extensively researched, many have been difficult to

   study, which complicates analysis of which policies would be most effective. The relationship we




                                                     21
                                               Exhibit 11
                                                 0353
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4083 Page 136 of 171



   find between mass shootings and gun policy raises the possibility of using mass shootings as an

   instrumental variable to further study the impact of gun laws on gun deaths. Unfortunately, in our

   sample, mass shootings are not a sufficiently strong instrument to estimate the effects of gun policy

   on gun deaths, due to their relative infrequency. (Appendix J presents results of this analysis.) This

   leaves open the possibility of using salient and plausibly random events to instrument for policy

   changes in future research.

          Overall, our results show that even random and infrequent events that account for a

   relatively small portion of total societal harm (as measured by fatalities in the current study) might

   nonetheless be crucial levers for policy consideration and change. This does not imply that

   politicians and policy makers are over-reacting; it may be that on issues where there is usually

   political deadlock, salient events create opportunities for change that has been sought all along.

   Whether these changes reflect appropriate responses to the problem remains an open question.




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                                              Exhibit 11
                                                0354
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4084 Page 137 of 171




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                                                 23
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Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4085 Page 138 of 171



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                                                  24
                                             Exhibit 11
                                               0356
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4086 Page 139 of 171



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                                             Exhibit 11
                                               0357
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4087 Page 140 of 171




   Figures

                                                                                                             Mass Shooting Fataliites
                           80


                           60
     Fatalities




                           40


                           20


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                                       1990

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                                                                                                             Mass Shooting Incidents
                           12
     Number of Shootings




                           10

                            8

                            6

                            4

                            2
                                1989

                                       1990

                                              1991

                                                     1992

                                                            1993

                                                                   1994

                                                                          1995

                                                                                 1996

                                                                                        1997

                                                                                               1998

                                                                                                      1999

                                                                                                               2000

                                                                                                                      2001

                                                                                                                             2002

                                                                                                                                    2003

                                                                                                                                           2004

                                                                                                                                                  2005

                                                                                                                                                         2006

                                                                                                                                                                2007

                                                                                                                                                                       2008

                                                                                                                                                                              2009

                                                                                                                                                                                     2010

                                                                                                                                                                                            2011

                                                                                                                                                                                                   2012

                                                                                                                                                                                                          2013

                                                                                                                                                                                                                 2014
                                                                                                                        Year




   Figure 1 Mass shooting incidents and fatalities by year, 1989-2014. The upper panel shows the number of fatalities
   in mass shootings in which at least 3 people not related or romantically connected to the shooter were killed. The
   bottom panel shows the number of these incidents. Washington, D.C. is not included in the sample.




                                                                                                                             26
                                                                                                              Exhibit 11
                                                                                                                0358
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4088 Page 141 of 171




                                                                                                     Shootings
                                                                                                        0
                                                                                                        1–2
                                                                                                        3–5
                                                                                                        6–9
                                                                                                        10+




   Figure 2 Locations of public mass shootings in the United States, 1989–2014. States are shaded based on the total
   number of shootings during the sample period. Points represent the locations of events.




                                                           27
                                                    Exhibit 11
                                                      0359
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4089 Page 142 of 171




   Figure 3 Total gun bills introduced and laws enacted by year, 1990–2014.




                                                          28
                                                   Exhibit 11
                                                     0360
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4090 Page 143 of 171




                                                    Bills Introduced                                  Laws Passed
                                22.5
                                                                                  3.0

                                20.0
    Mean Legislation per Year




                                                                                                           ●
                                                                        ●         2.7
                                                           ●
                                17.5                                                        ●


                                                                                  2.4
                                15.0
                                                                                                                       ●


                                                                                  2.1
                                12.5       ●




                                       Republican      Democrat        Split            Republican      Democrat      Split



                                                    Tightening Laws                                  Loosening Laws
                                 1.0                                             0.40


                                                                                 0.35
    Mean Legislation per Year




                                                           ●
                                                                                            ●
                                 0.8
                                                                                 0.30


                                                                        ●
                                                                                 0.25
                                 0.6                                                                                   ●


                                           ●                                     0.20                      ●




                                                                                 0.15
                                       Republican      Democrat        Split            Republican      Democrat      Split


   Figure 4 Comparison of annual legislation introduced by political party. Points represent the mean and lines are 95%
   confidence intervals. Legislature control means one political party includes both chambers of the legislature. The
   counts of tightening and loosening laws are based on laws with coder agreement (see section 2.2 of text).




                                                                                   29
                                                                               Exhibit 11
                                                                                 0361
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4091 Page 144 of 171




                                         400
      Average Seconds of News Coverage
                                         300
                                         200
                                         100
                                         0




                                                -16   -14     -12    -10     -8   -6   -4     -2     0      2      4    6   8   10   12   14   16
                                                                                       Days Relative to Mass Shooting


                                         (a) Coverage around time of mass shootings
                                         2000




                                                            4-5 Fatalities
                                                            6-9 Fatalities
      Average Seconds of News Coverage




                                                            10+ Fatalities
                                         1500
                                         1000
                                         500
                                         0




                                                -16   -14     -12    -10     -8   -6   -4     -2     0      2      4    6   8   10   12   14   16
                                                                                       Days Relative to Mass Shooting


                                         (b) Coverage by number of fatalities


   Figure 5 Evening news coverage related to guns before and after mass shootings. Panel (a) shows average coverage
   around the time of all mass shootings; panel (b) shows coverage around the time of shootings by the number of
   fatalities caused. News coverage is measured in seconds.




                                                                                                    30
                                                                                            Exhibit 11
                                                                                              0362
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4092 Page 145 of 171




   Tables

   Table 1: Summary Statistics
                                        mean         sd         p5      p10        p50        p90         p95
   Gun Legislation
     Bills introduced                   16.33    22.04           0         1         10         38          53
     Laws enacted                        2.56      3.35          0         0          1           6          9
     Tightening laws                     0.70      1.29          0         0          0           2          3
     Loosening laws                      0.25      0.62          0         0          0           1          1
   Gun Violence and Media
     Mass shooting                       0.12      0.32          0         0          0           1          1
     Fatalities                          0.72      2.40          0         0          0           4          5
     Gun homicide rate                   3.76      2.55       0.72      0.98      3.42        7.40       8.65
     News coverage                       0.06      0.34          0         0          0       0.06       0.29
   Political Controls
     Democratic legislature              0.42      0.49          0         0          0           1          1
     Republican legislature              0.34      0.47          0         0          0           1          1
     Republican governor                 0.53      0.50          0         0          1           1          1
   Institutional Controls
     Regular session                     0.94      0.24          0         1          1           1          1
     First year of biennium              0.48      0.50          0         0          0           1          1
   Demographic Controls
     Elderly (65+) %                     12.9       2.0        9.8      10.7      13.1        15.2       15.7
     Under 25 %                          35.1       2.7       31.4      32.2      34.8        38.0       39.5
     Black %                             10.3       9.5        0.6       0.8        7.4       26.4       30.1
     Hispanic %                           8.3       9.2        0.8       1.2        5.1       20.3       29.9
     Unemployment %                       5.7       1.9        3.1       3.5        5.4        8.1         9.3
     Income per capita                   19.1       3.3       14.1      15.0      18.7        23.3       25.8
     High school %                       85.2       5.2       75.7      78.4      86.1        91.2       92.0
     Veteran %                           11.8       2.4        7.9       8.8      11.8        15.0       16.1
     Divorce %                           11.8       1.8        8.9       9.5      11.8        14.1       14.7
   Note: Sample includes 1,250 state-year observations from 1990 to 2014. Bills introduced is the number of bills introduced
   in the legislature; Laws enacted is the number of bills that became law. Tightening and Loosening laws are numbers of
   enacted laws that tightened and loosened gun control respectively. Mass shooting is an indicator for state-years with a
   mass shooting in which three or more people not romantically involved with or related to the shooter(s) were killed.
   Fatalities is the total number of deaths in mass shootings in a state-year. The Gun homicide rate is expressed as deaths
   per 100,000 residents. News coverage is the hours of nightly news coverage of mass shootings occurring in a state.
   Democratic and Republican legislature are indicators for party control of the state legislature. Republican governor is an
   indicator for Republican governors. Regular session indicates whether the legislature convened a regular (as opposed to
   special) session to consider bills; some state legislatures only meet every other year. First year of biennium is an indicator
   for the first year of the two-year legislative biennium (the calendar year immediately following elections). Income per
   capita is measured in thousands of 1987 U.S. dollars. Other demographic variables are percentages.




                                                                31
                                                      Exhibit 11
                                                        0363
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4093 Page 146 of 171



 Table 2: The Effect of Mass Shootings on Gun Bill Introductions
  Dependent variable: number of firearm-related bills introduced in state legislature.
                                  (1)          (2)          (3)          (4)         (5)         (6)        (7)         (8)
 Mass Shooting                 0.145 **     0.153 **     0.198 *      0.143 **
                             (0.071)      (0.070)      (0.101)      (0.069)
 Fatalities                                                                       0.023 *** 0.024 *** 0.030 *** 0.023 ***
                                                                                (0.008)     (0.007)    (0.011)     (0.007)
 Regular Session               1.581 *** 1.572 *** -0.201 *           1.573 *** 1.596 *** 1.586 *** -0.181           1.580 ***
                             (0.389)      (0.394)      (0.115)      (0.411)     (0.378)     (0.384)    (0.118)     (0.401)
 First Year of Biennium        0.464 *** 0.462 *** 0.031              0.462 *** 0.457 *** 0.453 *** 0.051            0.454 ***
                             (0.125)      (0.128)      (0.086)      (0.131)     (0.133)     (0.137)    (0.087)     (0.140)
 Democratic Legislature                    -0.130       -0.068       -0.052                  -0.126     -0.057      -0.055
                                          (0.087)      (0.076)      (0.062)                 (0.090)    (0.076)     (0.065)
 Republican Legislature                     0.078        0.119        0.030                   0.082      0.134       0.032
                                          (0.075)      (0.535)      (0.042)                 (0.075)    (0.556)     (0.044)
 Republican Governor                       -0.025        0.629 *** -0.051                    -0.019      0.630 *** -0.042
                                          (0.066)      (0.222)      (0.057)                 (0.065)    (0.223)     (0.054)
 Demographic Controls             No           No           No          Yes          No          No         No         Yes
 State Fixed Effects              Yes         Yes          Yes          Yes         Yes         Yes        Yes         Yes
 Year Fixed Effects               Yes         Yes          Yes †        Yes         Yes         Yes        Yes †       Yes
 State-Specific Trends            No           No           No          Yes          No          No         No         Yes
 Observations                  1,250        1,250          650        1,250       1,250       1,250        650       1,250
 Note: Robust standard errors clustered by state in parentheses. Stars following coefficients represent p-values less than
 .10 (*), .05 (**) and .01 (***). See note to Table 1 for variable definitions.
 †
   Sample collapsed to two-year intervals and year effects replaced with two-year interval fixed effects.




                                                               32
                                                      Exhibit 11
                                                        0364
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4094 Page 147 of 171



 Table 3: Comparing Mass Shootings and Non-Mass Shootings
  Dependent variable: number of firearm-related bills introduced in state legislature.
                                                  (1)              (2)           (3)          (4)
 Mass Shooting Fatalities / 100,000            1.339 ***        1.355 ***     1.952 ***    1.427 ***
                                             (0.212)          (0.207)       (0.385)      (0.221)
 Ordinary Gun Homicides / 100,000              0.014            0.013         0.012        0.011
                                             (0.031)          (0.035)       (0.037)      (0.048)
 Regular Session                               1.559 ***        1.548 ***     0.125        1.541
                                             (0.390)          (0.397)       (0.566)      (0.415)
 First Year of Biennium                        0.455 ***        0.452 ***     0.599 ***    0.454 ***
                                             (0.131)          (0.134)       (0.217)      (0.136)
 Democratic Legislature                                        -0.119        -0.177       -0.049
                                                              (0.090)       (0.116)      (0.063)
 Republican Legislature                                         0.084         0.052        0.030 ***
                                                              (0.071)       (0.082)      (0.041)
 Republican Governor                                           -0.016        -0.056       -0.032
                                                              (0.066)       (0.077)      (0.050)
 Demographic Controls                             No               No            No          Yes
 State Fixed Effects                             Yes              Yes           Yes          Yes
 Year Fixed Effects                              Yes              Yes           Yes†         Yes
 State-Specific Trends                            No               No            No          Yes
 Observations                                  1,250            1,250           650        1,250
 Note: Robust standard errors clustered by state in parentheses. Stars following coefficients represent p-values less than
 .10 (*), .05 (**) and .01 (***). Mass Shooting Fatalities / 100,000 is the number of deaths in mass shootings per 100,000 state
 residents. Ordinary Gun Homicides / 100,000 is the number of gun homicides not in mass shootings per 100,000 state
 residents. See note to Table 1 for other variable definitions.
 †
   Sample collapsed to two-year intervals and year effects replaced with two-year interval fixed effects.




                                                                33
                                                      Exhibit 11
                                                        0365
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4095 Page 148 of 171



   Table 4: Mass Shootings, Bills, and Laws by Political Party
   Dependent variable: number of firearm-related bills introduced or laws passed in state.
                                               Bills Introduced                        Laws Passed
                                                  (1)                (2)                (3)               (4)
   Dem. Leg. × Shooting                        0.116              0.104              0.079              0.073
                                             (0.080)            (0.080)            (0.101)            (0.109)
   Rep. Leg. × Shooting                        0.393 ***          0.402 ***          0.307 ***          0.283 ***
                                             (0.147)            (0.130)            (0.100)            (0.100)
   Split Leg. × Shooting                       0.026              0.007             -0.120             -0.112
                                             (0.072)            (0.063)            (0.099)            (0.097)
   Democratic Legislature                     -0.149             -0.070             -0.064             -0.022
                                             (0.095)            (0.067)            (0.086)            (0.104)
   Republican Legislature                      0.021             -0.031              0.190 **           0.155 *
                                             (0.080)            (0.054)            (0.094)            (0.092)
   Republican Governor                        -0.026             -0.049              0.016             -0.049
                                             (0.065)            (0.054)            (0.046)            (0.051)
   Regular Session                             1.614 ***          1.626 ***          3.424 ***          3.474 ***
                                             (0.372)            (0.387)            (0.792)            (0.781)
   First Year of Biennium                      0.468 ***          0.468 ***          0.040              0.032
                                             (0.124)            (0.127)            (0.056)            (0.053)
   Demographic Controls                           No                 Yes                No               Yes
   State Fixed Effects                            Yes                Yes                Yes              Yes
   Year Fixed Effects                             Yes                Yes                Yes              Yes
   State-Specific Trends                          No                 Yes                No               Yes
   Observations                                1,250              1,250              1,250             1,250
  Note: Robust standard errors clustered by state in parentheses. Stars following coefficients represent p-values less than
  .10 (*), .05 (**) and .01 (***). The omitted group in all models is states without a mass shooting. See note to Table 1 for all
  variable definitions.




                                                                34
                                                        Exhibit 11
                                                          0366
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4096 Page 149 of 171



   Table 5: Mass Shootings and Enacted Laws
   Dependent variable: number of firearm-related laws enacted (i.e. bills that became law).
                                              Tightening Laws                                     Loosening Laws
                                   (1)         (2)          (3)          (4)          (5)          (6)         (7)          (8)
   Mass Shooting               -0.057      -0.050                                  0.282 *      0.258
                              (0.100)     (0.103)                                (0.171)      (0.171)
   Dem. Leg. × Shooting                                 -0.014        0.007                                -0.213       -0.245
                                                       (0.134)      (0.141)                               (0.371)      (0.389)
   Rep. Leg. × Shooting                                 -0.003        0.002                                 0.853 ***    0.800 ***
                                                       (0.240)      (0.236)                               (0.261)      (0.259)
   Split Leg. × Shooting                                -0.223       -0.247                                 0.098        0.137
                                                       (0.256)      (0.261)                               (0.341)      (0.339)
   Democratic Legislature 0.066             0.102        0.034        0.063       -0.232       -0.293      -0.191       -0.233
                              (0.141)     (0.148)      (0.162)      (0.170)      (0.195)      (0.202)     (0.225)      (0.226)
   Republican Legislature       0.193       0.157        0.161        0.120        0.497 ***    0.497 ***   0.384 *      0.391 *
                              (0.147)     (0.136)      (0.155)      (0.145)      (0.189)      (0.187)     (0.212)      (0.213)
   Republican Governor         -0.024      -0.050       -0.023       -0.050       -0.118       -0.098      -0.101       -0.079
                              (0.081)     (0.084)      (0.080)      (0.083)      (0.167)      (0.171)     (0.163)      (0.167)
   Regular Session              3.231 ***   3.221 ***    3.237 ***    3.226 *** 16.615 *** 16.248 *** 16.290 *** 15.550 ***
                              (0.770)     (0.778)      (0.771)      (0.779)      (0.457)      (0.462)     (0.454)      (0.466)
   First Year of Biennium       0.016       0.032        0.021        0.037        0.421 ***    0.414 ***   0.463 ***    0.455 ***
                              (0.109)     (0.112)      (0.110)      (0.112)      (0.132)      (0.136)     (0.175)      (0.175)
   Demographic Controls            No         Yes           No          Yes           No          Yes          No          Yes
   State Fixed Effects            Yes         Yes          Yes          Yes          Yes          Yes         Yes          Yes
   Year Fixed Effects             Yes         Yes          Yes          Yes          Yes          Yes         Yes          Yes
   Observations                 1,250       1,250        1,250        1,250        1,175        1,175       1,175        1,175
   Note: Robust standard errors clustered by state in parentheses. Stars following coefficients represent p-values less than
   .10 (*), .05 (**) and .01 (***). Models 3-4 and 7-8 show the effect of mass shootings in Republican, Democratic, and split
   legislatures; the omitted group in these models is states without a mass shooting. See note to Table 1 for all variable
   definitions.




                                                              35
                                                     Exhibit 11
                                                       0367
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4097 Page 150 of 171



   Table 6: News Coverage and Bill Introductions
    Dependent variable: number of firearm-related bills introduced in state legislature.
                                                  (1)           (2)             (3)           (4)
   Mass Shooting × News Coverage               0.125 ***     0.126 ***      0.069 *        0.127 **
                                             (0.041)       (0.040)        (0.037)        (0.054)
   Mass Shooting                               0.070         0.078          0.128          0.067
                                             (0.078)       (0.077)        (0.119)        (0.076)
   Regular Session                             1.582 ***     1.573 ***      0.135          1.570 ***
                                             (0.385)       (0.390)        (0.538)        (0.406)
   First Year of Biennium                      0.456 ***     0.453 ***      0.621 ***      0.454 ***
                                             (0.129)       (0.132)        (0.218)        (0.135)
   Democratic Legislature                                   -0.129         -0.196 *       -0.055
                                                           (0.089)        (0.117)        (0.064)
   Republican Legislature                                    0.080          0.035          0.030
                                                           (0.075)        (0.087)        (0.043)
   Republican Governor                                      -0.020         -0.062         -0.042
                                                           (0.066)        (0.076)        (0.056)
   Demographic Controls                           No            No              No           Yes
   State Fixed Effects                           Yes           Yes             Yes           Yes
   Year Fixed Effects                            Yes           Yes             Yes †         Yes
   State-Specific Trends                          No            No              No           Yes
   Observations                                1,250         1,250            650          1,250
   Note: Robust standard errors clustered by state in parentheses. Stars following coefficients represent p-values less than
   .10 (*), .05 (**) and .01 (***). News Coverage does not appear by itself in the model because we only have data from the
   national nightly news; the coefficient is therefore absorbed by the year fixed effects. See note to Table 1 for variable
   definitions.
   †
     Sample collapsed to two-year intervals and year effects replaced with two-year interval fixed effects.




                                                              36
                                                    Exhibit 11
                                                      0368
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4098 Page 151 of 171



                                        Appendix A: Coding Gun Laws

          This appendix provides examples of coding bills and further investigates coder agreement with

   our gold standard when deciding whether bills tighten or loosen gun control. As explained in the text,

   a law can be one of the following five types:

              •   Tightening (stricter gun control)
              •   Loosening (weaker gun control)
              •   Uncertain (insufficient information)
              •   Both tightening and loosening
              •   Neutral (neither tightening nor loosening)

   Table A1 presents examples of each type and illustrates how coders assigned laws to each category.

   Table A2 shows the categorization of the gun laws in our sample based on the above coding scheme.

   Coders agree on the type of law about 52 percent of the time; about half of these laws tighten restrictions

   on guns and about 20 percent loosen restrictions on guns. The remainder are uncertain, neutral, or both

   tightened and loosened gun policy.

          Table A3 shows the frequency of coder responses for bills we classified as tightening or

   loosening in the gold standard. The most common response is both coders agreeing with the gold

   standard. When coders to not agree with the gold standard, it is common for at least one coder to supply

   the right answer and the other coder to be either uncertain or think the bill both tightens and loosens

   gun control.

          The following is an example of a law that tighten gun control, which coders got wrong:

                  “Increases the penalties for carrying a concealed deadly weapon, when the weapon is

                  a firearm, by reclassifying what is currently a class G felony as a class D violent felony;

                  deletes a penalty provision that is unnecessary and duplicative, since any person

                  previously convicted of a violation of section 1442 is also a person prohibited under

                  section 1448 of Title 11.”




                                                       37
                                               Exhibit 11
                                                 0369
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4099 Page 152 of 171



          Coders may have seen “deletes a penalty provision” and assumed the law also loosened gun

   control because they did not read that the provision was “unnecessary and duplicative.” The following

   is an example of a law loosening gun control, which coders got wrong:

                  “Bars a county or municipality from filing a lawsuit against the manufacturer of

                  firearms or ammunition under certain circumstances; reserves an exclusive right for the

                  State to maintain such an action; repeals conflicting laws.”

          Some coders made the mistake of thinking this bill both loosened and tightened gun control,

   perhaps because “bars” sounds like it relates to tightening and “repeals” sounds like it relates to

   loosening. Both of these are fairly long synopses; however, the share of coder pairs that supply the right

   answer is not correlated with the length of the synopsis.




                                                      38
                                              Exhibit 11
                                                0370
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4100 Page 153 of 171



   Table A1: Example of Coding Gun Laws
      id    summary                                                                tighten        loosen       uncertain
            Creates a new felony for firing a gun within
      1                                                                                 1             0              0
            1,000 feet of an educational facility.
            Reduces the age limit for purchase of a handgun
      2                                                                                 0             1              0
            from 21 to 18.
            Allows parole officers to carry a loaded
      3                                                                                 0             0              0
            firearm while commuting to and from work.
            Relates to the use of firearms in state parks
      4                                                                                 0             0              1
            and campgrounds.
            Requires a license to operate a gun show.
            Eliminates the waiting period for firearm sales
      5                                                                                 1             1              0
            if the purchaser has a valid permit to carry a
            concealed weapon.
   Note: Table shows examples of coding gun laws based on bill summaries. Coders were given a full manual to explain the
   meaning of “tighten”, “loosen”, “neutral,” and “uncertain” along with the following examples. This table mimics the
   appearance of the Excel workbooks used by the coders. The first bill creates a new crime related to firearms. It tightens
   restrictions on firearms. The second bill makes it easier for people to acquire guns; it loosens restrictions on firearms. The
   third bill is exclusively about parole officers; it is neutral because it does not affect the general public. The fourth bill is
   uncertain because the summary is a generic description that does not specify whether the law tightens or loosens
   restrictions on firearms. The fifth bill both tightens and loosens; it regulates gun shows, but also eliminates a restriction
   on firearm purchasers.




   Table A2: Results of Coding Gun Laws
    Category                          Total Laws        Percent of Total
    Coders agree
      Tightening                             872                      27.3
       Loosening                             312                       9.8
       Uncertain                             245                       7.7
      Both (Tighten and Loosen)               79                       2.5
      Neutral                                173                       5.4
    Coders disagree                        1,518                      47.5
    Total                                  3,199                   100.0




                                                                 39
                                                       Exhibit 11
                                                         0371
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4101 Page 154 of 171




   Table A3: Coder Agreement with Tightening/Loosening Gold Standard
                             Neutral          Tighten            Loosen           Both       Uncertain
    Tighten
     Neutral                       6              39                 2               2               5
     Tighten                                     460                11              53              61
     Loosen                                                          0               2               0
     Both                                                                           13               2
     Uncertain                                                                                      30

    Loosen
      Neutral                        0               3               15               2                5
      Tighten                                       12               45               7               15
      Loosen                                                        337              72               29
      Both                                                                           10                2
      Uncertain                                                                                        8
   Note: Gold Standard—either tightening or loosening—in bold. Cell values represent the frequency of two coder
   responses across all unique pairs of coders who saw a given law.




                                                            40
                                                  Exhibit 11
                                                    0372
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4102 Page 155 of 171



                              Appendix B: Effect of Shootings in Neighboring States


   Table B1: Mass Shootings in Neighboring States, Bills and Laws
   Dependent variable: number of firearm-related bills introduced or laws enacted in state.
                                          Bills Introduced                                  Laws Enacted
                                   (1)          (2)        (3)          (4)          (5)         (6)          (7)         (8)
   Mass Shooting                0.142 **     0.146 *                              0.087       0.077
                              (0.071)      (0.079)                              (0.073)     (0.086)
   Neighbor Shooting           -0.049                                             0.050
                              (0.051)                                           (0.056)
   Cen. Division Shooting                   -0.005                                            0.021
                                           (0.041)                                          (0.054)
   Fatalities                                            0.023 *** 0.018 **                                0.013         0.008
                                                       (0.007)      (0.009)                              (0.008)       (0.009)
   Neighbor Fatalities                                  -0.001                                             0.002
                                                       (0.004)                                           (0.004)
   Cen. Division Fatalities                                           0.007                                              0.006
                                                                    (0.005)                                            (0.005)
   Institutional Controls          Yes        Yes          Yes          Yes         Yes         Yes          Yes           Yes
   Political Controls              Yes        Yes          Yes          Yes         Yes         Yes          Yes           Yes
   Demographic Controls            Yes        Yes          Yes          Yes         Yes         Yes          Yes           Yes
   State Fixed Effects             Yes        Yes          Yes          Yes         Yes         Yes          Yes           Yes
   Year Fixed Effects              Yes        Yes          Yes          Yes         Yes         Yes          Yes           Yes
   State-Specific Trends           Yes        Yes          Yes          Yes         Yes         Yes          Yes           Yes
   Observations                 1,250       1,250        1,250        1,250       1,250       1,250        1,250         1,250
   Note: Robust standard errors clustered by state in parentheses. Stars following coefficients represent p-values less than
   .10 (*), .05 (**) and .01 (***). Neighbor variables refer to states with a shared border; Cen. Division refers to states within
   the same Census division. See note to Table 1 for other variable definitions.




                                                                 41
                                                       Exhibit 11
                                                         0373
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4103 Page 156 of 171



   Table B2: Mass Shootings in Neighboring States and Directions of Policy Change
   Dependent variable: number of firearm-related laws enacted.
                                                 Tightening Laws                   Loosening Laws
                                                    (1)             (2)             (3)             (4)
   Dem. Leg. × Shooting                          0.037          -0.005          -0.287          -0.181
                                               (0.136)         (0.134)         (0.364)         (0.399)
   Rep. Leg. × Shooting                          0.007          -0.080           0.794 ***       0.894 ***
                                               (0.223)         (0.256)         (0.263)         (0.287)
   Split Leg. × Shooting                        -0.275          -0.092           0.136           0.080
                                               (0.247)         (0.229)         (0.329)         (0.379)
   Dem. Leg. × Neighbor Shooting                 0.208                          -0.061
                                               (0.139)                         (0.242)
   Rep. Leg. × Neighbor Shooting                -0.266 **                        0.356
                                               (0.120)                         (0.244)
   Split Leg. × Neighbor Shooting               -0.163                          -0.118
                                               (0.207)                         (0.227)
   Dem. Leg. × Cen. Division Shooting                            0.157                          -0.186
                                                               (0.158)                         (0.238)
   Rep. Leg. × Cen. Division Shooting                            0.015                          -0.118
                                                               (0.108)                         (0.174)
   Split Leg. × Cen. Division Shooting                          -0.254                           0.101
                                                               (0.169)                         (0.254)
   Political Controls                               Yes            Yes             Yes             Yes
   Institutional Controls                           Yes            Yes             Yes             Yes
   Demographic Controls                             Yes            Yes             Yes             Yes
   State Fixed Effects                              Yes            Yes             Yes             Yes
   Year Fixed Effects                               Yes            Yes             Yes             Yes
   Observations                                   1,250          1,250           1,175           1,175
   Note: Robust standard errors clustered by state in parentheses. Stars following coefficients represent p-values less than
   .10 (*), .05 (**) and .01 (***). Models show the effect of mass shootings in Republican, Democratic, and split legislatures;
   the omitted group in these models is states without a mass shooting. Neighbor variables refer to states with a shared
   border; Cen. Division refers to states within the same Census division. See note to Table 1 for other variable definitions.




                                                               42
                                                     Exhibit 11
                                                       0374
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4104 Page 157 of 171



                                                 Appendix C: Laws Enacted


 Table C1: Laws Enacted and Mass Shootings
  Dependent variable: number of firearm-related laws enacted in state.
                              (1)          (2)         (3)          (4)            (5)          (6)          (7)          (8)
 Mass Shooting             0.078        0.099       0.112        0.089
                         (0.079)      (0.074)     (0.089)      (0.075)
 Fatalities                                                                        0.011        0.014       0.005        0.013
                                                                                 (0.009)      (0.009)     (0.014)      (0.008)
 Regular Session               3.399 *** 3.392 *** 0.388              3.444 *** 3.401 *** 3.393 *** 0.373                3.443 ***
                             (0.766)      (0.777)       (0.716)     (0.763)      (0.772)      (0.784)     (0.715)      (0.769)
 First Year of Biennium        0.037        0.028         0.203       0.022        0.028        0.017       0.178        0.012
                             (0.051)      (0.051)       (0.290)     (0.050)      (0.051)      (0.051)     (0.298)      (0.051)
 Democratic Legislature                    -0.026        -0.107       0.012                    -0.022      -0.103        0.011
                                          (0.079)       (0.093)     (0.097)                   (0.082)     (0.088)      (0.098)
 Republican Legislature                     0.260 *** 0.168           0.218 ***                 0.266 *** 0.167 *        0.223 ***
                                          (0.090)       (0.103)     (0.083)                   (0.091)     (0.100)      (0.085)
 Republican Governor                        0.010        -0.039      -0.055                     0.012      -0.040       -0.053
                                          (0.048)       (0.050)     (0.051)                   (0.048)     (0.053)      (0.050)
 Demographic Controls             No           No            No          Yes           No          No          No          Yes
 State Fixed Effects             Yes          Yes           Yes          Yes          Yes         Yes         Yes          Yes
 Year Fixed Effects              Yes          Yes           Yes †        Yes          Yes         Yes         Yes †        Yes
 State-Specific Trends            No           No            No          Yes           No          No          No          Yes
 Observations                  1,250        1,250           650       1,250        1,250        1,250         650        1,250
 Note: Robust standard errors clustered by state in parentheses. Stars following coefficients represent p-values less than .10
 (*), .05 (**) and .01 (***). Variables are identical to those in Table 2, except for the dependent variable, which is the number
 of firearm-related laws enacted instead of the number of bills introduced. See note to Table 1 for variable definitions.
 †
   Sample collapsed to two-year intervals and year effects replaced with two-year interval fixed effects.




                                                                 43
                                                       Exhibit 11
                                                         0375
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4105 Page 158 of 171



                                    Appendix D: Mass Shootings and Neutral Laws


   Table D1. Neutral Laws Enacted
   Dependent variable: number of neutral firearm-related laws enacted.
                                              (1)               (2)
   Mass Shooting                           0.114
                                         (0.195)
   Dem. Leg. × Shooting                                      0.042
                                                           (0.299)
   Rep. Leg. × Shooting                                      0.206
                                                           (0.381)
   Split Leg. × Shooting                                     0.142
                                                           (0.322)
   Political Controls                        Yes               Yes
   Institutional Controls                    Yes               Yes
   Demographic Controls                      Yes               Yes
   State Fixed Effects                       Yes               Yes
   Year Fixed Effects                        Yes               Yes
   Observations                            1,050             1,050
   Note: Sample size differs from other tables due to states with all zero observations (i.e. no years with neutral laws
   enacted).




                                                               44
                                                     Exhibit 11
                                                       0376
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4106 Page 159 of 171



                                Appendix E: Media Coverage and Mass Shootings

           This appendix presents regression results showing that mass shootings are associated with large

   increases in gun-related news coverage and that increased news coverage is associated with greater

   legislative activity in the form of firearm-related bills introduced in state legislatures.

           Table E1 shows results from regressing the log of each day’s total seconds of gun-related news

   coverage on an indicator for the occurrence of a mass shooting and 10 lags of that indicator. The results

   suggest that media attention to guns increases roughly 300 percent immediately following a mass

   shooting and that coverage remains elevated from pre-shooting levels for at least a week following the

   event. Table E2 presents similar results using the count of mass shooting fatalities as the independent

   variable instead of a mass shooting indicator variable.17




   17 Additionally, we estimated models with 10 leads of each indicator variable (not shown to conserve space) and

   none of the leads are statistically significant at conventional levels. This suggests that gun-related media coverage
   does not presage mass shootings (as would be the case if media reports about firearms caused shootings or reflected
   other contemporary events associated with mass shootings).


                                                            45
                                                  Exhibit 11
                                                    0377
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4107 Page 160 of 171



   Table E1: Mass Shootings and News Coverage
   Dependent variable: Log(1 + Seconds of News Coverage)
                                       (1)                (2)           (3)           (4)
   Mass Shooting                    1.509 ***          1.510 ***     1.497 ***     1.443 ***
                                  (0.218)            (0.220)       (0.218)       (0.214)
   Lags of Mass Shooting (Days):
      L1                            1.667 ***          1.656 ***     1.638 ***     1.584 ***
                                  (0.226)            (0.227)       (0.226)       (0.222)
      L2                                               0.735 ***     0.729 ***     0.685 ***
                                                     (0.225)       (0.224)       (0.223)
      L3                                               0.728 ***     0.726 ***     0.684 ***
                                                     (0.214)       (0.213)       (0.204)
      L4                                               0.422 **      0.426 **      0.384 *
                                                     (0.214)       (0.213)       (0.207)
      L5                                               0.844 ***     0.869 ***     0.832 ***
                                                     (0.214)       (0.214)       (0.209)
      L6                                               0.610 ***     0.620 ***     0.582 ***
                                                     (0.206)       (0.206)       (0.194)
      L7                                               0.466 **      0.453 **      0.419 **
                                                     (0.208)       (0.207)       (0.202)
      L8                                               0.255         0.237         0.194
                                                     (0.196)       (0.195)       (0.185)
      L9                                               0.260         0.254         0.212
                                                     (0.197)       (0.197)       (0.187)
      L10                                              0.302         0.300         0.258
                                                     (0.194)       (0.195)       (0.185)
   Constant                         1.544 ***          1.463 ***     1.136 ***     0.897 ***
                                  (0.025)            (0.027)       (0.060)       (0.151)
   Fixed Effects
      Day-of-week                      No                 No          Yes           Yes
      Month                            No                 No           No           Yes
      Year                             No                 No           No           Yes
   Observations (Days)              9,496              9,487        9,487         9,487




                                                           46
                                                  Exhibit 11
                                                    0378
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4108 Page 161 of 171



   Table E2: Mass Shooting Fatalities and News Coverage
   Dependent variable: Log(1 + Seconds of News Coverage)
                                        (1)                (2)           (3)           (4)
   Mass Shooting Fatalities          0.282 ***          0.284 ***     0.280 ***     0.273 ***
                                   (0.028)            (0.028)       (0.027)       (0.026)
   Lags of Fatalities (Days):
      L1                             0.307 ***          0.308 ***     0.306 ***     0.299 ***
                                   (0.030)            (0.030)       (0.030)       (0.029)
      L2                                                0.175 ***     0.175 ***     0.169 ***
                                                      (0.029)       (0.029)       (0.028)
      L3                                                0.167 ***     0.166 ***     0.160 ***
                                                      (0.028)       (0.028)       (0.026)
      L4                                                0.118 ***     0.119 ***     0.114 ***
                                                      (0.033)       (0.033)       (0.031)
      L5                                                0.142 ***     0.146 ***     0.141 ***
                                                      (0.032)       (0.032)       (0.031)
      L6                                                0.119 ***     0.120 ***     0.115 ***
                                                      (0.031)       (0.031)       (0.028)
      L7                                                0.120 ***     0.117 ***     0.112 ***
                                                      (0.028)       (0.028)       (0.028)
      L8                                                0.082 ***     0.079 ***     0.073 ***
                                                      (0.028)       (0.029)       (0.027)
      L9                                                0.053         0.053         0.047
                                                      (0.034)       (0.035)       (0.031)
      L10                                               0.065 **      0.064 *       0.058 *
                                                      (0.033)       (0.033)       (0.031)
   Constant                          1.543 ***          1.440 ***     1.120 ***     0.905 ***
                                   (0.025)            (0.026)       (0.060)       (0.150)
   Fixed Effects
      Day-of-week                       No                 No          Yes           Yes
      Month                             No                 No           No           Yes
      Year                              No                 No           No           Yes
   Observations (Days)               9,496              9,487        9,487         9,487




                                                            47
                                                  Exhibit 11
                                                    0379
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4109 Page 162 of 171



                                        Appendix F: Predicting Mass Shootings

   Table F1: Linear Probability Model for Mass Shooting using Control Variables
   Dependent variable: indicator for state-year with a mass shooting.
                                       (1)            (2)             (3)            (4)          (5)          (6)
   Lag Bills Introduced                                           -0.000
                                                                 (0.001)
   Lag Laws Enacted                                                               -0.002
                                                                                 (0.006)
   Lag Tightening Laws                                                                         -0.002
                                                                                              (0.010)
   Lag Loosening Laws                                                                                        0.009
                                                                                                           (0.015)
   Dem. Legislature                                 0.006             0.004        0.005        0.005        0.006
                                                  (0.044)           (0.046)      (0.046)      (0.045)      (0.045)
   Rep. Legislature                                -0.030            -0.029       -0.028       -0.028       -0.029
                                                  (0.036)           (0.038)      (0.037)      (0.037)      (0.038)
   Rep. Governor                                   -0.012            -0.011       -0.011       -0.011       -0.011
                                                  (0.020)           (0.022)      (0.022)      (0.022)      (0.022)
   Log Population                  -0.191          -0.131            -0.200       -0.192       -0.196       -0.199
                                  (0.279)         (0.265)           (0.291)      (0.290)      (0.288)      (0.290)
   Elderly (65+) %                  0.001          -0.001             0.004        0.004        0.004        0.004
                                  (0.025)         (0.024)           (0.024)      (0.024)      (0.024)      (0.024)
   Under 25 %                      -0.002           0.001             0.003        0.002        0.002        0.002
                                  (0.020)         (0.019)           (0.020)      (0.020)      (0.019)      (0.020)
   Black %                         -0.009          -0.009            -0.002       -0.001       -0.001        0.000
                                  (0.015)         (0.015)           (0.018)      (0.018)      (0.018)      (0.018)
   Hispanic %                      -0.001          -0.003            -0.002       -0.003       -0.003       -0.003
                                  (0.015)         (0.015)           (0.016)      (0.016)      (0.016)      (0.016)
   Unemployment %                   0.025 **        0.025 **          0.024 **     0.024 **     0.024 **     0.024 **
                                  (0.011)         (0.011)           (0.011)      (0.011)      (0.011)      (0.011)
   Income per capita                0.013           0.012             0.011        0.012        0.012        0.011
                                  (0.013)         (0.013)           (0.014)      (0.014)      (0.014)      (0.014)
   High School %                   -0.004          -0.003            -0.003       -0.003       -0.003       -0.003
                                  (0.006)         (0.006)           (0.006)      (0.006)      (0.006)      (0.006)
   Veteran %                       -0.003          -0.001            -0.005       -0.005       -0.005       -0.004
                                  (0.012)         (0.012)           (0.013)      (0.013)      (0.012)      (0.012)
   Divorced %                      -0.004          -0.003            -0.001       -0.001       -0.001       -0.001
                                  (0.010)         (0.010)           (0.011)      (0.011)      (0.011)      (0.011)
   State FE                           Yes             Yes               Yes          Yes          Yes          Yes
   Year FE                            Yes             Yes               Yes          Yes          Yes          Yes
   Observations                     1,250           1,250             1,200        1,200        1,200        1,200




                                                               48
                                                     Exhibit 11
                                                       0380
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4110 Page 163 of 171



   Table F2: Linear Probability Model for Mass Shooting using Policy Variables
   Dependent variable: indicator for state-year with a mass shooting.
                                                          (1)               (2)
   Handgun Waiting Period (days)                       0.002             0.002
                                                     (0.005)           (0.005)
   Long-gun Waiting Period (days)                     -0.005            -0.005
                                                     (0.019)           (0.020)
   Age 18+ for Transaction                             0.031             0.026
                                                     (0.026)           (0.028)
   Age 21+ for Transaction                            -0.067            -0.080
                                                     (0.057)           (0.056)
   Handgun Permit System                              -0.137            -0.136
                                                     (0.094)           (0.100)
   Background Check, All Handgun Sales                -0.066            -0.066
                                                     (0.080)           (0.085)
   Background Check, All Firearm Sales                 0.019            -0.005
                                                     (0.116)           (0.127)
   Assault Weapons Ban                                 0.042             0.050
                                                     (0.051)           (0.053)
   Shall Issue Concealed Carry                        -0.010            -0.006
                                                     (0.038)           (0.039)
   No Permit Needed Concealed Carry                    0.162             0.181
                                                     (0.188)           (0.184)
   Log Population                                     -0.494            -0.445
                                                     (0.325)           (0.310)
   Political Controls                                     No               Yes
   Demographic Controls                                  Yes               Yes
   State FE                                              Yes               Yes
   Year FE                                               Yes               Yes
   Observations                                        1,250             1,250
   Note: Handgun Waiting Period is the number of days purchasers must wait before accepting delivery of a handgun. Long-
   gun Waiting Period is similarly defined for long-guns (e.g. rifles and shotguns). Age 18+ Transaction is an indicator for laws
   that prevent vendors from selling handguns to minors or prevent minors from purchasing handguns. Age 21+ Transaction
   is defined the same way for persons under 21. Handgun Permit System is an indicator for states that require permits to
   purchase a handgun. Background Check, All Handgun Sales is an indicator for requiring a background check for all handgun
   transactions (including private sales). Background Check, All Firearm Sales is an indicator for requiring a background check
   for all firearm transactions (including private sales). Assault Weapons Ban is an indicator for states that ban some types
   of assault rifles or pistols. Shall Issue Concealed Carry is an indicator for states that require the permitting authority to
   grant a license to anyone meeting the minimum statutory qualifications (i.e. do not permit law enforcement discretion in
   issuing permits). No Permit Needed Concealed Carry is an indicator for states that allow concealed carry without a permit.




                                                                49
                                                      Exhibit 11
                                                        0381
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4111 Page 164 of 171



                                     Appendix G: Placebo Mass Shooting Analyses


   Table G1: Placebo Analysis for Bill Introductions (Mirrors Table 2)
                                                                     Percentiles of Placebo Test Statistic
                                                           st
                                         Actual          1             5th        10th        90th           95th     99th
   Shooting Indicator (model 4)            2.07        -3.98         -2.89      -2.47        0.55        0.87        1.59
   Shooting Fatalities (model 8)           3.29        -3.81         -2.87      -2.45        0.71        1.10        1.93



   Table G2: Placebo Analysis for Enacted Laws (Mirrors Table 5)
                                                                     Percentiles of Placebo Test Statistic
                                         Actual          1st           5th       10th        90th            95th    99th
   Tightening Laws (models 2, 4)
      Pooled Shooting                     -0.49       -2.19        -1.43         -1.07       1.83        2.25         3.10
      Dem. Leg. × Shooting                 0.05       -2.43        -1.61         -1.35       1.48        1.96         2.84
      Rep. Leg. × Shooting                 0.01       -2.89        -1.71         -1.23       1.62        2.24         3.41
      Split Leg. × Shooting               -0.95       -2.57        -1.49         -1.01       2.07        2.56         3.95
   Loosening Laws (models 6, 8)
      Pooled Shooting                      1.51       -3.21        -2.26         -1.88       0.82        1.24         2.03
      Dem. Leg. × Shooting                -0.63       -2.64        -1.85         -1.41       1.23        1.60         2.97
      Rep. Leg. × Shooting                 3.09       -3.02        -2.27         -1.98       0.71        1.09         1.73
      Split Leg. × Shooting                0.40       -2.93        -2.02         -1.59       1.34        1.79         2.72
   Notes: We randomly assign placebo mass shootings to state-years in which no actual shooting occurred with probability
   equal to each state’s frequency of shootings, and randomly draw a fatality count from the empirical distribution of
   fatalities. We then re-run the models and calculate the test statistic for the placebo shooting and fatality coefficients. The
   above percentiles are based on 1,000 replications. The “Pooled” rows in Table G2 mirror models 2 and 6 of Table 5 (the
   models without interaction effects). The legislature effects mirror models 4 and 8 for tightening and loosening laws
   respectively.




                                                                50
                                                      Exhibit 11
                                                        0382
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4112 Page 165 of 171



                                  Appendix H: Dropping Individual States

          These analyses exclude each state, one at a time, from our sample. Each graph plots the resulting

   50 regression coefficients (from smallest to largest) along with a 95% confidence interval and estimates

   using the full sample of all states. The state abbreviations in the figures indicate the state that was

   dropped from the sample and mark the resulting point estimate. The vertical bars represent 95%

   confidence intervals. The solid, horizontal line indicates the point estimate from the complete sample

   (presented in the text and tables). The dotted, horizontal lines represent the lower and upper bounds of

   the 95% confidence interval for the full sample coefficient estimate.

          The results show that removing individual states has little effect on the coefficient estimates,

   supporting the claim that the effect of mass shootings on gun policy is not driven by an individual state

   or shooting.




                                                      51
                                              Exhibit 11
                                                0383
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4113 Page 166 of 171




   Figure H1 Effect of Mass Shooting on Bill Introductions.




   Figure H2 Effect of Mass Shooting on Laws (of Any Type) Enacted.




                                                    52
                                            Exhibit 11
                                              0384
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4114 Page 167 of 171




   Figure H3 Effect of Republican Legislature Mass Shooting on Loosening Laws Enacted.




   Figure H4 Effect of Democratic Legislature Mass Shooting on Loosening Laws Enacted.




                                                  53
                                           Exhibit 11
                                             0385
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4115 Page 168 of 171



   Figure H5 Effect of Republican Legislature Mass Shooting on Tightening Laws Enacted.




   Figure H6 Effect of Democratic Legislature Mass Shooting on Tightening Laws Enacted.




                                                   54
                                           Exhibit 11
                                             0386
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4116 Page 169 of 171



                          Appendix I: Gun Ownership, Mass Shootings and Enacted Laws


   Table I1: Effects of Mass Shootings, with Gun Ownership Proxy

   Dependent variable: number of firearm-related laws enacted (i.e. bills that became law).
                                             Tightening Laws                                Loosening Laws
                                          (1)               (2)           (3)            (4)            (5)             (6)
   Dem. Leg. × Shooting                0.016             0.006                       -0.192          0.414
                                     (0.141)           (0.452)                      (0.417)        (0.690)
   Rep. Leg. × Shooting                0.003            -0.008                        0.787 ***      1.439 *
                                     (0.233)           (0.575)                      (0.265)        (0.807)
   Split Leg. × Shooting              -0.240            -0.250                        0.157          0.763
                                     (0.259)           (0.581)                      (0.345)        (0.776)
   Gun Suicide Pct. × Shooting                           0.000        -0.001                        -0.011           0.005
                                                       (0.009)       (0.002)                       (0.013)         (0.003)
   Gun Suicide Pct.                      0.039           0.039         0.039          0.107 *        0.110 *         0.113 *
                                       (0.027)         (0.028)       (0.027)        (0.060)        (0.061)         (0.059)
   Democratic Legislature                0.054           0.054         0.094         -0.237         -0.245          -0.291
                                       (0.171)         (0.171)       (0.150)        (0.227)        (0.222)         (0.199)
   Republican Legislature                0.131           0.131         0.167          0.412 *        0.402 *         0.517 ***
                                       (0.141)         (0.142)       (0.132)        (0.216)        (0.217)         (0.190)
   Republican Governor                  -0.042          -0.042        -0.041         -0.077         -0.068          -0.102
                                       (0.084)         (0.085)       (0.085)        (0.164)        (0.163)         (0.167)
   Regular Session                       3.225 ***       3.225 ***     3.220 ***    17.931 ***      17.934 ***     16.262 ***
                                       (0.780)         (0.779)       (0.778)        (0.460)        (0.460)         (0.454)
   First Year of Biennium                0.037           0.037         0.032          0.443 ***      0.439 **        0.403 ***
                                       (0.112)         (0.110)       (0.110)        (0.168)        (0.171)         (0.129)
   Demographic Controls                    Yes             Yes           Yes            Yes             Yes            Yes
   State Fixed Effects                     Yes             Yes           Yes            Yes             Yes            Yes
   Year Fixed Effects                      Yes             Yes           Yes            Yes             Yes            Yes
   Observations                          1,250           1,250         1,250          1,250          1,175           1,175
   Note: Robust standard errors clustered by state in parentheses. Stars following coefficients represent p-values less than
   .10 (*), .05 (**) and .01 (***). Gun Suicide Pct. is the 5-year moving average of the percentage of suicides that are firearm-
   related and is used to proxy for gun ownership (Cook and Ludwig 2006). Models 1 and 4 show that the main results do
   not change when adding this control variable; the other models suggest that the response of Republican legislatures
   cannot be explained by rates of gun ownership. See note to Table 1 for other variable definitions.




                                                                55
                                                      Exhibit 11
                                                        0387
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4117 Page 170 of 171



                        Appendix J: Mass Shootings as an Instrument for Gun Policy

          In this appendix we use mass shootings as an instrumental variable to study the impact of gun

   laws on gun deaths. We start with the following model:

                            ln(𝐷$& ) = 𝛼$ + 𝜃& + 𝛽 𝐺𝑢𝑛 𝐶𝑜𝑛𝑡𝑟𝑜𝑙$& + 𝛿 < 𝑍$& + 𝜖$&

   where 𝐷$& is non-mass shooting gun deaths per 100,000 people in state 𝑠 and year 𝑡, 𝛼$ and 𝜃& are state

   and year effects, 𝐺𝑢𝑛 𝐶𝑜𝑛𝑡𝑟𝑜𝑙$& is an index representing the strictness of gun policy, and 𝑍$& is a vector

   of controls –demographic, political, and economic factors—that potentially affect gun deaths. We use

   the same variables as Levitt (1996) as controls, but also include dummies for Republican and

   Democratic trifectas or legislatures, and a dummy for Republican governors.

          We do not directly observe 𝐺𝑢𝑛 𝐶𝑜𝑛𝑡𝑟𝑜𝑙$& ; instead, we observe the enactment of new laws that

   change gun policy. Therefore, we estimate the equation in first differences:

                           𝛥 ln(𝐷$& ) = 𝜆& + 𝛽 𝑁𝑒𝑤 𝐺𝑢𝑛 𝐿𝑎𝑤𝑠$& + 𝛥𝑍$& 𝛿 + 𝛥𝜖$&

   where 𝑁𝑒𝑤 𝐺𝑢𝑛 𝐿𝑎𝑤𝑠$& = 𝛥𝐺𝑢𝑛 𝐶𝑜𝑛𝑡𝑟𝑜𝑙$& is negative for laws that loosen gun control and positive

   for laws that increase gun control (according to our coders, see data description). Based on our main

   results, we instrument for gun laws using the first lags of mass shooting fatalities and the interaction of

   lagged mass shooting fatalities with Republican control of state government. The former should be

   positively correlated with new laws and the latter negatively correlated with new laws.

          We estimate the model using Fuller’s (1977) modified LIML with 𝛼 = 1 (Baum, Schaffer, and

   Stillman 2007). First stage results suggest the instruments are weak despite being jointly significant

   (𝐹 = 5.98) with the expected sign (Stock and Yogo 2005). The coefficients on the exogenous

   instruments in the reduced form equation for firearm deaths are not significant, but also have the

   expected signs (negative for lagged mass shooting fatalities and positive for the interaction of lagged

   fatalities with Republican control of government). Our estimate 𝛽[ is −0.016 with standard error 0.013.



                                                       56
                                              Exhibit 11
                                                0388
Case 3:19-cv-01226-L-AHG Document 21-16 Filed 11/12/19 PageID.4118 Page 171 of 171



   A conditional likelihood ratio test (Moreira 2003; Andrews, Moreira, and Stock 2004; Finlay and

   Magnusson 2009) cannot reject the null hypothesis that 𝛽 = 0 (𝑝 = 0.24). We also estimated models

   that include proxies for gun ownership. Including the percentage of suicides committed with a gun

   (Cook and Ludwig 2006) does not change our inference.




                                                  57
                                          Exhibit 11
                                            0389
